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ASE 3:17-cv-12300-BRM-TJB Document 67-1 Filed 09/13/18

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Attorneys for Defendants,

Michael Fitzgerald and Teri O’Connor

THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

JOHN CURLEY,
Plaintiff,
vs.

MONMOUTH COUNTY BOARD OF CHOSEN
FREEHOLDERS; SERENA DIMASO, in
her individual and official
capacity as Monmouth County
Chosen Freeholder; THOMAS
ARNONE, in his individual and
official capacity as Monmouth
County Chosen Freeholder; GARY
RICH, in his individual and
official capacity as Monmouth
County Chosen Freeholder;
LILLIAN BURY, in her individual
and official capacity as
Monmouth County Chosen
Freeholder; MICHAEL FITZGERALD,
ESQ., in his individual and
official capacity as County
Counsel; and TERI O’ CONNOR,
her individual and official
capacity as County
Administrator,

in

Defendants.

 

 

MICHAEL F. O’CONNOR, ESQ.,

certifies the following:

 

Civil Action No.
TUB

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PC

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Civil Action

CERTIFICATION OF MICHAEL F.
O’CONNOR, ESO.

of full age and duly sworn,

 
¢q

 

ASe 3:17-cv-12300-BRM-TJB Document 67-1 Filed 09/13/18 Page 2 of 66 PagelD: 1386

i. I am a shareholder in McMoran O’Connor Bramley & Burns, PC,
counsel for defendants Michael Fitzgerald, Esq. and Teri
O'Connor in the captioned matter. I am one of the attorneys
responsible for handling this matter. I respectfully submit
this certification in support of defendants’ motion to dismiss
the amended complaint for failure to state a claim on which
relief can be granted pursuant to Federal Rule of Procedure
12 (b) (6).

2. Attached hereto as Exhibit A is a true and accurate copy of
the opinion in Curley v. Monmouth County Board of Chosen
Freeholders, 2018 WL 3574880 (D.N.J. July 25, 2018).

3. Attached hereto as Exhibit B is a true and accurate copy of
the opinion in Falat v. County of Hunterdon, Civil Case No. 12-
6804 (FSH) (MAH), 2014 WL 6611493 (D.N.J. Nov. 21, 2014).

4, Attached hereto as Exhibit C is a true and accurate copy of
the opinion in Killion v. Coffey, 2016 WL 5417193 (D.N.J. 2016)
5. Attached hereto as Exhibit D is a true and accurate copy of
the opinion in Johnson v. Bally’s Atlantic City, 2005 WL 2141269
(3d Cir. Sept. 7, 2005).

6. Attached hereto as Exhibit E is a true and accurate copy of
the opinion in Redfield v. City of Jersey City, Civ. No. 86-

3869, 1989 WL 4956 (D.N.J. Jan. 23, 1989).

 

 
 

We 3:17-cv-12300-BRM-TJB Document 67-1 Filed 09/13/18 Page 3 of 66 PagelD: 13

The foregoing statements made by me are true and accurate
to the best of my knowledge. I am aware that if any of the
foregoing statements by me are willfully false, I am subject to

punishment.

vahacl) 7 i [png

MICHAEL F O'CONNOR

Dated: September 13, 2018

 

 
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EXHIBIT A
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"~ KeyCite Blue Flag — Appeal Notification

Appeal Filed by CURLEY v. MONMOUTH COUNTY BOARD OF
CHOSE, ET AL, 3rd Cir., August 28, 2018

2018 WL 3574880
Only the Westlaw citation is currently available.

NOT FOR PUBLICATION
United States District Court, D. New Jersey.

John CURLEY, Plaintiff,
v.
MONMOUTH COUNTY BOARD OF CHOSEN
FREEHOLDERS, et. al. Defendants.

Civil Action No. 3:17-cv-12300-BRM-TJB

Signed 07/25/2018

Attorneys and Law Firms

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Bruce P. MeMoran, Michael Francis O'Connor,
McMoran O’Connor & Bramley,Manasquan, NJ, for
Defendants.

OPINION

BRIAN R. MARTINOTTI, UNITED STATES
DISTRICT JUDGE

*1 Before this Court are: (1) John Curley’s (“Cu rley”)
Motion to Hold Defendants Monmouth County Board of
Chosen Freeholders {the Board"), Serena DiMaso
(“DiMaso”), Thomas Arnone (“Arnone”), Gary Rich
(“Rich”), Lillian Burry (“Burry”), Michael Fitzgerald,
Esq. (“Fitzgerald”), Teri O’Connor (‘O’Connor”)
(together, “Defendants”) in Contempt (ECF No. 8);' (2)
the County Defendants’ Motion to Dismiss for Lack of
Jurisdiction and for Failure to State a Claim (ECF No.
26); and (3) Fitzgerald and O’Connor’s Motion to
Dismiss (ECF No. 32). All motions are opposed. (ECF

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Nos. 24 and 43.) Pursuant to Federal Rule of Civil
Procedure 78(a), the Court heard oral argument on April
30, 2018. For the reasons set forth below, the County
Defendants’ Motion to Dismiss for Lack of Jurisdiction is
DENIED, but their Motion to Dismiss for Failure to State
a Claim is GRANTED (ECF No. 26); Fitzgerald and
O’Connor’s Motion to Dismiss is GRANTED (ECF No.
32); and Curley’s Motion to Hold Defendants in
contempt is GRANTED (ECF No. 8).

I. BACKGROUND

A. Factual Background

For the purposes of the motions to dismiss only, the Court
accepts the factual allegations in the Complaint as true
and draws all inferences in the light most favorable to
plaintiff. See Phillips vy. Cty. of Allegheny, 515 F.3d 224,
228 (3d Cir. 2008). The Court also considers any
“document integral to or explicitly relied upon in the
complaint.” fn re Burlington Coat Factory Sec. Litig., 114
F.3d 1410, 1426 (3d Cir. 1997),

1. The Parties

Curley is an elected Freeholder on the Board. (Am.
Compl. (ECF No. 7) 7 13.) He was elected by the citizens
of Monmouth County (the “County”} to serve for three
terms totaling, to date, approximately eight years. (/d. ]
29.} His term is set to expire on December 31, 2018. (fd)
Curley has also been the Deputy Director of the Board
since 2016, (/d, | 30.) According to local media reports,
Curley is “nominally a Republican, [and] has a fierce
independent streak that has at times angered fellow
Republicans but has served county residents well.” (id.
2 (quoting Asbury Park Press’s October 28, 2015
endorsement in the 2015 Freeholder election in
Monmouth County).) Curley alleges he “has been a
persistent and regular advocate of positions that have run
contrary to the Republican political establishment on the
Board, and in the County’s party leadership, and has been
unafraid to challenge the purported majority view of the
Freeholders.” (/d. q 3.) Throughout his tenure, Curley was
provided an office for and has employed confidential
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aides to assist him in fulfilling his functions as a
Freeholder. (/d. 4 42.)

The Board “is the body politic of the County, which has
been delegated both legislative and executive functions by
the State pursuant to N.J. Stat. Ann. [§] 40:20-1 et seq.,
and as specified in the Monmouth County Administrative
Code (the ‘Code’)”. (fd. J 14.) DiMaso, Burry, Rich, and
Arnone are also Freeholders on the Board. (/d. {{[ 15-18.)
Fitzgerald is the appointed counsel for the Board. (id. 7
19.) He “was appointed in 2016 as the County Counsel to
be the chief legal advisor to the Board for a three-year
term.” (fd. | 31.) O'Connor has been the appointed
County Administrator for the Board since 2010. (dd. { 32.)

2. The Investigation

*2 In June 2017, O’Connor and Fitzgerald retained the
Honorable Mary Catherine Cuff, P.J.A.D. (ret.} (the
“Investigator”) to investigate a complaint by an unknown
woman alleging Curley made a sexist remark in public
during the May 2017 Bradley Beach Memorial Day
Parade. (/d. J] 44, 51, 53; see Investigator’s Report (ECF
No, 2) at 1, 5-6.) The Investigator interviewed multiple
witnesses, including DiMaso and Curley, who was
interviewed with his attomey present. (ECF No. 2 at
19-23.) Curley alleges the investigation was initiated
without the approval of the Board and that the
Investigator was also retained without the Board’s
approval. (ECF No. 7 f§ 51-52.) The investigation lasted
approximately five months. (/d¢. 7 53.) Ultimately, the
investigation resulted in the issuance of a report (the
“Report”), which was released to Fitzgerald on October
13, 2017. Ud. 954.) Section I of the Report, “Statement of
Allegations,” contains the substance of the interviews;
Section II contains a statement of law governing sexual
harassment in the workplace; Section III contains the
Investigator’s conclusions on the credibility of the
statements made during the interviews, and Section IV
contains the Investigator’s recommendations. (ECF No.
2.) The Investigator found credible many of the
allegations that Curley made sexist remarks about
women. (/d.) Therefore, she concluded Curley’s alleged
conduct could support an inference of sex discrimination
or hostile work environment. (/d. at 46.)

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3. The Board Censures Curley

On November 26, 2017, Fitzgerald sent the Freeholders a
copy of the Report. They noticed and held a special
meeting of the Board to be held in Executive Session for
November 29, 2017, “where the Freeholders would
discuss the Report and Fitzgerald and O’Connor would
present recommendations to act on the Report.”* (ECF No.
7 Y{ 60-62.) Curley arrived with counsel for the
Executive Session, but Fitzgerald informed him “he could
not attend the meeting at its start to make a statement,
since he was a ‘target.’ ” (/d. {{] 62-63.) When Curley’s
counsel informed Fitzgerald he wanted to put his
objections to the proceeding on the record, Fitzgerald
threatened to call the County Sheriff to remove Curley
from the meeting. (/d. 7 64.) At the meeting, Curtey
“requested that DiMaso recuse herself given that she was
.. one of the complainants” or that Curley and DiMaso
both be recused. (/d. {f] 69-70.) Both requests were
denied. (/d.) Eventually, Curley was permitted to speak
but was cautioned “that he was not permitted to speak
about or address the merits of the Report.” (/d. 4 65.)
Curley, in lieu of speaking, presented a letter and
memorandum, drafted by his counsel, setting forth his
position. (fd. 4 71.) Curley’s counsel was denied access
to the Executive Session. (fd. J 68.) The Executive
Session was not conducted on the record—instead,
handwritten notes were taken that have yet to be provided
to Curley. (/d. f{] 66-67.)

Afier the Executive Session, O’Connor and Fitzgerald
met with Curley and his attomey. (/d. 4 74.) They
explained that Curley is barred from entering the Hall of
Records, where the Board conducts its business, unless he
was conducting County business, and that Curley could
not have any contact with County employees, including
his aide, until a special meeting and subsequent public
session was held on December 4, 2017, to consider the
following: (1) updating, expanding, and reinforcing the
Monmouth County policy on prohibiting workplace
discrimination and harassment; and (2) a resolution to
censure Curley (the “Censure Resolution”). (fd. J] 75, 77,
81-90.) Curley alleges O'Connor and Fitzgerald made
these decisions without vote or approval of the Board. (/d.
{| 76.) Fitzgerald indicated Curley and his counsel would
be allowed to attend the December 4 meeting and would
be allowed to question the investigator, but not confront
the witnesses. (fd. ]] 79.) The above restrictions on Curley
remained in place for two days, during which time, on
November 30, 2017, Curley worked at the Hall of
Records in order to ‘fulfill[ ] his duties as an elected
Freeholder,” (Ud. J 86.)
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4. Curley’s Federal Complaint, Application for a
Temporary Restraining Order, and Motion for a
Preliminary Injunction

On December 1, 2017, Curley filed his initial Complaint
with an Order to Show Cause seeking Temporary
Restraints and a Preliminary Injunction, to prevent
Defendants from proceeding with the Censure Resolution
on December 4, 2017, and to provide Curley with access
to his office and confidential aide, (ECF No. | and ECF
No. 7 4 91.) On that same day, the Court held a telephone
conference, where the parties ultimately agreed to adjourn
the special meeting from December 4 to December 8,
2017. In addition, Defendants agreed to provide Curley
with access to the Hall of Records, (ECF No, 7 792.)

*3 On December 4, 2017, the parties appeared before the
Court and agreed that Curley would withdraw his Motion
for Temporary Restraints and allow the special meeting to
go forward on December 8. (/d. J] 93-94.) The Court also
ordered that the Report and Curley’s counsel’s objections
to it would remain sealed. (ECF No. 6.)

§. December 8, 2017 Executive Session

On December 7, 2017, Defendants’ outside counsel
notified Curley that at the December 8 Executive
Session: (1) the Investigator would give a presentation;
(2) Curley would have thirty minutes to present
comments, submissions, or statements “individually or
through counsel”; and (3) the other Freeholders would
have thirty minutes to present their comments,
submissions, and statements. (ECF No. 7-1, Ex. E at 10.)
At the Executive Session, Curley elected not to speak,
and his counsel spoke on his behalf. (ECF No. 7 { 97.)
DiMaso attended the Executive Session and the
deliberations after all presentations. (/d. 4 101.) Also
present were Arnone, Rich, and Burry. (/d. 4 102.)

6, December 8, 2017 Public Session

After deliberating at the [Executive Session, the
Freeholders conducted the Public Session. (/d. 4] 103.) At
the Public Session, the Board took public comment, voted
on, and approved the following resolutions: (1) to update,
expand, and reinforce the Monmouth County policy on

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prohibiting workplace discrimination and harassment; and
(2) to censure Curley. (/d. ff] 81, 106, 117.) The
resolution to censure Curley expresses disapproval of his
remarks but imposes no punishment on him. (ECF No.
7-1, Ex. F at 13-21.)

At the Public Session, Defendants allegedly read the
Censure Resolution of Curley, which directly quoted and
paraphrased the Report, “notwithstanding the Court’s
order that the Report remain under seal.” (ECF No. 7 ff
107-08.) During the reading of the Censure Resolution, “a
member of the public interrupted Defendants’ counsel to
inform the Freeholders that quoting passages from the
Report violate[d] the Court’s sealing order,” (/d. 4 109.)
When Curley’s counsel was permitted to speak, he also
objected to the reading of the sealed Report to the public.
(fd. 4112.)

7. Monmouth County Republican Committee Email

On December 13, 2017, the Chairman of the Monmouth
County Republican Committee sent an email to the
Monmouth County Republic Headquarters, quoting from
the Report and criticizing Curley “for pursuing his rights
in courts and for hiring a ‘Democratic State committee
lawyer.” ” (id. 9] 118-19.) The email concluded that
Curley “should not run for re-election on the Republican
line in 2018.” (fd. 7 120.)

B. Procedural Background
Gn December |, 2017, Curley filed an initial Complaint
against Defendants with an Order to Show Cause seeking
Temporary Restraints and a Preliminary Injunction. (ECF
No, 1.) On December 4, 2017, Curley withdrew his
Application for Temporary Restraints, and the Court, with
all counsels’ consent, ordered the Report sealed. (ECF
No. 4.) On December 22, 2017, Curley filed an Amended
Complaint, alleging twelve counts against Defendants in
their individual and official capacities: (1) two violations
of his due process under the Fourteenth Amendment
pursuant to 42 U.S.C. § 1983; (2) two violations of his
due process under Article I, Paragraph I of the New
Jersey Constitution; (3) declaratory judgment; (4)
retaliation for protected free speech under the First
Amendment, pursuant to § 1983; (5) retaliation for
protected free speech under Article I, Section 1, Paragraph
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6 of the New Jersey State Constitution; (6) a violation of
the Speech or Debate Clause of Article 1, Section 6,
Clause | of the U.S. Constitution; (7) a violation of the
Speech or Debate Clause of Article IV, Section 4,
Paragraph 9 of the New Jersey State Constitution; (8)
Conspiracy to Violate Constitutional Rights, § 1985; (9)
violation of local government ethics law; and (10)
defamation. (See ECF No. 7.)

*4 On December 22, 2017, Curley filed a Motion to hold
Defendants in contempt for violating the Court's
December 4, 2017 Order to keep the Report sealed
(“Order to Seal”). (ECF No. 8.) On February 1, 2018, the
County Defendants filed a Motion to Dismiss for Lack of
Jurisdiction based on immunity and Motion to Dismiss for
failure to state a claim. (ECF No. 26.) On February 15,
2017, Fitzgerald and O’Connor filed a Motion to Dismiss.
(ECF No. 32.) All motions are opposed. (ECF Nos. 21
and 44.) On April 30, 2018, the Court heard Oral
Argument on both motions and provided the parties with
an opportunity to file supplemental summation briefs after
the argument. On May 7, 2018, Defendants submitted
supplemental briefs. (ECF Nos. 51 and 52.) These were
taken into consideration below.’

Il, LEGAL STANDARDS

A. Federal Rule of Civil Procedure 12(b)(1)

Federal Rule of Civil Procedure 12(b)(1) mandates the
dismissal of a case for ‘lack of subject-matter
jurisdiction.” An assertion of Eleventh Amendment
immunity is a challenge to a district court's subject-matter
jurisdiction. See Blanciak vy, ANegheny Ludlum Corp., 77
F.3d 690, 693 n.2 (3d Cir. 1996) (“[T]he Eleventh
Amendment is a jurisdictional bar which deprives federal
courts of subject matter jurisdiction.”) (citing Pennhiurst
State School & Hosp. v. Halderman, 465 U.S, 89, 98-100
(1984) }. Typically, when jurisdiction is challenged
pursuant to Rule 12(b)(1), the plaintiff bears the burden of
persuading the court that subject-matter jurisdiction
exists. Kehr Packages, Inc. v. Fidelcor, Ine., 926 F.2d
1406, 1409 (3d Cir. 1991), However, because “Eleventh
Amendment immunity can be expressly waived by a
party, or forfeited through non-assertion, it does not
implicate federal subject matter jurisdiction in the
ordinary sense,” and therefore, a party asserting Eleventh
Amendment immunity bears the burden of proving its
applicability. Christy v. Pa. Turnpike Comm., 54 F.3d
1140, 1144 (3d Cir. 1994); see also Carter v. City of
Phila., 181 F.3d 339, 347 (3d Cir. 1999).

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When evaluating a Rule 12(b){!) motion to dismiss, a
court must first determine whether the motion attacks the
complaint as deficient on its face, or whether the motion
attacks the existence of subject-matter jurisdiction in fact,
apart from any pleadings. Afortensen v. First Fed. Sav, &
Loan Ass'n, 549 F.2d 884, 891 (3d Cir. 1977). If the
motion consists of a facial attack, the court “must accept
the complaint’s allegations as true,” Turicentro v, Am.
Airlines, 303 F.3d 293, 300 n.4 (3d Cir. 2002), and “must
only consider the allegations of the complaint and
documents referenced therein and attached thereto, in the
light most favorable to the plaintiff,” Gold Elecs. inc. v.
United States, 220 F.3d 169, 176 (3d Cir. 2000) (citing
Mortensen, 549 F.2d at 891). However, if the motion
involves a factual attack, “the court may consider
evidence outside the pleadings.” Gould, 220 F.3d at 176
(citing Gotha v. United States, 115 F.3d 176, 178-79 (3d
Cir. 1997) ). Here, the Motion to Dismiss for lack of
jurisdiction is a facial attack, because the Defendants
assert they are immune from Curley’s claims as pled.
Therefore, on this question of immunity, the Court's
review is limited to the allegations in the Complaint,
which the Court must accept as true and view in the light
most favorable to Curley.

B. Federal Rule of Civil Procedure 12(b)(6)

In deciding a motion to dismiss pursuant to Federal Rule
of Civil Procedure 12(b)(6), a district court is “required to
accepl as true all factual allegations in the complaint and
draw all inferences in the facts alleged in the light most
favorable to the [plaintiff].” Phillips, 515 F.3d at 228.
“[A] complaint attacked by a ... motion to dismiss does
not need detailed factual allegations.” Bel/ Ari v.
Twombly, 550 U.S. 544, 555 (2007). However, the
plaintiff's “obligation to provide the ‘grounds’ of his
‘entitle[ment] to relief requires more than labels and
conclusions, and a formulaic recitation of the elements of
a cause of action will not do.” /d. (citing Papasan v.
Allain, 478 U.S. 265, 286 (1986) ). A court is “not bound
to accept as true a legal conclusion couched as a factual
allegation.” Papasan, 478 U.S. at 286. Instead, assuming
the factual allegations in the complaint are true, those
“[flactual allegations must be enough to raise a right to
relief above the speculative level.” Tivombly, 550 U.S. at
555,

*5 “To survive a motion to dismiss, a complaint must
contain sufficient factual matter, accepted as true, to ‘state
a claim for relief that is plausible on its face.’ ” Asicroft
v. dgbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550
U.S. at 570). “A claim has facial plausibility when the
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pleaded factual content allows the court to draw the
reasonable inference that the defendant is liable for
misconduct alleged.” /d. This “plausibility standard”
requires the complaint allege “more than a sheer
possibility that a defendant has acted unlawfully,” but it
“js not akin to a ‘probability requirement.’ ” /d. (quoting
Twonbly, 550 U.S. at 556). “Detailed factual allegations”
are not required, but “more than an unadorned, the
defendant-harmed-me accusation” must be pled; it must
include “factual enhancements” and not just conclusory
statements or a recitation of the elements of a cause of
action. /d. (quoting Twombly, 550 U.S. at 555, 557),

“Determining whether a complaint states a plausible
claim for relief [is] ... a context-specific task that requires
the reviewing court to draw on its judicial experience and
common sense.” [gbai/, 556 U.S. at 679. “[Where the
well-pleaded facts do not permit the court to infer more
than the mere possibility of misconduct, the complaint has
alleged-but it has not ‘show(n]'=‘that the pleader is
entitled to relief.’ " fd. at 679 (quoting Fed. R. Civ. P.

8(a)(2) ).

While as a general rule, a court may not consider anything
beyond the four corners of the complaint on a motion to
dismiss pursuant to 12(b)(6), the Third Circuit has held “‘a
court may consider certain narrowly defined types of
material without converting the motion to dismiss [to one
for summary judgment pursuant under Rule 56].” Ja re
Rockefeller Ctr. Props. Sec. Litig., 184 F.3d 280, 287 (3d
Cir, 1999). Specifically, courts may consider any “
‘document integral to or explicitly relied upon in the
complaint.” f7 re Burlington Coat Factory Sec. Litig., 114
F.3d at 1426.

C. Contempt

“Courts have inherent power to hold parties in civil
contempt in order to enforce compliance with any order
of the court or to compensate for losses or damages.” U.S.
v. Ciampitti, 669 F. Supp. 684, 687 (D.N.J. 1987) (citing
McComb v, Jacksonville Paper Co., 336 U.S. 187 (1949)
). The Court also has the authority to impose sanctions “if
a party or its attorney ... fails to obey a scheduling or
other pretrial order.” Fed. R. Civ. P. 16(f(1)(C). Rule
16(f)(2) further allows:

Instead of or in addition to any
other sanction, the court must order
the party, its attorney, or both to
pay the reasonable
expenses—including attorney's

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fees-incurred because of any
noncompliance with this rule,
unless the noncompliance was
substantially justified or other
circumstances make an award of
expenses unjust.

Fed, R. Civ. P. £6(f)(2). “To prove civil contempt the
court must find that (1) a valid court order existed, (2) the
defendant had knowledge of the order, and (3) the
defendant disobeyed the order.” John T. ex rel. Paul T. v.
Delaware Cty. intermediate Unit, 318 F.3d 545, 552 (3d
Cir, 2003) (citation omitted),

Ill. DECISION

A. Subject Matter Jurisdiction

The County Defendants argue this Court lacks subject
matter jurisdiction because Curley’s claims present
non-justiciable political questions. (ECF No. 26-1 at
12-17.) Specifically, the County Defendants argue “the
political question doctrine excludes from judicial review
those controversies which revolve around policy choices
and value determinations reserved for the legislative and
executive branches of government.” (/d. at 14.) The
County Defendants argue:

First, Freeholder Curley’s lawsuit inextricably relates
to the County Freeholder’s discretionary judgment in
how best to respond to an internal work-place
complaint against a policymaking official.

Second, Freeholder Curley’s claims lack judicially
discoverable and manageable standards for resolving
the issue, as the entirety of this case relates to creating,
updating, and changing internal policies and procedures
in the County workplace in relation to high-ranking
policymakers; and how the County Freeholders are
responsible for not only implementing, but also
complying with same.

*6G ....

Finally, it is impossible for the Court to resolve this
case or grant Freeholder Curley his requested relief
without expressing a lack of respect for the County
Freeholders. Finding the censure improper would
require an invasion into the Freeholder Defendants [*]
internal legislative proceedings.
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(id. at 14, 16.)

Curley argues “[bJecause this case involves a challenge to
a local legislative body and not a coordinate branch of the
Federal Government, ihe political question doctrine
standards are plainly not met.” (ECF No. 43 at 11.) The
Court agrees.

“The political question doctrine like standing, mootness
and ripeness places constitutional and prudential limits on
the power of the federal courts to adjudicate certain kinds
of claims.” fn re Nazi Era Cases Against German
Defendants Litig., 129 F. Supp. 2d 370, 374 (DNL.
2001). “The political question doctrine is ‘primarily a
function of the separation of powers[,]’ ” where “[t]he
Judiciary properly refrains from deciding controversies
that the Constitution textually commits to another
political branch, as wells [sic] as cases that lack judicially
manageable standards.” McMahon v. Gen. Dynamics
Corp., 933 F. Supp. 2d 682, 694 (D.N.J. 2013). Claims
that implicate the government’s foreign policy may pose
political questions. fn re Nazi Era Cases Against German
Defendants Litig., 129 F. Supp. 2d at 374 (citing ULS.
Const. art. II, § 2).

“Notwithstanding ample litigation, the Supreme Court has
only rarely found that a political question bars its
adjudication of an issue.” AfcMahon, 933 F. Supp. 2d at
694. Indeed, “the application of the political question
doctrine is not absolute.” In re Nazi Era Cases Against
German Defendants Litig., 129 F. Supp. 2d at 374, In fact,
“[a] question presented to this Court for decision is
properly deemed political when its resolution is
committed by the Constitution to a branch of the Federal
Government other than this Court.” Elrod v. Burns, 427
U.S. 347, 351 (1976). Therefore, “it is the relationship
between the judiciary and the coordinate branches of the
Federal Government, and not the federal judiciary’s
relationship to the States, which gives rise to the ‘political
question.” ” fd. (quoting Baker v. Carr, 369 U.S. 186, 217
(1962) ); Larsen v. Senate of Com. of Pa., 152 F.3d 240,
246 (3d Cir. 1998). Because this case involves challenges
to a local state legislative body and not a branch of the
Federal Government, the political question doctrine does
not apply. Accordingly, the County Defendants’ Motion
to Dismiss on this ground is DENIED.

B. The Speech or Debate Clause
Defendants argue they are entitled to immunity under the
Speech or Debate Clause of Article 1 Section 6 of the
United States Constitution for the investigation into

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Curley’s conduct and the Censure Resolution because
they are elected officials or the staff of elected officials.
(ECF No. 26-1 at 18 and ECF No. 33 at 29.) Curley
argues the Speech or Debate Clause does not immunize
Defendants’ conduct because it is outside the legislative
process. (ECF No. 43 at 25-27,}

*7 The Speech or Debate Clause provides: “The Senators
and Representatives ... for any Speech or Debate in either
House ... shall not be questioned in any other Place.” U.S.
Const., art. I, § 6, cl. 1. It affords absolute immunity to
state legislators for their legislative activities. Youngblood
vy. DeWeese, 352 F.3d 836, 839 (3d Cir. 2003), as
amended (Feb. 11, 2004}. “[L]ocal legislators, like federal
and state legislators, are absolutely immune from liability
for their legislative activities.” In re Monigomery Cry.,
215 F.3d 367, 376 (3d Cir, 2000).

“To be legislative, however, the act in question must be
both substantively and procedurally legislative in nature.”
fd. “An act is substantively legislative if it involves
policy-making of a general purpose or line-drawing.” fa.
(citation omitied). “It is procedurally legislative if it is
undertaken by means of established legislative
procedures.” /d. (citation omitted). The Supreme Court:

has defined the sphere of legitimate legislative
activities to include activities that are “an integral part
of the deliberative and communicative processes by
which Members participate in committee and House
proceedings with respect to the consideration and
passage or rejection of proposed legislation or with
respect to other matter which the Constitution places
within the jurisdiction of either House.”

Youngblood, 352 F.3d at 840 (quoting Gravel v. United
States, 408 U.S. 606, 625 (1972) }. The Court has found
the following are considered legislative: voting for a
resolution, Powell v. McCormack, 395 U.S. 486, 504-05
(1969); subpoenaing and seizing property and records for
a committee hearing, Eastland v. United States
Servicemen's Fund, 421 U.S. 491, 507 (1975) and
Dombrowski v. Eastland, 387 U.S. 82, 84-85 (1967);
preparing investigative reports, Doe v. McMillan, 412
U.S. 306, 313 (1973); addressing a congressional
committee, Gravel, 408 U.S. at 616; and speaking before
the legislative body in session, Jofnson, 383 U.S. at
184-85.

However, the Speech or Debate Clause does not
encompass “everything ‘related of the due functioning of
the legislative process.” Youngblood, 352 F.3d at 840
(quoting United States v. Brewster, 408 U.S. 501, 513
(1972) ). “Immunity does not extend to acts that are
casually or incidentally related to legislative affairs but
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not a part of the legislative process itself.” Jd. (citation
omitted). The Third Circuit has denied immunity where
an employee was fired for mis- and malfeasance because
it was a “personnel decision that does not involve general
policy making” and therefore, was not legislative in
substance. /n re Montgomery Cty., 215 F.3d at 377.

Here, the County Defendants admit this was not a
legislative act. (ECF No. 26-1 at 27.) In their Moving
Brief they argue Curley has not sufficiently pled a Due
Process claim because the Censure Resolution “is merely
an expression of the Freeholder Defendants’ opinion{,] ...
“{w]hile an ordinance is a ‘distinctively [ ] legislative act,’
a resolution ‘is simply an expression of opinion or mind
conceming some particular time or business coming
within the legislative body’s official cognizance.’ ” (/d.)
Defendants cannot have it both ways, Because they admit
the Censure Resolution was not a legislative act, the Court
finds Defendants are not entitled to absolute immunity
under the Speech or Debate Clause.

C. Constitutional Claims

1. Due Process Claims (Counts 1-4)

*8 In Counts | through 4 of the Amended Complaint,
Curley alleges his due process rights were violated under
the Fourteenth Amendment, the New Jersey Constitution
and/or the New Jersey Civil Rights Act (“NJRCA”). (ECF
No. 7 at 22-27.) Specifically, Curley alleges he was
deprived of a protected property interest because
Defendants deprived him of unrestricted access to his
office, denied him access to his aide for a period of two
days, censured him without due process, and denied him
of a protected interest in his reputation without due
process. (/d.)

The Court finds Curley has failed to sufficiently allege
Defendants deprived him of any property interest or right
protected by the Due Process Clause. The Fourteenth
Amendment of the Constitution prohibits “a state from
depriving persons of life, liberty, or property without due
process of law.” U.S. Const. amend. XIV, § 1. “When a
plaintiff sues under 42 U.S.C. § 1983 for a state actor's
failure to provide procedural due process” she must
demonstrate she had a life, liberty, or property interest
and that the procedures available to her did not provide
her with “due process of law.” Alvin v. Suzuki, 227 F.3d

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107, 116 (3d Cir. 2000) (emphasis added). In evaluating a
procedural due process claim, the Court must first
determine “whether the asserted individual interests are
encompassed within the [FJourteenth [A]mendment’s
protection of life, liberty, or property." Jd. (citation
omitted); accord Shoats v. Horn, 213 F.3d 140, 143 (3d
Cir. 2000) (citation omitted). Property interests are
“created and their dimensions are defined by existing
rules or understandings that stem from an independent
source such as state law-rules or understandings that
secure certain benefits and that support claims of
entitlement to those benefits.” Bd. of Regents of State
Coll. v. Roth, 408 U.S. 564, 577 (1972). “To have a
property interest in a benefit, a person clearly must have
more than an abstract need or desire for it. He must have
more than a unilateral expectation of it. He must, instead,
have a legitimate claim of entitlement to it.” fa.

Once a court determines that the interest asserted is
protected by the Due Process Clause, the question then
becomes what process is due to protect it. /d. (citing
Morrissey v. Brewer, 408 U.S. 471, 481 (1972) ). “This
principle requires some kind of a hearing prior to the
discharge of an employee who has a constitutionally
protected property interest in his employment.” Cleveland
Bd. of Educ, v. Loudermill, 470 U.S. 532, 542 (1985)
(citations omitted). The Constitution requires the
opportunity to be “granted at a meaningful time and in a
meaningful manner.” Boddie v. Connecticut, 401 U.S.
371, 378 (1971) (citation omitted).

“[Plersonnel decisions short of termination do not
constitute a deprivation of a property interest under the
due process clause of the [FJourteenth [A]mendment.”
Ferraro v. City of Long Branch, 23 F.3d 803, 807 (3d Cir.
1994). In Ferraro, the Third Circuit found there was no
constitutional violation where a complaint does not
allege: (1) an employee was “discharged actually or
constructively, [ (2) ] his salary and benefits were not
affected adversely ..., [3] [he was] not strip[ped] of his job
title, and [4] he was not transferred to a different agency.”
fd. Moreover, courts have found elected officials “hold[ ]
no property right in [their] elected positions or in [their]
ability to carry out the functions of that position.”
Dillapiain v. Xenia Cmty. Sch. Bd. of Educ., No. 13-104,
2013 WL 5724512, at *6 ($.D. Ohio Oct. 21, 2013). The
Supreme Court has established that “an unlawful denial
by state action of a right to state political office is not a
denial of a right of property or liberty secured by the due
process clause.” Snowden v. Hughes, 321 U.S. 1, 7 (1944)
}; Biener v. Calio, 361 F.3d 206, 216 (3d Cir. 2004).
“(Public offices are mere agencies or trusts, and not
property as such and ... the nature of the relation of a
public officer to the public is inconsistent with either a
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property or a contract right.” Carson v. Vernon Twp., No.
09-6126, 2010 WL 2985849, at *12 (D.NJ. July 21,
2010) (citations omitted).

*9 In Counts | and 2 of his Amended Complaint, Curley
does not allege Defendants discharged him actually or
constructively, deprived him of his salary, excluded him
from Board meetings, or prevented him from voting on
Board matters. Instead, he merely complains he was
deprived of unrestricted access to his office and access to
his aide for two days, which he alleges he is entitled to
based on “custom and tradition.” (ECF No. 7 4 125,
134.) These alleged interests do not constitute
deprivations of property interest under the Fourteenth
Amendment. Indeed, Curley concedes he was able to
perform his official duties despite his restrictions. In fact,
on November 30, 2017, Curley worked at the Hall of
Records “fulfilling his duties as an elected Freeholder.”
(ECF No, 7 4] 86.)

Property interests are “created and their dimensions are
defined by existing rules or understandings that stem from
an independent source such as state law-rules or
understandings that secure certain benefits and that
support claims of entitlement to those benefits.” Be. of
Regents of State Coill., 408 U.S. at 577. “To have a
property interest in a benefit, a person clearly must have
more than an abstract need or desire for it. He must have
more than a unilateral expectation of it. He must, instead,
have a legitimate claim of entitlement to it.” /d. Curley
pleads no existing rules or independent sources of law
that secure these types of property interests. Accordingly,
Curley has failed to state a claim as to Counts | and 2.
Accordingly, Counts | and 2 are DISMISSED.

Counts 3 and 4 of the Amended Complaint allege
Defendants deprived Curley of a constitutionally
protected interest in his reputation without due process by
providing the Report to the Board and censuring him. The
Third Circuit has held that “‘an individual does not have a
protected interest in reputation alone.” Thomas v. Indep.
Twp., 463 F.3d 285, 297 (3d Cir. 2006). “Rather, to make
out a due process claim for deprivation of a liberty
interest in reputation, a plaintiff must show a stigma to his
reputation plus deprivation of some additional right or
interest.” Hill v. Borough of Kutztown, 455 F.3d 225, 236
(3d Cir, 2006). This is referred to as the “stigma-plus”
test. fd. In the public employment context, the
“stigma-plus” test has been applied to mean that when an
employer “creates and disseminates a false and
defamatory impression about the employee in connection
with his termination,” it deprives the employee of a
protected liberty interest. Codd v. Velger, 429 U.S. 624,
628 (1977). The creation and dissemination of the false

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and defamatory impression is the “stigma,” and the
termination is the “plus.” Hil/, 455 F.3d at 236. To satisfy
the “stigma” prong of the test, it must be alleged that the
purportedly stigmatizing statements: (1} were made
publicly and (2) were false, Dee v. Borough of Dunmore,
349 F.3d 225, 235 (3d Cir. 2008) (citation omitted}.

Curley has alleged Defendants defamed him by accusing
him of making sexually explicit remarks. He alleges
Defendants made these accusations publicly-in a Public
Session. He further alleges the statements were false.
Therefore, his Amended Complaint adequately alleges the
“stigma” prong of the “stigma-plus” test. However, he has
not satisfied the “plus” prong, That is, putting aside the
question of stigma, Curley has not shown deprivation of
some additional right or interest. Curley suggests he
satisfies the “plus” requirement because “his chances of
electoral success” or running for re-election are harmed.
(ECF No. 43 at 22.) Curley offers no case law to support
his contention that these allegations are sufficient, and
Defendants counter that Curley has failed to present
evidence of any injury other than the perceived harm to
his reputation. The Court agrees.

*10 In Hill, the Third Circuit concluded “that a public
employee who is defamed in the course of being
terminated or constructively discharged satisfies the
‘stigma-plus’ test even if, as a matter of state law, he
lacks a property interest in the job he lost.” 455 F.3d at
238. However, Hii! is distinguishable because it involved
the sufficiency of the allegations on a motion to dismiss
where the plaintiff adequately stated a claim based on
constructive or actual termination-neither of which is
alleged here. Moreover, the Court in Hil! analyzed cases
with factual scenarios more lenient to plaintiffs than here
that nonetheless did not satisfy the “plus” requirement. fd.
(holding that, in employment context, “plus” factor not
met in cases where plaintiffs were suspended with pay,
reprimanded and disciplined but not suspended, had
duties changed, or lost volunteer position); see also Sturm
v. Clark, 835 F.2d 1009, 1012-13 (3d. Cir. 1987)
(rejecting reputation claim where attorney was not denied
opportunity to see or pursue clients held in custody and
despite allegation that defendants characterized her as
“disruptive and unprofessional” to the detriment of her
practice). Here, Curley’s only alleged harm is his
speculation that his chances for reelection may be
harmed.

Application of New Jersey state-specific due process case
law warrants the same conclusion. In New Jersey,
“[w]here a person’s good name or reputation are at stake
because of what the government is doing to that person ...
sufficient constitutional interests are at stake[ ]’? such that
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the inquiry looks for “a protectible interest in reputation
without requiring any other tangible loss.” Doe v. Poritz,
662 A.2d 367, 418-419 (NJ. 1995). The inquiry,
however, remains fact-intensive, id., and reputational
harm must be more than de minimis. In re L.R., 3729 A.2d
463, 472 (NJ. Super. Ct. App. Div. 1999) (stating that
lenient state standard “does not mean that a liberty
interest is implicated anytime a governmental agency
transmits information that may impugn a person’s
reputation”). The cases on which Curley relies are
distinguishable by the interests and harm at stake.

In Grodjesk v. Jersey City Medical Center, the Court
found the “censure by the [hospital’s] executive
committee [ ] unquestionably damaged plaintiffs’
reputation and their professiona! standing as oral
surgeons.” 343 A.2d 489, 500 (NJ. Super. Ct. Ch. Div.
1975). The plaintiffs were censured by the executive
committee of the medical-dental staff for “writing to
agencies and persons outside the hospital family before
judgment was made by them or their peers and also for
use by them of patient records obtained improperly.” fi.
at 411. The censure caused them to be “injured in their
business, reputation, profits and professional standing.”
fd. In Poritz, the Court repeated that a heightened sex
offender designation “inflicts a greater stigma than that
resulting from the conviction for a sex offense, when
there is no such classification” because one’s “liberty
interest is more significant’ when “prior undisclosed
criminal history and his new classification become
[publicly] known.” 662 A.2d at 420. Curley, by contrast,
presents no evidence of endangered livelihood or societal
ostracization. Indeed, he only speculates that his chances
for reelection may be harmed and fails to supply
competent evidence of this. Danchuk v. Mayor & Council
of the Borough of Mount Arlington, No. 15- 2028, 2017
WL 3821469, at *5 (D.N.J. Aug. 31, 2017) (concluding
that because the plaintiff presented “no evidence of
endangered livelihood or societal ostracization” and “only
speculate[d] that her re-election [was] casually connected
to the Censure and fail[ed] to supply competent evidence
of her diminished community standing” she filed to plead
she was deprived of due process). In fact, regardless of his
alleged speculations, he has decided to seek re-election to
a fourth term as an independent. Reputational harm must
be more than de minimis. Id. Accordingly, Curley has
failed to sufficiently plead he was deprived of a
constitutionally protected interest in his reputation
without due process, Counts 3 and 4 are DISMISSED.

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2. Qualified Immunity and First Amendment
Retaliation Claims (Counts 6 and 7)

*11 In Counts 5 and 6 of the Amended Complaint, Curley
alleges Defendants violated his First Amendment rights
by retaliating against him for his “statements and conduct
as a Freeholder expressing his political views.” (ECF No.
7 4 169.) Defendants argue Curley’s First Amendment
retaliation claims against them fail to properly state a
claim, otherwise they are entitled to qualified immunity as
to those claims. (ECF No, 26-] at 28 and ECF No. 33 at
34.) Curley argues he has sufficiently alleged a violation
of his First Amendment rights and therefore, Defendants
are not entitled to qualified immunity. (ECF No. 43 at
29.)

To determine whether a public official is entitled to
qualified immunity, courts first determine whether the
official violated a constitutional right, and then ask
whether the right was clearly established at the time of the
violation. Santini v. Fuentes, 795 F.3d 410, 417 (3d Cir.
2015) (citing Saucier v. Katz, 533 U.S. 194, 201 (2001) ).
The Third Circuit has interpreted the phrase “clearly
established” to mean “some but not precise factual
correspondence” between relevant precedents and the
conduct at issue, and that “[a]lthough officials need not
predict[t] the future course of constitutional law, they are
required to relate established law to analogous factual
settings.” Ryan v. Burlington Cty., 860 F.2d 1199,
1208-09 (3d Cir. 1988), cert. denied, 490 U.S. 1020
(1989) (quoting People of Three Mile Island vy. Nuclear
Regulatory Comm'rs, 747 F.2d 139, 144 (3d Cir. 1984) ).
The essential inquiry is whether a reasonable official in
the defendant’s position at the relevant time “could have
believed, in light of clearly established law, that [his or
her] conduct comported with established legal standards.”
Merkle v, Upper Dublin Sch. Dist., 211 F.3d 782, 797 (3d
Cir. 2000) (quoting Stoneking v. Bradford Area Sch. Dist.,
882 F.2d 720, 726 (3d Cir. 1989), cert. denied, 493 U.S.
1044 (1990) ).

Qualified immunity affords government officials
considerable protection from liability, as it “protects all
but the plainly incompetent or those who knowingly
violate the law.” Saucier, 533 U.S. at 205 (quoting Malley
v. Briggs, 475 U.S. 335, 341 (1986) ). A plaintiff seeking
to overcome qualified immunity need not cite “a case
directly on point, but existing precedent must have placed
the statutory or constitutional question beyond debate.”
Ashcroft vy. al-Kidd, 563 U.S. 731, 741 (2011).
“[Q]ualified immunity [is] defeated if an official ‘knew or
reasonably should have known that the action he took ...
would violate the constitutional rights of the [plaintiff], or
if he took the action with the malicious intention to cause
a deprivation of constitutional rights or other injury.”
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Ffariow v. Fitzgerald, 457 U.S. 800, 815 (quoting [Food v.
Strickiand, 420 U.S. 308, 322 (1975) ).

To determine whether a public official is entitled to
qualified immunity, courts first determine whether the
official violated a constitutional right. Therefore, the
Court begins its analysis by looking to whether a
constitutional right was violated. To plead a claim for
First Amendment retaliation, a plaintiff must allege:

(1) constitutionally —_ protected
conduct, (2) retaliatory action
sufficient to deter a person of
ordinary firmness from exercising
his constitutional rights, and (3) a
causal link between the
constitutionally protected conduct
and the retaliatory action.

Willson v. Yerke, 604 F. App’x 149, 151 (3d Cir. 2015)
{citation omitted). “To be actionable as a general matter,
the alleged retaliatory conduct must have had more than a
de minimis impact on the plaintiff's First Amendment
rights.” /d. “Where the alleged misconduct relates to the
statements or action of elected officials, the threshold is
particularly high.” fd.

*12 In Bond v. Floyd, the Supreme Court observed “(t]he
manifest function of the First Amendment in a
representative government requires that legislators be
given the widest latitude to express their views on issues
of policy.” 385 U.S. 116, 135-36 (1966), The Third
Circuit in Werkheiser v. Pocono Township also found that
“nothing in Bond ... suggests the Court intended for the
First Amendment to guard against every form of political
backlash that might arise out of the everyday squabbles of
hardball politics” and that “the First Amendment may
well prohibit retaliation against elected officials for
speech pursuant to their official duties only when the
retaliation interferes with their ability to adequately
perform their elected duties.” 780 F.3d 172, 181 (3d Cir.
2015); see also Camacho yv. Brandon, 317 F.3d 153, 166
(2d Cir. 2003) (Walker, J., concurring) (“[C]ourts should
intervene in only the most severe cases of legislative
tetaliation for the exercise of First Amendment rights,
thereby allowing ample room for the hurly burly of
legislative decision making.”); cf Monteiro v. City of
Elizabeth, 436 F.3d 397 (3d Cir. 2006) (finding sufficient
evidence to support a First Amendment retaliation claim
where the City Council President had a Council member
arrested and removed from a meeting for speaking out
against the Council President), Courts have declined to
find that verbal reprimands or defamatory remarks
adversely affect a plaintiffs exercise of his First

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Amendment rights. Brennan v. Norton, 350 F.3d 399, 419
(3d Cir. 2003) (“[C]ourts have declined to find that an
employer’s actions have adversely affected an employee’s
exercise of his First Amendment rights where the
employer's alleged retaliatory acts were criticism, false
accusations, or verbal reprimands.”).

The Court finds Curley has failed to sufficiently plead
Defendants violated his First Amendment rights. Curley
does not set forth the specific political statements or any
conduct that is allegedly constitutionally protected, nor
does he allege retaliatory action sufficient to deter a
person of ordinary firmness from exercising his
constitutional rights. Curley argues his pleadings are
sufficient to deter a person of ordinary firmness from
exercising his constitutional rights because he pled
limited access to his office, restricted access to his aide
for two days, and that he was censured. The Court does
not agree. As stated in Werkheiser “the First Amendment
may well prohibit retaliation against elected officials for
speech pursuant to their official duties only when the
retaliation interferes with their ability to adequately
perform their elected duties.” 780 F.3d at 181 (3d Cir.
2015) (emphasis added), Curley admits in his Amended
Complaint he worked at the Hall of Records during his
alleged restricted access “fulfilling his duties as an elected
Freeholder.” (/d. 7 86.) Moreover, censure resolutions
expressing disapproval with no punishment are de
minimis and are not constitutional violations. See
Danchuk v. Mayor & Council of the Borough of Mount
Arlington, No. 15- 2028, 2017 WL 3821469, at *6 (D.N.J.
Aug. 31, 2017) (noting a censure “is mere [a] de minimis
criticism, accusation[ ], or reprimand insufficient to deter
a person of ordinary firmness from exercising
constitutional rights and, hence, does not run afoul [of]
federal and state rights to free speech.”); Page v. Braker,
No. 06-2067, 2007 WL 432980, at *3 (D.N.J. Jan. 31,
2007} (finding the censure resolution “was de minimis and
did not rise to the level necessary to constitute a First
Amendment violation” because it was a “mere showing of
disapproval, expressed by a councilman’s colleagues, and
lacking any real force or punishment”). Accordingly,
Counts 6 and 7 of Curley’s Amended Complaint are
DISMISSED for failure to state a claim and because
Defendants are entitled to qualified immunity.

3. Speech or Debate Clause (Counts $ and 9)

Count 8 and 9 of Curley’s Amended Complaint alleges
Defendants violated his rights under the respective
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Speech or Debate Clauses of the United Stated and New
Jersey Constitution. (ECF No. 7 at 30-32.) Curley argues
the Speech or Debate Clause precluded the Censure
Resolution. (/d.) Defendants contend the Speech or
Debate Clause does not confer on a plaintiff a private
right of action for retaliation based on protected speech.
(ECF No. 26-1 at 21 and ECF No. 33 at 35.) Moreover,
they note they have not sued Curley. (ECF No, 26-1 at 21
and ECF No. 33 at 34.) Curley argues “he does not seek
to create a private cause of action based on the Speech or
Debate Clause, but rather seeks declaratory and injunctive
relief regarding the attempt to use his clearly immunized
legislative speech as a basis for punitive measures, in
plain violation of that provision.” (ECF No. 43 at 32.)

*13 Defendants cite no authority for their proposition that
the Speech or Debate Clause does not confer on a plaintiff
a private right of action. Nonetheless, the Court finds it
lacks jurisdiction over Counts 8 and 9 because there is no
Article IIT case or controversy. “Article II] of the
Constitution limits the jurisdiction of federal courts to
‘Cases’ and ‘Controversies.’ " Lance v. Coffman, 549
U.S. 437, 439 (2007). “Standing to sue is a doctrine
rooted in the traditional understanding of a case or
controversy.” Spokeo, inc. v. Robins, 136 §. Ct. 1540,
1547 (2016). “The standing inquiry focuses on whether
the party invoking jurisdiction had the requisite stake in
the outcome when the suit was filed.” Constitution Party
of Pa. v, Aichele, 757 F.3d 347, 360 (3d Cir. 2014) (citing
Davis v. FEC, 554 U.S. 724, 734 (2008) ).

Article III “standing consists of three elements.” Spokeo,
136 S. Ct. at 1547 (quoting Lujan v. Defs. of Iildlife, 504
U.S. 555, 560 (1992) }. To establish standing, “[t]he
plaintiff must have (1) suffered an injury in fact, (2) that
is fairly traceable to the challenged conduct of the
defendant, and (3) that is likely to be redressed by a
favorable judicial decision.” /d. “The plaintiff, as the
party invoking federal jurisdiction, bears the burden of
establishing these elements.” /d. (citing FIV/PBS, Inc. v,
Dallas, 493 U.S. 215, 231 (1990) ).

As in Spokee, “[t}his case primarily concerns injury in
fact, the ‘[first and foremost’ of standing’s three
elements.” Jd. (quoting Stee! Co. v. Citizens for Better
Env't, 523 U.S. 83, 103 (1998) ). “To establish injury in
fact, a plaintiff must show that he or she suffered ‘an
invasion of a legally protected interest’ that is ‘concrete
and particularized’ and ‘actual or imminent, not
conjectural or hypothetical.’ " fd. at 1548 (quoting Lujan,
504 U.S. at 560). “For an injury to be ‘particularized,’ it
‘must affect the plaintiff in a personal and individual
way.’ " fd. (citations omitted). “Particularization is
necessary to establish injury in fact, but it is not sufficient.

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An injury in fact must also be ‘concrete.” ” Jd “A
‘concrete’ injury must be ‘de facto’; that is, it must
actually exist.” fd. (explaining that “[w]hen we have used
the adjective ‘concrete,” we have meant to convey the
usual meaning of the term — ‘real,’ and not ‘abstract’ ”).
“Concreteness, therefore, is quite different from
particularization.” fd.

In McLeod, thirty-three plaintiffs who signed releases
requested declaratory judgment that the releases were not
knowing and voluntary, even though the employer had
not threatened or attempted to enforce the ADEA waiver.
McLeod, 856 F.3d at 1163, 1166-67. The court held:

An Article III case or controversy
may exist where a private party
threatens an enforcement action
that would cause an imminent
injury. Here, though, the former
employees do not plead that
General Mills threatens any
enforcement of the ADEA claim
waiver, let alone enforcement that
would cause them imminent injury.
Instead, they request a declaration
of their rights under a hypothetical
set of facts. They want to know
their legal rights if, in the future,
General Mills asserts that the
waivers of their substantive ADEA
rights were “knowing and
voluntary” under § 626(f}(3).

fd. at 1166. The court further concluded “[nJo Article [II
case or controversy arises when plaintiffs seek ‘a
declaratory judgment as to the validity of a defense’ that a
defendant ‘may, or may not, raise’ in a future
proceeding.” fd. at 1167 (quoting Calderon v. Ashmus,
523 U.S. 740, 747 (1998) ). Defendants have not sued
Curley for the alleged speech that is protected by the
Speech or Debate Clause. Accordingly, Defendants’
motions to dismiss Counts 8 and 9 are GRANTED.

4, Conspiracy to Violate Constitutional Rights (Count
10)

*14 Count 10 of Curley'’s Amended Complaint alleges
“Defendants conspired to violate [his] rights secured by
the First and Fourteen Amendments to the Unites States
Constitution.” (ECF No. 7 4 186.) Fitzgerald and
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O’Connor argue “[bjecause plaintiff fails to allege that
[D]efendants ‘conspired’ against him because of protected
status, such as race, and alleges a conspiracy among
members of the same local government, Count Ten
should be dismissed.” (ECF No. 33 at 35.) The County
Defendants argue Curley fails to state a cognizable claim
for civil conspiracy because Curley:

has not identified the conspirators
by mame or even alleged facts
[from] which one could infer the
existence of a conspiratorial
agreement. Nor has [Curley]
alleged specific facts: (1) sufficient
to support a conspiracy motivated
by a class-based discriminatory
animus ie. discriminatory intent;
(2) showing that any of these
Defendants agreed to violate
Freeholder Curley’s rights through
witness intimidation in any federal
and/or state proceeding or
investigation; (3) of overt acts
committed by the purported
co-conspirators in furtherance of
the conspiracy; and/or (4) showing
actual knowledge by any of the
Defendants of the __ illegal
conspiracy to commit a civil rights
violation prior to it occurring.

(ECF No, 26-1 at 34.) The County Defendants further
argue Curley cannot maintain a conspiracy claim against
them because they are considered a single entity that
cannot conspire with itself. (/d. at 35.) Curley alleges he
accidently captioned Count 10 as a conspiracy under 42
U.S.C. § 1985, but actually pled a general civil conspiracy
claim under New Jersey law and requests the Court to
interpret the claim as such or provide him a chance to
replead, (ECF No. 43 at 30.)

The Court finds Curley intended to plead a conspiracy
claim under 42 U.S.C. § 1985 because it is not only
mentioned in the caption of Count 10 but Count 10 also
alleges “Defendants conspired to violate [his] rights
secured by the First and Fourteen Amendment to the
United States Constitution.” (ECF No. 7 7 186 (emphasis
added).) Because Curley admits he has not properly pled a
conspiracy claim under 42 U.S.C. § 1985, it is
DISMISSED. To the extent Curley intended to plead a
general civil conspiracy claim under New Jersey law, he
may file a second amended complaint to reflect that.

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D. Local Government Ethics Law N.J. Stat. Ann. §
40A:9-22.1, et seg, (Count 11)

Count 11 of Curley’s Amended Complaint alleges
DiMase, Armone, Rich, and Burry-the remaining
Freeholders excluding himself-violated the Local
Government Ethics Law, N.J. Stat. Ann. § 40A:9-22.1 to
22.25 (the “Ethics Law”) by participating in the
Executive Session and making public comment on and
voting for the Censure Resolution at the Public Session.
(ECF No. 7 ff] 190-204.) The County Defendants argue
the Ethics Law does not apply to this matter because
Curley alleges the Freeholders have a “personal interest”
in the Censure Resolution for no other reason than that
they were “mentioned” in the Report. (ECF No. 26-1 at
41.) Moreover, they argue Curley “provides no
foundation, basis or support in fact or law to claim the
Freeholders’ interest in the subject Censure Resolution
was not one shared with the common members of the
public.” (fd. at 42.) Curley argues he has properly alleged
DiMaso had a direct personal interest and the remaining
Freeholders, who were also mentioned in the Report, have
an indirect personal interest. (ECF No. 43 at 38.)

The Ethics Law sets minimum ethical standards by which
local government officers must act. Specifically, N.J. Stat.
Ann. § 40A:9-22.5 states: “No local government officer
or employee or member of his immediate family shall
have an interest in a business organization or engage in
any business, transaction, or professional activity, which
is in substantial conflict with the proper discharge of his
duties in the public interest.” “The determination [of]
whether a particular interest is sufficient to disqualify a
board member is necessarily factual in nature and depends
upon the circumstances in each case.” Gunthner v,
Planning Bd. of Borough of Bay Head, 762 A.2d 710, 714
{N.J. Super. Ct. Law. Div. 2000).

*15 “An actual conflict of interest is not the decisive
factor, nor is ‘whether the public servant succumbs to the
temptation,’ but rather whether there is a potential for
conflict.” Wyzpkowski v. Rizas, 626 A.2d 406, 413 (NL.
1993) (citations omitted). “A conflicting interest arises
when the public official has an interest not shared in
common with the other members of the public.” fd. In
other words, “[t]here cannot be a conflict of interest
where there do not exist, realistically, contradictory
desires tugging the official in opposite directions.” LaRue
v. Township of East Brunswick, 172 A.2d 691, 698 (N.J.
Super. Ct. App. Div. 1961).

The Court agrees with the County Defendants that Curley
has not sufficiently pled they violated the Ethics Law.
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Indeed, Curley “provides no foundation, basis or support
in fact or law to claim the Freeholders’ interest in the
subject Censure Resolution was one not shared with the
common members of the public.” (ECF No. 26-1 at 42.)
Curley has failed to plead there are “desires tugging the
official[s] in opposite directions.” LaRue, 172 A.2d at
698. Accordingly, County Defendants Motion to Dismiss
Count II is GRANTED.

E. Defamation (Count 12)

Count 12 of Curley’s Amended Complaint alleges “[tjhe
Report contains numerous false and unsubstantiated
allegations against [Curley].” (ECF No. 7 4 207.)
Defendants argue Curley’s defamation claim is premature
because he did not wait six months to file the claim from
the date notice of claim was received. (ECF No. 26-1 at
39 and ECF No. 33 at 35.} In the alternative, they argue
Curley fails to state a claim for defamation, (ECF No.
26-1 at 36-39 and ECF No. 33 at 36-40.) Curley admits he
did not comply with the New Jersey Tort Claims Act
(“TCA”) six-month waiting period prior to filing his
defamation claim. (ECF No. 43 at 36-38.) Nevertheless,
Curley argues “New Jersey courts have recognized a
practical exception to that requirement when the claimant
substantially complied with the notice requirement, there
would be no prejudice to the state entity, and the ‘interests
of efficiency and judicial economy’ counsel against
dismissal.” (ECF No. 43 at 36 (quoting Guerrero v. City
of Newark, 522 A.2d 1036, 1041 (N.J. Super. Ct. App.
Div. 1987}.)

The TCA states that “[nJo action shall be brought against
a public entity or public employee under [the TCA] unless
the claim upon which it is based shall have been presented
in accordance with the procedures set forth in this
Chapter.” NJ. Stat. Ann. § 59:8-3. Specifically, a
claimant must sign and file a notice of tort claim (“Notice
of Claim”) with the public entity within 90 days from
accrual of the cause of action. fd. § 59:8-8.2 After the
Notice of Claim is filed, a plaintiff nust wait six months
before filing suit against the public entity or employee in
an appropriate court. /d. (emphasis added). Curley admits
he has not complied with the six-month waiting period
(Curley filed his Notice of Claim on December 22, 2017,
therefore the six-month period expires on June 22, 2018)
and because keeping the claim would not promote
efficiency or save judicial resources, since the Court has
dismissed the rest of Curley’s claims and provided him
with opportunity to replead by August 24, 2018 (after the
six-month period), Defendants’ motions to dismiss
Curley’s defamation claim are GRANTED.

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F. Declaratory Judgment (Count 5)
Count 5 of Curley’s Amended Complaint requests
declaratory relief. (ECF No. 7 9 153-67.) Specifically, it
“seeks a declaration that Defendants’ ‘investigation’ was
ultra vires because it was taken without an authorization
of the Board.” (ECF No. 43 at 11.)

*16 The Declaratory Judgment Act provides that a Court
“may declare the rights and other legal relations of any
interested party seeking such declaration, whether or not
further relief is or could be sought.” 28 U.S.C. § 2201 (a).
The express language of the declaratory judgment statute
and fundamental principles of standing under Article IIT
of the Constitution limit this power to actions that present
a “case or controversy.” Cutaiar v. Marshall, 590 F.2d
523, 527 (3d Cir. 1979). The “actual controversy”
requirement refers to the case or controversy requirement
of Article HI, Teva Pharm. USA, Inc. v. Novartis Pharm.
Corp., 482 F.3d 1330, 1336 (3d Cir. 2007). In Teva
Pharmaceuticals, the Third Circuit stated that standing in
the declaratory judgment context requires:

that the dispute be “definite and concrete, touching the
legal relations of the parties having adverse legal
interests”; and that it be “real and substantial” and
“admi{t] of specific relief through a decree of a
conclusive character, as distinguished from an opinion
advising what the law would be upon a hypothetical
state of facts.”

id. (quoting MedImmune, Inc. vy. Genentech, fnc., 549
U.S. 118, 127 (2007) ). The court noted, “[bJasically, the
question in each case is whether the facts alleged, under
all the circumstances, show that there is a substantial
controversy, between the parties having adverse legal
interests, of sufficient immediacy and reality to warrant
the issuance of a declaratory judgment.” Jd. (citation
omitted),

“The statule creates a remedy only; it does not create a
basis of jurisdiction, and does not authorize the rendering
of advisory opinions.” Cwfaiar, 590 F.2d at 527.
Moreover, “a party requesting a declaratory judgment
must allege facts from which it appears there is a
substantial likelihood that he will suffer injury in the
future.” Lattaker v. Rendell, 269 F. App’x 230, 233 Gd
Cir. 2008) (internal quotations omitted). Because the
Court finds Curley’s Amended Complaint fails to
sufficiently plead any cause of action, much less allege
that there is “a substantial likelihood that [he] will suffer
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injury in the future,” jd. at 233, Curley’s declaratory
Judgment claim (Count 5) is DISMISSED.

G. Contempt Motion

Curley argues this Court should hold Defendants in
contempt or issue sanctions against them because they
directly quoted and paraphrased from the sealed Report in
a public session meeting on December 4, 2017. (ECF No.
9.) Defendants argue: (1) no valid court order existed; (2)
they have absolute immunity under the Speech or Debate
Clause for the Censure Resolution; (3) that Curley’s
interpretation of the Order restricts their First Amendment
righis to speak on matter of policy and public concern; (4)
Curley did not comply with Local Civil Rule 5.3 and thus
cannot maintain an action for contempt; and (5) that
Curley comes to this Court with unclean hands. (ECF No.
24.) At Oral Argument and in their Supplemental
Summations Brief, Fitzgerald and O’Connor argue they
should not be held in contempt or subject to sanctions
because they did not disclose the Report or make any
public statement that quoted the Report at the public
session. (ECF No. 51 at 2.) “Their mere presence at the
December 8, 2017 public session at which the Board of
Chosen Freeholders passed the censure resolution and
read it aloud could not establish contempt even if a
binding and enforceable sealing order was in place.” (J¢.)

The Court has already found Defendants are not entitled
to absolute immunity under the Speech or Debate Clause
for the Censure Resolution. Therefore, that argument is
without merit. As to Defendants’ second argument-that
the Order restricts their First Amendment rights—such
argument cannot be challenged in a contempt proceeding.
Roe v. Operation Rescue, 919 F.2d 857, 871 (3d Cir.
1990) (finding a “right to free speech does not immunize
[one] from liability for engaging in proscribed conduct.
Insofar as [the defendant] asserts that the TRO was an
unreasonable time, place, and manner restriction on his
speech, the validity of the order may not be collaterally
challenged in a contempt proceeding for violating the
order”); Sofis v. Koresko, No. 09-988, 2016 WL 4536438,
alt *6 (E.D. Pa. Aug. 31, 2016), aff'd sub nom., Sec'y
United States Dep't of Labor v. Koresko, No. 16-3806,
2018 WL 1446397 (3d Cir. Mar. 23, 2018) (“A
fundamental! principle of the legal system is that all orders
and judgments of courts must be complied with promptly.
If a person to whom a judge directs an order believes that
order is incorrect the remedy is to appeal, but, absent a
stay, he must comply promptly with the order pending
appeal. A private determination that an order is incorrect,
or even unconstitutional, may still result in contempt even

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if [that person’s] private determination is later proven
correct in the courts.”) (citations omitted). As such, this
argument is also without merit.

*17 Next, Defendants argue Curley comes to this Court
seeking contempt with unclean hands because he has also
released portions of the Report. (ECF No. 24 at 24-25.)
However, Defendants point to no instance in which
Curley revealed a portion of the Report after the Court
ordered it sealed to anyone other than this Court or the
parties involved.

Lastly, Defendants argue, absent compliance with Local
Civil Rule 5.3 and Pansy, Curley cannot maintain an
action for contempt because the Order to Seal is not valid.
(ECF No. 24 at 16-17 (citing Pansy v. Boro of
Stroudsberg, 23 F.3d 772 (3d Cir. 1994} ).) It is well
settled that there is “a common law public right of access
to judicial proceedings and records.” Jn re Cendant Corp.,
260 F.3d 183, 192 (3d Cir. 2001). Therefore, a party
seeking to seal a document must demonstrate “good
cause” exits to overcome the presumption favoring a
public right of access. Goldenberg v. Indel, inc., No.
09-5202, 2012 WL 15909, at *1 (D.N.J, Jan. 3, 2012)
(citing Securimetrics, Inc. v. iridian Technologies, Inc.,
No. 03-4394, 2006 WL 827889, at *2 (D.N.J. Mar. 30,
2006) ). “Good cause is established on a showing that
disclosure will work a clearly defined and serious injury
to the party seeking closure. The injury must be shown
with specificity.” Pansy, 23 F.3d at 786 (citing Publicker
indus. Inc. v. Cohen, 733 F.2d 1059, 1071 (3d Cir. 1984)
). In Pansy, the Third Circuit held “that whether an order
of confidentiality is granted at the discovery stage or
another stage of litigation, including settlement, good
cause must be demonstrated to justify the order.” Pansy,
23 F.3d at 786. Courts, not the parties, “should scrutinize
every such agreement involving the sealing of court
papers and [determine] what, if any, of them are to be
sealed, and it is only after very careful, particularized
review by the court that a Confidentiality Order may be
executed.” fa.

Motions to seal are governed by Local Civil Rule 5.3.
Under Local Civil Rule 5.3(c)(2}, a party moving to seal
must describe with particularity: “(a) the nature of the
materials or proceedings at issue, (b} the legitimate
private or public interests which warrant the relief sought,
(c) the clearly defined and serious injury that would result
if the relief sought is not granted, and (d} why a less
restrictive alternative to the relief sought is not available.”

Asa threshold matter, the parties agreed the Report would
remain sealed, because if released to the public would
cause Curley serious injury. Sealing the Report was
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consented to by all parties in this litigation, including
Defendants, on December 4, 2017, to protect Curley from
the disclosure of information that could harm his
reputation or cause serious injury because it contained
sensitive information regarding a sexual harassment
investigation. [It contained not only sensitive information
about Curley but alleged victims. Indeed, after reading
Curley’s brief for Temporary Restraining Order and
Motion for Preliminary Injunction and hearing the parties’
concerns during the in-person and telephone conference,
the Court found sealing the Report was necessary prior to
ordering it to remain sealed on December 4, (ECF Nos. 4,
6, and 42.)

In addition, the Order to Seal is valid. As demonstrated
above, the Court has jurisdiction to hear this matter. Even
though the Order was made orally on the record and
confirmed in a minute entry after the parties consented to
it, it is valid. Afalautea v. Suzuki Motor Co., 987 F.2d
1536, 1543 n.7 (11th Cir. 1993) (“Oral orders are just as
binding on litigants as written orders; the consequences
for violating an oral order are the same as those for
violating a written order.”). Therefore, the Order is proper
and binding.

*18 At oral argument, the County Defendants further
argued that the Order to Seal was limited to “[p]ortions of
the [R]eport that strictly were based on the investigation
alone ... [njot allegations that led to the investigation.”
(Draft Oral Arg. Tr. (ECF No. 49) 2:19-21.) However, the
Order does not make that distinction or provide for any
exceptions. Instead, the Order unambiguously states the
Report is “to remain sealed,” (ECF No. 4.) Moreover, on
the record the Court stated, “[t}he [R]eport and rebuttal,
Docket No. 2 on the docket, will remain sealed.” (ECF
No. 42 4:15-15.) Again, no exceptions were entered.

As a result, sanctions are appropriate in this matter against
the County Defendants, The Court will not impose
sanctions against Fitzgerald and O’Connor because their
mere presence at the December § public session is not
sufficient. However, the County Defendants do not deny

Footnotes

they have revealed portions of the contents of the Report
and cannot at this point undo what has been done.
Therefore, the Court will impose monetary sanctions. The
Third Circuit has approved the issuance of monetary
sanctions for “the cost of bringing the violation to the
attention of the court” as part of the damages suffered by
the prevailing party. Robin Woods Inc. v. Woods, 28 F.3d
396, 400 (3d Cir. 1994), Therefore, the Court finds
attorneys’ fees are appropriate in this matter for the cost it
took to bring this violation to the Court’s attention. Curley
shall file within 30 days of the entry of the accompanying
order an affidavit pursuant to Local Rule 54.2 to recover
the requested fees. Defendants will have fourteen days of
receipt of the affidavit to respond. Accordingly, Curley’s
Mation for Contempt and Sanctions is GRANTED as to
the County Defendants and limited to attorneys’ fees.

IV. CONCLUSION

For the reasons set forth above: (1) Curley’s Motion to
Hold Defendants in contempt (ECF No. 8) is GRANTED
as to the County Defendants, but limited to attorneys’ fees
and Curley shall file within 30 days of the entry of the
accompanying order an affidavit pursuant to Local Rule
54.2 in order to recover the requested fees; (2) the County
Defendants’ Motion to Dismiss for Lack of Jurisdiction is
DENIED, but their Motion for Failure to State a Claim is
GRANTED (ECF No. 26); and (3) Fitzgerald and
O’Connor’s Motion to Dismiss is GRANTED (ECF No.
32). Curley may file an amended complaint addressing all
deficiencies by no later than August 24, 2018. Failure to
file an amended complaint will result in the case being
dismissed with prejudice.

All Citations

Slip Copy, 2018 WL 3574880

1 Defendants Monmouth County Board of Chosen Freeholders, DiMaso, Arnone, Rich, and Burry will jointly be referred to as the
“County Defendants.” DiMaso, Arnone, Rich, and Burry will jointly be referred to as “Freeholder Defendants.”

2 Notably, after Oral Argument, Curley announced he would seek re-election to a fourth term as an independent,

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EXHIBIT B
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2014 WL 6611493
Only the Westlaw citation is currently available.
NOT FOR PUBLICATION
United States District Court, D. New Jersey.

John FALAT, Jr., et al., Plaintiffs,
Vv.
The COUNTY OF HUNTERDON, et al.,
Defendants.

Civi] Case No. 12-6804 (FSH})(MAR).
Signed Nov. 20, 2014.

Filed Nov. 21, 2014.

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OPINION

HOCHBERG, District Judge.

*] This matter comes before the Court upon motions to
dismiss by Defendants Edmund DefFilippis,' Kenneth
Rowe (Docket No. 63) and Defendants the County of
Hunterdon, Matthew Holt, George Melick, William
Mennen, Erik Peterson, Ronald Sworen, Robert Walton,
and Cynthia Yard (Docket No. 64). The Court has
reviewed the submissions of the parties and considers the
motion pursuant to Federal Rule of Civil Procedure 78.

WESTLAW

I, BACKGROUND OF THE INSTANT MOTION

Plaintiffs are Deborah Trout and Michael Russo, the
former Sheriff and Undersheriff of Hunterdon County, as
well as John Falat, Jr., a former employee of the
Hunterdon County Sheriff's Office. They allege that
Defendants—various local public officials—retaliated
against Plaintiffs Trout and Russo for bringing civil
lawsuits against the County. Defendants contend that the
alleged retaliation, if it happened at all, occurred between
2008 and 2010, which would be untimely based on a
two-year statute of limitations.

Plaintiffs initially filed a twenty-count Complaint against
sixteen named individuals and entities on August 2, 2012
in New Jersey Superior Court, Hudson County.
Defendants removed the action to this Court on October
24, 2012. After motions to dismiss were filed by a number
of Defendants, Hon. Stanley Chesler, U.S.D.J., dismissed
several of the causes of action with prejudice and several
without prejudice, allowing Plaintiffs to replead certain
claims against some of the Defendants. Judge Chesler’s
Opinion and Order were clear directions to Plaintiff to
rely on “specific factual allegations to support each of
[their] claims,” “articulating precisely which claims each
Plaintiff is making against whom” rather than asserting
“impermissibly vague group pleading.” Plaintiffs filed an
Amended Complaint against the twelve remaining
Defendants. Defendants again moved to dismiss.‘
Following reassignment of the case to the undersigned,
this Court ordered Plaintiffs to state cach “[s]pecific cause
of action for violation of the Constitution under § 1983 or
§ 1985” and to “state individually by each Defendant
named in each Count that alleges a federal constitutional
rights violation, the paragraph number of the Amended
Complaint that sets forth the asserted factual grounds for
each claim.”

(a) Plaintiffs’ Lawsuits and Alleged Retaliation

Between 2008 and 2010, Plaintiff Trout was the Sheriff of
Hunterdon County, Plaintiff Russo was an Undersheriff
and Plaintiff Falat was an investigator for the Sheriff's
Office. A decade before Plaintiffs took office,
Undersheriff Russo and Sheriff Trout brought civil
lawsuits against the County. Specifically, in 1998,
Plaintiff Trout—then a sheriffs officer—sued the
Hunterdon County Freeholders based on purported
violations of the New Jersey Law Against Discrimination
(“NJ LAD”) and the New Jersey Conscientious Employee
Protection Act (“CEPA”). (Am.Compl.4] 20). Similarly, in
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1995 Plaintiff Michael Russo filed an action pursuant to
42 U.S.C. § 1983 against the Freeholders and the
Hunterdon County Sheriff's Office. (Am.Compl.f 18).
Plaintiffs have not pled the facts underlying these actions
with any particularity. Both actions settled. (Am.Compl.
21).

*2 In 2007, Plaintiff Trout announced her candidacy for
the Office of the Sheriff of Hunterdon County.
(Am.Compl. 22). She won the election, serving as
Sheriff between 2008 and 2010. (Am.ComplL{ 40). From
the beginning of her campaign until she left office,
Plaintiffs Trout and Russo allege that Defendants
wrongfully discriminated against them in retaliation for
their earlier lawsuits, and retaliated against Trout’s
subordinates for assisting in her campaign. (Am.Compl.]
24).

The Amended Complaint includes a list of different
purported acis of retaliation by different public officials,
as follows: Plaintiffs claim that Defendant County
Counsel DeSapio and the Freeholder Defendants
demanded that Plaintiff remove pictures of herself in
County insignia from her political website in 2007,
(Am.CompL{] 25, 26); they claim Defendant Freeholder
Melick allegedly stated, “I can't believe the bitch won,”
and “[tJhe bitch sued us and we're not going to make it
easy for her,” after Plaintiff Trout’s 2007 election victory,
(Am.Compl 29); they claim Defendant DeSapio
allegedly instructed Plaintiff Trout not to hire Plaintiff
Russo as Undersheriff, stating he “was a ‘problem’
[because Russo] had previously sued the county,” and
Defendant Freeholder Melick allegedly demanded that
Plaintiff Trout “get nd of [Russo] immediately...
[because] he sued the County and you need to get rid of
him,” (Am.Compl.9© 32, 38); Plaintiffs claim that the
Freeholder Defendants allegedly reviewed Plaintiff
Trout’s proposed appointments to subordinate positions in
the Sheriff's Office, “demanded resumes, organizational
charts and job descriptions ... demands [that] were never
made of any prior newly elected Hunterdon County
Sheriff" and “refused to pass a resolution
acknowledging” Plaintiff Trout’s selection of
subordinates or approving back pay for them,
(Am.Compl.4f] 34, 39, 50, 52, 55); they complain that all
Defendants purportedly “refused to permit access [sic] the
Sheriff's Trust Fund,” “interfered with the hiring of office
employees,” refused to allow Plaintiff “to relocate [her
office] to the newly renovated Historic Courthouse,” and
refused to renew annual contracts, (Am.Compl.{{
131-135); Plaintiffs claim that Defendant County
Administrator Yard allegedly “limit{ed] [Plaintiff Trout’s]
.. number of unclassified appointments she could make
within her budget” and ordered that no public department

could “perform work for the Sheriff's Department without
Yard's consent,” (Am.Compi.fJ 47, 133); they claim that
the Freeholder Defendants purportedly passed resolutions
that “systematically discriminate[d] and retaliate[d]
against Plaintiff by cutting her budget in amounts
disproportionate to other County budgets” in 2008 and
2009, (Am.Compl.{f] 57, 101); and they claim that
“[D]efendant Melick filed an ethics charge against
Plaintiff Trout with the New Jersey ELEC concerning an
alleged campaign impropriety,” (Am.CompI.4 88).

(b) Hunterdon County Prosecutor’s Office
Investigation

*3 Plaintiffs contend that Defendants’ actions culminated
in the Prosecutor’s Office investigating and arresting
Plaintiffs. The Amended Complaint alleges that unnamed
Defendants “began corresponding with the Hunterdon
County Prosecutor’s Office seeking to involve them in an
investigation” of Plaintiffs for “non-compliance with the
County’s hiring policies.” (Am.Compl.9J 44, 46) (internal
quotation marks omitted). In 2008, the Prosecutor's
Office sent a letter to Plaintiffs seeking copies of all
hiring policies and documentation “to ensure that the
manner in which candidates for [Sheriff's Office] were
hired comports with sound law enforcement practices.”
(Am.Compl.{ 59). Plaintiff Trout claims that she then
received a grand jury subpoena in 2008 to supply “[aJll
employment application and forms, resumes, letters of
reference, background investigation reports ... Arrest
Reports, Investigation Reports” and other documentation
for specific new hires. (Am.Comp.4 64). Additionally,
unnamed Defendants purportedly “disclosed
confidential Grand Jury information and/or confidential
investigations” to the press, resulting in newspaper
articles about an investigation of Plaintiff Trout.
(Am.CompL{f 71, 74, 75).

On July 29, 2008, Plaintiff Falat claims he was stopped by
Defendants Detectives Rowe and DeFilippis, searched,
and arrested for “false swearing ... on his employment
application,” at which time Defendants purportedly “tried
to entice Falat into providing them with information
conceming Plaintiffs Trout and Russo.” (Am.Comp!l.9]
76, &1, 84). Additionally, Plaintiffs allege that Defendants
provided an e-mail to the prosecutor’s office which an
unspecified person obtained “illegally and improperly” by
breaking into “Russo’s e-mail account.” (Am.Compl.4
84). On December 22, 2008, the Prosecutor’s Office
executed search warrants on the Hunterdon County
Sheriff's Office and Plaintiff Falat’s residence, and
frisked Plaintiffs Trout, Russo and Falat. (Am.Compl.f]
92, 93). In March 2010, a grand jury indicted Plaintiffs on
a total of 43 criminal counts, (Am.Compl.4 187), and on
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May 7, 2010 the Hunterdon County Prosecutor’s Office
unsealed the indictments of Plaintiffs Trout, Russo and
Falat, (Am.Compl.q 109), at which time Plaintiffs were
arrested, (Am.Compl.{ 187). Afier the arrests, the
Freeholder Defendants allegedly passed resolutions
requesting that Plaintiffs take a leave of absence and
authorizing an audit to verify Sheriff's Office financial
accounts. (Am.Compl.4 111). In August 2010, the New
Jersey Attorney General’s Office assumed control of the
criminal case against Plaintiffs from the Hunterdon
County Prosecutor’s Office, reviewed the indictments,
and dismissed the indictments against Plaintiffs without
prejudice on August 23, 2010. (Am.Compl.4 117, 118,
122).

(c} Alleged Retaliation After Dismissal of the
Indictments

Afier the indictments were dismissed, Plaintiffs allege
three instances of purported retaliation, set forth below:

*4 > “On August 12, 2010 ... Defendant George
Melick sent a letter on Hunterdon County letterhead
to [the Governor] and copies of said letter to
numerous other individuals questioning as to why
the case had been moved from the Hunterdon County
Prosecutor’s Office to the Attorney General’s Office
... [Melick] indicated that in his 32 years of service
on the Board of Chosen Freeholders, he had served
with six (6) different Sheriffs, ‘all of which had
conducted themselves, to a certain of [sic] degree, in
a manner that challenged the public’s trust.[’] ...
Defendant Melick asked the Governor to investigate
the reassignment of the cases ... [and] copied this
letter to various politicians and news papers...”
(Am.Compl.J 118-120),

* “On Tuesday September 7, 2010, Freeholder
Director William Mennen, at a regular freeholder
meeting, stated, with regards to the dismissal of all
charges, ‘This body sat back out of respect and
protocol’ ... ‘attempting to allow the Criminal Justice
system to do its job’ ... [Now] ‘it is incumbent upon
the freeholder board to administratively review the
allegations.’ ” (Am.Compl.]] 125).

* “It was reported in various newspaper articles that
on Tuesday August 2, 2011 at a regularly scheduled
freeholder meeting, the Freeholders, with the consent
and knowledge of Defendants DeSapio and Yard,
began making derogatory remarks and comments
about Plaintiffs. In this public session, the
Freeholders disclosed materials and discussed issues
that constituted an unwarranted invasion of the

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Plaintiffs’ individual privacy, including personal
material relating to insurance programs and
information relating to the Plaintiffs’ personal and
family circumstances which they knew should not
have been disclosed publicly.” (Am.Compl.4] 127).

These are the only incidents alleged to have occurred after
August 2, 2010. The Amended Complaint does not allege
that the Freeholders initiated an administrative
investigation. Nor does the Amended Complaint state
who made the alleged derogatory remarks, what those
remarks were, or how the remarks are attributable to any
of the Defendants.

Plaintiffs also state, without any further factual averrals,
that “[t]hese acts of harassment, discrimination and
retaliation continued until the filing of this Complaint”
and that the “retaliatory actions against Plaintiff Russo ...
continues to date.” (Am.Compl.4] 41, 43). The Amended
Complaint does not identify any additional alleged act of
harassment.

The Amended Complaint continues to assert that this
conduct was part of a conspiracy: the Defendants
“conspired with the other Defendants ... to harass,
discriminate and/or retaliate against Plaintiffs Trout and
Russo for exercising their [constitutional] right[s] ...”; and
“Defendants Rowe, DefFillippis [sic], DeSapic, the
Defendant Freeholders, Yard, Simon, John Does I-20 and
ABC Corporations 1-20 had numerous conversations
conceming Plaintiffs and her appointments in the
Hunterdon County Sheriffs Office. These
communications were part of a concerted effort to
retaliate, harass and discriminate against Plaintiffs,
prevent them from exercising their State and Federal civil
rights and retaliate against them for their activities.”
{Am.Compl1.{{ 41, 61). The Amended Complaint does not
state when such purported agreement was made, the
purpose of such agreement, or the circumstances under
which any Defendant purportedly agreed.

Il. STANDARD

*5 “To survive a motion to dismiss, a complaint must
contain sufficient factual matter, accepted as true, to ‘state
a claim to relief that is plausible on its face.” " Ashcroft v.
fgbal, 556 U.S. 662, 129 S.Ct. 1937, 173 L.Ed.2d 868
(2009) (quoting Bei! Ati. Corp. v. Twombly, 550 U.S. 544,
570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)); see aiso
Phillips v. County of Allegheny, 515 F.3d 224, 234 (3d
Cir.2008) (“[S]tating ... a claim requires a complaint with
enough factual matter (taken as true) to suggest the
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required element. This does not impose a probability
requirement at the pleading stage, but instead simply calls
for enough facts to raise a reasonable expectation that
discovery will reveal evidence of the necessary element.”)
(internal quotations omitted).

When considering a motion to dismiss under fgbal, the
Court must conduct a two-part analysis. “First, the factual
and legal elements of a claim should be separated. The
District Court must accept all of the complaint’s
well-pleaded facts as true, but may disregard any legal
conclusions. Second, a District Court must then determine
whether the facts alleged in the complaint are sufficient to
show that the plaintiff has a plaustble claim for relief.”
Fowler vy. UPMC Shadyside, 578 F.3d 203, 210-11 (3d
Cir.2009) (internal citations and quotations omitted). “A
pleading that offers labels and conclusions or a formulaic
Tecitation of the elements of a cause of action will not do.
Nor does a complaint suffice if it tenders naked assertions
devoid of further factual enhancement.” /gba/, 129 §.Ct.
at 1949 (intemal quotations and alterations omitted).

III. DISCUSSION

Plaintiffs have had ample opportunity to state clearly the
factual basis of each cause of action asserted, and have
been admonished to do so more than once. Plaintiffs’
initial Complaint was dismissed by Judge Chesler, who
ordered Plaintiffs to “furnish the Court with a Complaint
that clearly spells out which individual plaintiffs are
making what legal claims against whom and set forth the
specific factual allegations to support each of those
claims,” (Docket No. 28). In response, Plaintiffs filed a
78-page Amended Complaint asserting a protracted list of
42 U.S.C. § 1983 claims, without clarifying the specific
constitutional wrong asserted. Plaintiffs were again
ordered to identify specific factual allegations and to
submit a chart listing the specific federal causes of action
Plaintiffs intended to assert, as well as the Defendants
against whom Plaintiffs sought to assert each cause of
action. The Court finds that any causes of action that
Plaintiffs failed to specifically assert-as required by Court
Order—-have been abandoned.

Based on the chart that Plaintiffs submitted and the
Amended Complaint, Plaintiffs assert the following
causes of action:

(1) “NJ LAD/Gender Discrimination”;

(2) “Hostile Work Environment”;

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(3) “First And Fourteenth Amendments 42 U.S.C. §
1983,” specifically based on a purported: (A) “Equal
Protection Violation [of the] 14th Amendment”; and
(B) “Free Speech Violations Of 1st Amendment”;

*6 (4) “Conspiracy Under § 1983, § 1985 And The
New Jersey Constitution,” specifically based on: (A)
“Retaliating Against Trout For Appointing Russo And
Falat In Violation Of Her Equal Protection Rights
Under The 14th Amendment”; and (B) “Retaliating
Against Trout And Russo For Their Prior Lawsuits In
Violation Of Their Free Speech Rights Under The Ist
Amendment”;

(5) “New Jersey Constitution/Civil Rights Act”;
(6) “Retaliation”;
(7) “Constructive Discharge”;

(8) “Aider And Abettor Liability As To Individual
Defendants”;

(9) ‘“Respondeat Superior’;
(10) “Official Policy”; and
(11) “Malicious Prosecution.” (Docket No. 57).

Despite Judge Chesler’s ruling, which dismissed with
prejudice certain claims in their entirety as well as certain
claims as asserted against particular Defendants, Plaintiffs
persist in reasserting some of these already-dismissed
claims. For instance, the Court's March 19, 2013, Order
“dismissed with prejudice as against all Defendants”
Plaintiffs’ equal protection claims. Yet Plaintiffs purport
to assert a claim based on the Equal Protection Clause of
the Fourteenth Amendment. (Docket No. 57; Am. Compl.
9% 149, 153). Similarly, Plaintiffs argue that “Plaintiffs
Trout And Russo can state a claim under the New Jersey
Law Against Discrimination against [all twelve
Defendants] because each Defendant discriminated
against the Plaintiffs.” But Judge Chesler clearly and
explicitly held that Plaintiffs’ NJ LAD claim was
dismissed with prejudice against all Defendants except
the County. Plaintiffs did not seek reconsideration of any
of Judge Chesler’s rulings within the time limits set forth
by this Court’s Local Rules. “The doctrine of the law of
the case ... limits relitigation of an issue once it has been
decided.” fn re Cont’l Airlines, Inc. .. 279 F.3d 226, 232
(3d Cir.2002). The Court will not tolerate Plaintiffs’
attempt to revive these causes of action in the Amended
Complaint; these claims remain dismissed.’ Counsel is
admonished to respect all prior court rulings, regardless of
which judge entered such ruling.
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Thus, the remaining counts include: (a) free speech claims
under the First Amendment; (b) a conspiracy claim
asserted pursuant to 42 U.S.C. § 1985(3); (c) a malicious
prosecution claim under the Fourth Amendment against
the individual Defendants; and (d) state law claims under
the New Jersey Constitution, a state law malicious
prosecution claim, and a claim under NJ LAD for
discrimination, hostile work environment, retaliation, and
constructive discharge. These remaining causes of action
are addressed below.

(a) First Amendment Retaliation Claims

Defendants assert that the First Amendment claims are
untimely because the August 2, 2012, Complaint was
filed more than two years after the alleged violations. The
parties agree that the applicable limitations period for
Plaintiffs’ § 1983 claim is two years. See O’Cannor v.
City of Newark, 440 F.3d 125, 126-27 (3d Cir.2006)
(finding that Section 1983 actions in New Jersey must be
brought “within two years of accrual of the cause of
action.”). The limitations period begins at “the time when
the plaintiff knows or has reason to know of the injury
which is the basis of the § 1983 action.” Genty v.
Resolution Trust Grp., 937 F.2d 899, 919 (3d Cir.1991).

*7 Plaintiffs concede that events before August 2, 2010,
occurred outside the limitations period, but assert that
they remain viable under the “continuing violation
doctrine.” A court may dismiss an untimely claim where
the face of the complaint demonstrates that the continuing
violation doctrine does not apply. See Cowell v. Palmer
Twp., 263 F.3d 286, 295 (3d Cir.2001) (affirming
12(b)(6) dismissal); Budzash v. Howell Twp., 451 F.
App’x 106, 109 (3d Cir.2011) (finding dismissal
warranted where plaintiff invoked the continuing
violation doctrine, but “the complaint facially show[ed]
noncompliance with the limitations period and the
affirmative defense clearly appear[ed] on the face of the
pleading.”).

(1) Application of Continuing Violation Doctrine To

Otherwise Untimely Acts
Plaintiffs Russo and Trout each allege that, during their
employment at the Sheriff's Office, Defendants retaliated
against them for exercising First Amendment rights. They
claim that all conduct from 2007 to 2010 is timely
because “(t]he objectionable conduct began when Trout
was elected in November of 2007 and continued,
unabated, through the end of Trout’s term on December
31, 2010. All of the complained-of conduct is timely
pursuant to the continuing violation doctrine.” (Pls.’

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Opp’n Br, 39). They offer no facts nor legal analysis
beyond this formulaic incantation of the “continuing
violation” legal label.

Under the continuing violation doctrine, “when a
defendant’s conduct is part of a continuing practice, an
action is timely so long as the last act evidencing the
continuing practice falls within the limitations period.”
Brenner v. Local 514, United Bhd. of Carpenters &
Joiners of Am., 927 F.2d 1283, 1295 (3d Cir.1991).
However, the doctrine only applies to a series of “acts
which are not individually actionable but [must] be
aggregated to make out” a claim. O'Connor, 440 F.3d at
127. In other words, the continuing violation doctrine
does not preserve “discrete acts, which are individually
actionable ... [These claims] must be raised within the
applicable limitations period or they will not support a
lawsuit.” /d. at 127 (citing AMTRAK v. Morgan, 536 U.S.
10%, 113, 122 S.Ct. 2061, 153 L.Ed.2d 106 (2002)).
Discrete acts include “termination, failure to promote,
denial of transfer, or refusal to hire.” Morgan, 536 U.S. at
114. These separate events are actionable at the time they
occur and “cannot be resurrected by being aggregated and
labeled continuing violations.” O'Connor, 440 F.3d at
129. On the other hand, incidents “constituting a hostile
work environment are part of one unlawful employment
practice” and may be actionable under the continuing
violation doctrine, although otherwise outside of the
limitations period. Morgan, 536 U.S. at 118.

Every act of retaliation in response to a plaintiffs
exercise of a First Amendment right is a discrete and
individually actionable event. See O'Connor, 440 F.3d at
128 (“[The] rule that individually actionable allegations
cannot be aggregated is of particular import in the context
of First Amendment retaliation claims. First Amendment
retaliation claims are always individually actionable, even
when relatively minor.”). Accordingly, “First Amendment
retaliation claims are not subject to the ‘continuing
violations’ exception to the statute of limitations.” Myers
v. Cnty. of Somerset, $15 F.Supp.2d 492, 501 n. 1
(D.N.J.2007) affd, 293 F. App’x 915 (3d Cir.2008);
Toscana v, Borough of Lavallette, Civ. No. 04-4412,
2006 WL 1867197, at *2 n. 3 (D.N.J. June 30, 2006)
(same). Here, for all of Plaintiffs’ retaliation claims, “each
of the challenged incidents was individually actionable as
a First Amendment retaliation claim when it occurred.”
Livingston v. Borough of McKees Rocks, 223 F. App’x
84, 89, n. 3 (3d Cir.2007). Moreover, a review of the
Amended Complaint shows that all acts of alleged
retaliation occurring between 2007 and August 2, 2010
were discrete events, individually actionable at the time
they occurred. It is apparent from the face of Plaintiffs’
Amended Complaint that these claims have “not been
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brought within the statute of limitations.” Cito v.
Bridgewater Twp. Police Dep't, 892 F.2d 23, 25 (3d
Cir.1989) (internal quotation marks omitted).

*8 Remarkably, when put on notice and given the
opportunity to brief the continuing violation theory,
Plaintiffs offered no legal argument to support the
application of the continuing violation doctrine to their
First Amendment claims and avoid the effect of the
limitations bar. Plaintiffs were given ample notice of
Defendants’ statute of limitations argument and
opportunities to support their invocation of the continuing
violation doctrine with additional factual averrals and
legal analysis, but they have not done so. Plaintiffs have
not genuinely contested that all instances of purported
First Amendment retaliation before August 2, 2010, are
untimely. These claims are dismissed.

(2) Whether Plaintiffs Have Alleged Retaliation Within
the Limitations Period

Plaintiffs contend that several acts of purported retaliation
occurred within the limitations period: on August 12,
2010, Defendant Melick allegedly sent a letter to the
Governor implying that Plaintiff Trout acted “in a manner
that challenged the public’s trust” and asked the Governor
to examine why the County prosecutor had been removed
from investigating Plaintiffs, (Am.Compl.4 119); on
September 7, 2010, Plaintiffs claim that Freeholder
Mennen called for the Freeholders to administratively
review the charges against Plaintiffs after dismissal,
allegedly stating: “This body sat back out of respect ...
[for} the Criminal Justice system ... [but now] it is
incumbent upon the frecholder board to administratively
review the allegations [against Plaintiffs),” (Am.Compl.4
125); on August 2, 2011, during a Freeholders meeting,
unnamed individuals made “derogatory remarks and
comments about Plaintiffs,” revealing personal matters
like family circumstances and insurance programs,
(Am.ComplL-J 127); and that “[t]hroughout ... Trout’s term
as Sherriff [sic], Defendants ... refused to permit access
the Sherriff's [sic] Trust Fund (STF).” (Am.Compl.§
131). For all of these acts, Defendants contend that they
are entitled to qualified immunity.

“To determine in this case whether [Defendants] have lost
their immunity, we must engage in a two step analysis.
First, we must decide ‘whether a constitutional right
would have been violated on the facts alleged’... Second,
if we believe that a constitutional violation did occur, we
must consider whether the right was ‘clearly established.”
” Doe v. Groody, 361 F.3d 232, 237 (3d Cir.2004)
(quoting Saucier v. Katz, 533 U.S. 194, 200, 121 S.Ct.
2151, 150 L.Ed.2d 272 (2001)).

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Tuming to whether Plaintiffs have pled a constitutional
violation on the facts alleged, to state a “retaliation claim
under the First Amendment, a plaintiff must allege: (1)
constitutionally protected conduct, (2) retaliatory action
sufficient to deter a person of ordinary firmness from
exercising his constitutional rights and (3) a causal link
between the constitutionally protected conduct and the
retaliatory action.” Thomas v. Independence Twp., 463
F.3d 285, 296 (3d Cir.2006).

*9 But where the alleged retaliation is speech, the
speaker’s own First Amendment rights impact whether a
plaintiff's retaliation claim is actionable. See, e.g,
Brennan v. Norton, 350 F.3d 399, 419 (3d Cir.2003)
(finding no actionable claim where “alleged retaliatory
acts were criticism, false accusations, or verbal
reprimands”). There is particular concern where a plaintiff
sues a public official, alleging the defendant-official’s
speech constitutes retaliation for the plaintiff's exercise of
her First Amendment Rights: “The nature of the alleged
retaliatory acts has particular significance where the
public official’s acts are in the form of speech. Not only is
there an interest in having public officials fulfill their
duties, a public official’s own First Amendment speech
rights are implicated.” Suarez Corp. Indus. v. McGraw,
202 F.3d 676, 687 (4th Cir.2000); MeLaughlin v. Watson,
271 F.3d 566, 573 (3d Cir.2001} (quoting Suarez, 202
F.3d at 678, in analysis of clearly established law),
Accordingly, “a limitation on the retaliation cause of
action based on [a public official’s) speech is necessary to
balance the [official’s] speech interests with the plaintiff's
speech interests.” Mun. Revenue Servs., fnc. v. McBiain,
347 F. App’x 817, 825 (3d Cir.2009)} (quoting The
Baltimore Sun Co. v. Ehrlich, 437 F.3d 410, 417 (4th
Cir.2006)). The limitation is as follows: “where a public
official’s alleged retaliation is in the nature of speech, in
the absence of a threat, coercion, or intimidation
intimating that punishment, sanction or adverse regulatory
action will imminently follow, such speech does not
adversely affect a [plaintiff's] First Amendment rights,
even if defamatory.” McBlain, 347 F. App’x at 825;
MeLaughiin, 271 F.3d at 573 (quoting Suarez, 202 F.3d at
687).

Plaintiffs here allege that Defendants, public officials,
retaliated against Plaintiffs in the form of speech:
Defendant Freeholder Melick allegedly sent a letter to the
Governor implying that Plaintiffs’ acts “challenged the
public’s trust’; and unidentified Freeholders made
unspecified “derogatory remarks” about Plaintiffs at a
Freeholder meeting. This mere criticism of Plaintiffs
cannot support a First Amendment retaliation claim. See
Monn v. Gettysburg Area Sch, Dist., Civ. No. 12-2085,
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2013 WL 1345501, at *5 (M.D.Pa. Apr. 2, 2013)
(dismissing retaliation claim because “Plaintiffs do not
allege that the School District officials’ criticism and
belitilement included any threat of punishment, of
sanction, or equivalent adverse action.”) aff'd, 553 F.
App’x 120 (3d Cir.2014); Morrison v. City of Reading,
Civ. No. 02-7788, 2007 WL 764034, at *9 (E.D.Pa.
Mar.9, 2007) (“Disparaging comments alone cannot form
the basis for a First Amendment retaliation claim.”),
Instead, the public official’s own First Amendment
speech—criticizing Plaintiff Trout without threat or
coercion—is protected speech that cannot form the basis
of a First Amendment claim, See Citizens for a Better
Lawnside, Inc. v. Bryant, Civ. No. 04-1512, 2007 WL
4547496, at *3 (D.NJ. Dec. 18, 2007) (balancing
plaintiff's First Amendment retaliation claim based on
borough councilman’s criticism of plaintiff with the
councilman’s right to civic dialogue and finding the
speech not actionable absent implicit or explicit threats)
(citing A~Men Sec., inc. v. Pataki, 196 F.3d 56, 68-71 (2d
Cir.1999) (reversing denial of motion to dismiss on
qualified immunity because, in the absence of threats,
intimidation, or coercion, legislators’ “disparaging,
accusatory, or untrue statements about [plaintiff] fail to
state a claim for viclation of [plaintiff's] constitutional
rights”)); Koren v. Noonan, Civ. No. 12-1586, 2013 WL
5508688, at *2 (E.D.Pa, Oct.3, 2013) (‘What Plaintiff
alleges is hardball politics, or at most defamation, not
retaliation as recognized in the case law.”). Even
accepting Plaintiffs’ allegations as true and giving them
the benefit of all favorable inferences, Plaintiffs have pled
no facts—and made no argument—that either of these
acts included “a threat, coercion, or intimidation
intimating that punishment, sanction or adverse regulatory
action will imminently follow.” McLaughlin, 271 F.3d at
573 (reversing denial of motion to dismiss on qualified
immunity).

*10 Plaintiffs also assert that Freeholder Mennen’s call
for an administrative review by the Board constitutes
retaliation. This too is insufficient to state a claim for
retaliation. First, the Amended Complaint does not plead
that Mennen had the authority to initiate an administrative
investigation, instead he is alleged to have urged the
“freeholder board to administratively review the
allegations against Plaintiffs.” (Am.Compl.{ 125).
“(S)trongly urging or influencing, but not ‘coercing’ a
third party to take adverse action affecting a plaintiff's
speech,” does not violate a plaintiff's constitutional rights.
McLaughlin, 271 F.3d at 573 (citing &.C. Maxwell Co. v.
Borough of New Hope, 735 F.2d 85 (3d Cir.1984)).
Second, the Amended Complaint does not plead that any
investigation was approved by the Board at Mennen’s
urging, nor that any administrative investigation ever

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commenced. Third, “[g]enerally, an internal investigation
alone does not constitute” retaliation. Lakkis v. Lahovski,
Civ, No. 12-1024, 2014 WL 346986, at *6 (M.D.Pa. Jan.
30, 2014); see Radolf v. Univ. of Conn., 364 F.Supp.2d
204, 224 (D.Conn.2005) (“[C]ounsel could not cite a
single case in which a court had held that mere
participation in an internal investigation—standing alone,
without allegations of attendant material disadvantage in
employment terms—could support a First Amendment
retaliation claim.”); Afartsolf v. Brown, 2009 WL
3111767, at *4 (M.D.Pa. Dec.15, 2009) (“Plaintiff cannot
persuade the court that mere [internal affairs] inquiry into
the facts pertaining to [a] harassment complaint [filed
against plaintiff] constitules [First Amendment]
Tetaliatory action.”) aff d, 457 F. App’x 167 (3d
Cir.2012); Bibbs v. Twp. of Kearney, 2011 WL 765970, at
*2 (D.N.J. Feb.25, 2011).

Finally, Plaintiffs allege that there is timely conduct
because Defendants’ acts are purportedly “ongoing.”
They plead—without any further factual basis—that the
“retaliatory actions against Plaintiff[s] ... continues to
date,” (Am.Compl.{§ 40, 43). These general terms do not
meet the /gbal pleading standard of stating enough facts
to suggest a plausible claim. Merely alleging the existence
of “ongoing” violations, without any specificity as to
what those violations include, is a legal conclusion that
the Court must disregard. See, e.g., Bailey v. Reed, 29 F.
App’x 874, 875 (3d Cir.2002) (“Although the complaint
contains conclusory assertions of ongoing conduct there
are no factual! references to any events occurring [within
the limitations period], conclusory allegations or legal
conclusions masquerading as factual allegations will not
suffice to prevent a motion to dismiss.”) {internal
quotation marks omitted); Seppick v. Borough of W.
Conshohocken, 118 F. App’x 631, 636 (3d Cir.2004)
(holding that plaintiff's allegation of an “ongoing pattem
of misconduct” does not state a timely violation and
affirming 12(b)(6) dismissai on statute of limitations}.

*11 Other alleged actions, although styled as ongoing, are
in fact untimely. Plaintiffs claim that Defendants refused
to permit access to the Sheriffs Trust Fund throughout
Trout’s term, starting in 2008. (Am.Compl.4 131). In
order to be considered timely, the alleged violation must
be “occasioned by continua! unlawful acts, not continual
ill effects from an original violation.” !Villiams v. City of
Trenton, Civ. No. 11-6352, 2013 WL 3043603, at *4
(D.N.J. June 17, 2013) (quoting Mata v. Anderson, 635
F.3d 1250 (10th Cir.2011)). Here, Plaintiffs have not
alleged any timely acts related to the Trust Fund since
Plaintiffs took office in 2008 and were purportedly denied
access to the Fund—which is beyond the limitations
period. Defendants’ alleged continuing failure to reverse
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their decision about access to the Trust Fund does not
make the act timely. See Cowell v. Palmer Twp., 263 F.3d
286, 293 (3d Cir.2001) (“{T]he Township’s refusal to
remove the [municipal] lien [is not] an affirmative act of a
continuing violation.”); Talbert v. Judiciary of N.J., 420
F. App’x 140, 142 (3d Cir.2011) (finding that continuing
failure to reassign plaintiff after allegedly retaliatory
transfer does not make retaliation timely); Greer v.
Diguglielmo, 348 F. App’x 702, 704 (3d Cir.2009)
(“[A]ny alleged ongoing failure of prison officials to
correct its course following the initial decision to deduct
from Greer’s prison account does not constitute a
continuing violation.”).

Even accepting the facts in the Amended Complaint as
true, none of the purportedly retaliatory conduct—alone
or in combination—is actionable as a matter of law.
Consequently, Plaintiffs have failed to plead a
constitutional violation within the limitations period. To
be clear, the Court does not reach the issue of whether
Defendants’ conduct is too trivial for Plaintiffs to
succeed. That question is beyond the Court's review on a
motion to dismiss. Rather than pass on the merits of
whether Defendants’ conduct was wrongful, the Court is
required to follow the legal rule in this Circuit that an
alleged act of retaliation for a plaintiff's exercise of her
First Amendment rights does not violate the constitution
if it consists solely of another's speech, absent allegations
of threats or coercion. Similarly, where the time limit for
a plaintiff to file a complaint has long since passed, the
Court is obligated to dismiss an action if it is clear that the
plaintiff has failed to meet the deadline,

(3) Whether Plaintiffs’ Speech Was On A Matter Of
Public Concern
Separately and independently, Defendants argue that all
of Plaintiffs’ First Amendment claims fail because
Plaintiffs have not pled any facts to support an inference
that Plaintiffs’ speech was on a “matter of public
concern,”

A lawsuit by a public employee is not protected
speech—and cannot form the basis of a First Amendment
retaliation claim—unless it relates to a matter of “public
concem.” See Borough of Duryea, Pa. v. Guarnieri,
—U.S. -—-, -——, 131 §.Ct. 2488, 2493, 180 L.Ed.2d
408 (2011). Accordingly, if a public employee did not
“sp[eak] as a citizen on a matter of public concern ...
[then] the employee has no First Amendment cause of
action based on his or her employer's reaction to the
speech.” Garcetti v. Ceballos, 547 U.S. 410, 418, 126
S.Ct. 1951, 164 L.Ed.2d 689 (2006) (intemal citations
omitted). Plaintiffs Trout and Russo pled that they sued

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the County during their public employment, and that
Defendants retaliated against each of the Plaintiffs
because of this lawsuit. (Am. Compl. q 20; Pls.’ Opp’n
Br. 25). Trout brought NJ LAD and CEPA claims for
discrimination based on gender and Russo brought an
employment discrimination claim. (/d.). But they did not
assert any facts surrounding these claims; nor did they
allege that the lawsuits involved a matter of public
concer; nor did they piead facts upon which the Court
could possibly infer a matter of public concern.

*12 Plaintiffs’ only argument in response is that
“(mjatters of public concern can include discrimination
complaints.” But to meet Plaintiffs’ obligation to allege
enough facts to raise a reasonable expectation that
discovery will reveal evidence of the necessary element, it
is insufficient to merely plead that “Plaintiffs brought a
discrimination claim.” This Court has given the Plaintiffs
numerous chances to file a factually sufficient set of
pleadings, and they have not done so with respect to this
cause of action and others, The absence of a better
articulated set of factual allegations under these
circumstances means that one does not exist. The Court
cannot infer—solely from Plaintiffs’ employment
discrimination lawsuits and without any underlying
factual averments—that their lawsuits related to a matter
of public concem. Campbell v. W. Pittston Borough, 498
F. App’x 186, 189 (3d Cir.2012) (finding prior age
discrimination lawsuit by public employee, without more,
did not constitute speech on a matter of public concern).
Because “there is nothing in [plaintiff's] Amended
Complaint alleging that her complaints were made with
any larger social purpose, Plaintiff has failed to plead a
matter of public concern and her First Amendment
retaliation claim fails.” Rearick v. Spanier, Civ. No.
11-624, 2012 WL 1514916, at *7 (M.D.Pa. Apr. 30,
2012) aff'd, 523 F. App’x 198 (3d Cir.2013); see Jackson
vy. Dallas Sch. Dist, 954 FSupp.2d 304, 312
(M.D.Pa.2013) (“Plaintiffs complaint contains
conclusory allegations that the speech is ‘constitutionally
protected’ and that it ‘implicated a matter of public
concem’ ,.. These averments are merely legal conclusions
which do not have a presumption of truth, and they can be
disregarded.”).

(b) Conspiracy Claim

Plaintiffs next attempt to revive all of their untimely
claims on the theory that acts undertaken as part of an
illegal conspiracy are actionable so long as the conspiracy
continues. They argue that “plaintiffs filed the complaint
within two years of the final overt act by these
defendants. This overt act should make all previous
conspiratorial conduct timely under the law.” (Pls.’ Opp'n
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Br. 41-42).

In rejecting this argument—that the limitations period
begins to run from the /ast overt act by a conspiracy—the
Third Circuit has held that such a rule would “invite
attempts to revive time-barred injuries by piggy-backing
them onto actions occurring within the relevant period.”
Wells v. Rockefeller, 728 F.2d 209, 217 (3d Cir.1984).
Instead, “[fJor each act causing injury, a claimant must
seek redress within the prescribed limitations period ... In
the civil case, actual injury is the focal point, not the
illegal agreement per se, ...” /d. at 217. To be timely, a
plaintiff must “allege[ ] that the defendants performed
injurious acts in furtherance of the conspiracy within the
limitations period” and may only “recover damages for
the acts that occurred within the limitations period.” If
Penn Allegheny Heaith Sys., Inc. v. UPMC, 627 F.3d 85,
106 (3d Cir.2010) (citing Zenith Radio Corp. v. Hazeltine
Research, Inc. 401 U.S. 321, 338, 91 S.Ct. 795, 28
L.Ed.2d 77 (1971)). Accordingly, the Court examines
only the timely alleged conduct,

*13 To state a claim under § 1985(3), a plaintiff must
allege: “(1) a conspiracy, (2) for the purpose of depriving
.» any person or class of persons of the equal protection of
the laws, or of equal privileges and immunities under the
laws; and (3) an act in furtherance of the conspiracy; (4)
whereby a person is either injured in his person or
property or deprived of any right or privilege of a citizen
of the United States.” United Bhd. of Carpenters &
Joiners v. Scott, 463 U.S. 825, 828-29, 103 S.C. 3352,
77 L.Ed.2d 1049 (1983). Not all illegal conspiracies are
actionable: section 1985 “was not intended to provide a
federal remedy for ‘all tortious, conspiratorial
interferences with the rights of others,’ or to be a ‘general
federal tort law.’ ” Faber v. City of Paterson, 440 F.3d
131, 135 Gd Cir.2006) (quoting Griffin v. Breckenridge,
403 U.S. 88, 101-02, 91 S.Ct. 1790, 29 L.Ed.2d 338
(1971)). Rather, only “invidious” conspiracies are
actionable under § 1985(3). This includes conspiracies
which discriminate on the basis of race, gender, and
disability, Lake v. Arnold, 112 F.3d 682, 686-88 (3d
Cir.1997), but not political affiliation, Farber, 440 F.3d at
138. “[A] plaintiff must allege both that the conspiracy
was motivated by discriminatory animus against an
identifiable class and that the discrimination against the
identifiable class was invidious.” Farber v. City of
Paterson, 440 F.3d 131, 135 (3d Cir.2006). Moreover, the
complaint must specifically allege “that a discriminatory
animus be ‘behind’ the conspirators’ actions. The
conspiracy must be directed at the plaintiff because he
belongs to a given class.” Hauptmann v, Iilentz, 570
F.Supp. 351, 386 (D.N.J.1983). Thus, to allege a
conspiracy against women actionable under § 1985(3), a

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plaintiff must allege a conspiracy with “a purpose that
focuses upon women dy reason of their sex." Bray v.
Alexandria Women's Health Clinic, 506 U.S. 263, 270,
113 S.Ct. 753, 122 L.Ed.2d 34 (1993).

Plaintiffs do not argue that the purported conspiracy was
motivated by an invidious discriminatory animus against
an identifiable class. In response to this Court’s Order that
Plaintiffs’ state a specific “federal constitutional rights
violation ... [and] the asserted factual grounds,” (Docket
No. 54), Plaintiffs explicitly stated that their § 1985(3)
claim was based on a conspiracy motivated to retaliate
against Plaintiffs for their previous lawsuits, not gender,
race, or disability discrimination: “Conspiracy to commit
class-based violations of plaintiffs’ equal protection rights
as follows: 1. Retaliating against Trout for appointing
Russo and Faiat in violation of her equal protection rights
under the 14th Amendment. 2. Retaliating against Trout
and Russo for their prior lawsuits in violation of their free
speech rights under the Ist Amendment.’" (Docket No.
37, at 3 (emphasis added)). But a conspiracy that does not
involve class-based discrimination regarding gender, race,
or disability, but is instead motivated to retaliate against
individuals for bringing a civil lawsuit, is not actionable
under § 1985(3). See Slater v. Susquehanna Cnty., 465 F.
App’x 132, 136 (3d Cir.2012) (affirming dismissal where
plaintiff “failed to allege that the defendants conspired to
retaliate against her because of her gender’ rather than her
“whistle-blowing activities’). Thus, the Court will
“dismiss[ ] [plaintiff's] § 1985(3) conspiracy claim, as
there are no allegations that the alleged conspiracy was
motivated by a class-based, invidiously discriminatory
animus.” Faylor v. Szupper, 411 F. App’x 525, 530 (3d
Cir.2011) (internal quotation marks omitted); Bond v.
Horne, 553 F. App’x 219, 224 (3d Cir.2014) (same).

*14 Moreover, none of the timely acts alleged—Melick’s
letter to the Governor stating that Plaintiff Trout
conducted herself “in a manner that challenged the
public’s trust”; Mennen’s call for an administrative
review; or unnamed individuals’ “derogatory remarks and
comments about Plaintiffs” that purportedly revealed
personal matters like family circumstances and insurance
programs—allege conduct that targets women by reason
of their sex. Rather, as Plaintiffs plead in their Complaint,
the purported conspiracy targeted specific
individuals—one woman and two men—as retaliation for
filing lawsuits against the County. (Am.Compl.4 28) (“It
was the understanding and belief of Plaintiff Trout that
these actions and the actions of the Defendants were in
retaliation for the Plaintiffs Trout and Russe for
previously filing lawsuits against Hunterdon County.”).
There are insufficient facts in the Complaint to plausibly
infer that these acts were directed to women as a class.
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See Bray v. Alexandria Women's Health Clinic, 506 U.S.
263, 270, 113 S.Ct. 753, 122 L.Ed.2d 34 (1993) (holding
that an alleged conspiracy to deprive women of family
planning services did not state an actionable conspiracy
“directed specifically at women as a class” rather than the
subclass of individuals supporting such services); Moffett
v. Bryant, 751 F.3d 323, 326 (Sth Cir.2014) (affirming
dismissal of § 1985 gender discrimination claim because
the alleged “individual bias based upon a personal social
relationship [is] a far cry from class-based discriminatory
animus”); Dornheint v. Sholes, 430 F.3d 919, 925 (8th
Cir.2005) (“[Plaintiffs] have failed to establish that the
defendants’ actions were directed at [plaintiff] because
she was a woman, and the court properly dismissed the §
1985 claim.”).

Separately and independently, the Court finds that the
allegations in the Amended Complaint fall short of
alleging an illegal agreement between two or more
persons, aS necessary to sustain a § 1985 or § 1983
conspiracy claim. “[T]o properly plead an
unconstitutional conspiracy, a plaintiff must assert facts
from which a conspiratorial agreement can be inferred.”
Great IV. Mining & Mineral Co. v. Fox Rothschild LLP,
615 F.3d 159, 178 (3d Cir.2010), “[AJn allegation of
parallel conduct and a bare assertion of conspiracy will
not suffice ... [The allegations} must be placed in a
context that raises a suggestion of a preceding agreement,
not merely parallel conduct that could just as well be
independent action.” Bell At, Corp, v. Twombly, 550 US.
544, 556-57, 127 §.Ct. 1955, 167 L.Ed.2d 929 (2007).

Here, Plaintiffs allege: “The Hunterdon County
Freeholders and the Hunterdon County Counsel, in their
individual and representative capacities, conspired with
the other Defendants, in their individual and
representative capacities, to harass, discriminate and/or
retaliate against Plaintiffs Trout and Russo for exercising
their right under the State and Federal Statutes and Civil
Rights laws.” (Am.Compl.q 41). But as for factual
allegations, Plaintiffs rely solely on “communications”
between the Defendants: “Upon information and belief,
Defendants Rowe, DeFillippis [sic], DeSapio, the
Defendant Freeholders, Yard, Simon, John Does I-20 and
ABC Corporations 1-20 had numerous conversations
concerning Plaintiffs and her appointments in the
Hunterdon County Sheriffs Office.” (Am.Compl.4 61).
‘(FJollowing Twombly and fgbal, [pleading], in the
conspiracy context, require[s] enough factual matter
(taken as true) to suggest that an agreement was made, in
other words, plausible grounds to infer an agreement.”
Great IV. Mining, 615 F.3d at 178 (refusing to consider
conclusory allegation that there was “an agreement”). But
collectively alleging that all twelve Defendants had

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“communications” is insufficient to plead facts from
which an actual agreement can be inferred between any of
the Defendants. See in re Baby Food Antitrust Litig., 166
F.3d 112, 126 (3d Cir.1999) (¢ “{C]ommunications
between competitors do not permit an inference of an
agreement.”}. Plaintiffs fail to connect any action by any
individual Defendant to any other specific individual
Defendant. These bare and sweeping generalizations do
not satisfy the notice requirement of informing each
individual defendant of the factual basis of the acts
charged against them. See Great IV. Mining, 615 F.3d at
178-79; see also Watson vy. Sec'y Pa. Dep't of Corr., 436
F. App’x 131, 137 (3d Cir.2011) (“As the linchpin for
conspiracy is agreement, ... concerted action, without
more, cannot suffice to state a conspiracy claim.”);
Capogrosso v. The Supreme Court of N.J., 588 F.3d 180,
184 (3d Cir.2009) (“The rule is clear that allegations of a
conspiracy must provide some factual basis to support the
existence of the elements of a conspiracy: agreement and
concerted action,”}.

(c) Fourth Amendment Malicious Prosecution Claim
*15 Plaintiffs have asserted a malicious prosecution claim
under the Fourth Amendment, which requires Plaintiffs
plead “that: (1) the defendant initiated a criminal
proceeding; (2) the criminal proceeding ended in
(plaintifPs] favor; (3) the defendant initiated the
proceeding without probable cause; (4) the defendant
acted maliciously or for a purpose other than bringing the
plaintiff to justice; and (5) the plaintiff suffered
deprivation of liberty consistent with the concept of
seizure as a consequence of a legal proceeding.” Jo/inson
v. Knorr, 477 F.3d 75, 8182 (3d Cir.2007).

i. Effect of Grand Jury Indictments Upon Probable Cause
Defendants coniend that Plaintiffs have failed to allege a
lack of probable cause sufficient to overcome the effect of
the grand jury’s indictment of Plaintiffs. (Br. of Defs,’
Rowe & DeFilippis 51-52, Docket No. 63-3). An
essential element of Plaintiffs’ claim is a lack of probable
cause. HWright v. City of Phila. 409 F.3d 595, 604 (3d
Cir.2005). Thus, the “existence of probable cause is an
absolute defense to a malicious prosecution claim brought
either under § 1983 or pursuant to New Jersey law.”
Moore v. Carteret Police Dept., 254 F. App’x 140, 142
(3d Cir.2007). Even where the indictment is later
dismissed, a “grand jury indictment or presentment
constitutes prima facie evidence of probable cause to
prosecute, ..." Camiolo v. State Farm Fire and Cas. Co.,
334 F.3d 345, 363 (3d Cir.2003) (quoting Rose v. Bartle,
871 F.2d 331, 353 (3d Cir.1989)), “[T]his presumption [of
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grand jury regularity] will only be overcome by evidence
that the presentment was procured by fraud, perjury or
other corrupt means.” Ioodyard v. Cnty. of Essex, 514 F.
App’x 177, 183 (3d Cir.2013). “At the pleading stage,
‘this prima facie evidence may be rebutted by allegations
that the presentment was procured by fraud, perjury or
other corrupt means.’ " Palma v. Ari. Cnty., 53 F.Supp.2d
743, 756 (D.N.J.1999) (quoting Rose, 871 F.2d at 353
(holding that, absent allegations of fraud in procuring the
indictment, “we agree with the district court that the
plaintiffs’ allegations are insufficient to survive
dismissal")).

Here, “alli three Plaintiffs were indicted on a total of 43
criminal counts in or around March of 2010.”
(Am.Compl. 187). Nothing in the Amended Complaint
plausibly avers that the indictments against them were
procured by “fraud, perjury, or other corrupt means.” At
most, Plaintiffs plead that Defendants had unauthorized
access to information. (Am. Compl 4) 150(j) (“The ‘false
swearing’ indictment was based in part upon an e-mail
illegally taken from Russo’s computer and provided by
representatives of defendant The County of Hunterdon to
the Hunterdon County Prosecutor’s Office.”); Am.
Compl. {| 86 (“Defendant Rowe apparently did not believe
it was inappropriate to quote the illegally obtained e-mail
in his report ..."); Pls." Opp’n Br. 8 (arguing that
Defendants impermissibly demanded Sheriff's Office
employment records)). Nor does the Amended Complaint
contain any allegations that there was perjured testimony
before the grand jury; that Defendants made false
statements to the prosecutors; that the allegation of
abnormal hiring practices was untrue; that the records
Defendants allegedly provided to prosecutors were
fraudulent; or that witnesses withheld or misrepresented
evidence.’ Instead, they argue only that, “[a]lthough a
grand jury indictment is prima facie evidence of probable
cause to prosecute, when the facts underlying it are
disputed, the issue must be resolved by the jury.” (Pls.’
Opp’n Br. 14). This is not what Jgbal and Twombly
require. Plaintiffs cannot survive a motion to dismiss
simply by saying that the facts underlying a prior criminal
indictment are disputed, as counsel well knows. This is
exactly the type of general statement that first led Judge
Chesler to demand that Plaintiffs articulate precisely their
claims, and then this Court to demand a clear statement of
the bases of the various causes of action.

*16 Under the /gbal pleading standard, the mere legal
conclusion that “there was a lack of probable cause for the
criminal prosecution,” (Am.Compl.  182(q)), is
insufficient to plead malicious prosecution. Plaintiffs’
counsel is an experienced and agile practitioner; the
persistent refusal to articulate a pleading that meets the

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Iqbal standard, despite numerous opportunities to do so,
means that there is no more that can be said to meet the
factual and legal requirements of the cause of action for
malicious prosecution." Instead, Plaintiffs—who were
indicted by a grand jury-must plead facts related to
misconduct before the grand jury to raise a reasonable
expectation that discovery will reveal evidence of the
necessary element. In this case, repeated failure to plead
“fraud, perjury, or other corrupt means” is grounds for
dismissal. Rose, 871 F.2d at 353; see Leone v. Twp. of
Deptford, 616 F.Supp.2d 527, 533  (D.N.J.2009)
(“plaintiffs have not alleged that the presentment to the
grand jury of the evidence to support the criminal
indictments relating to the excessive force incident was
corrupt. Thus, by failing to properly allege a necessary
element of a Fourth Amendment malicious prosecution
claim, plaintiffs have failed to state such a claim, and it
will be dismissed.”); Lora-Rivera v. Drug Enforcement
Admin. Dep't of Justice, 800 F.Supp. 1049, 1052
(D.P.R.1992) (granting motion to dismiss because grand
jury indicted defendants and plaintiffs failed to plead
fraud); Zargari v. United States, Civ. No.13-23806, 2014
WL 1669968, at *5-6 (S.D.Fla. Apr.28, 2014)
(dismissing complaint where plaintiff failed to
“sufficiently allege [defendants] committed fraud,
perjury, or otherwise acted improperly in the acquisition
of [plaintiff's] indictment,”); of Mobilio v. Dep’t of Law
& PubSafety of NJ, Civ, No. 07-3945, 2008 WL
2704826, at *4 (D.N.J. July 7, 2008) (finding allegation in
the complaint that defendant “fabricated and suppressed
evidence in order to obtain an arrest warrant” was
sufficient to state “fraud, perjury, or other corrupt means”
and survive a motion to dismiss). Plaintiffs do not even
plead that the evidence offered to the grand jury was
untrue, much less even attempt to aver any other facts
sufficient to suggest a plausible basis to believe that
discovery will develop a cognizable cause of action for
malicious prosecution. Plaintiffs fail to state facts in the
Amended Complaint sufficient to state a malicious
prosecution claim based on the Fourth Amendment.

2. initiation of Proceedings
Raising a separate challenge, Defendants assert that
Plaintiffs’ malicious prosecution claim should also be
dismissed because Plaintiffs purportedly failed to plead
that Defendants “initiated the criminal proceeding”
against Plaintiffs.

A malicious prosecution claim requires that a defendant
initiate a criminal proceeding, i.¢., “proof that defendant
took ‘some active part in instigating or encouraging the
prosecution’ or ‘advising or assisting another person to
begin the proceeding, or by ratifying it when it is begun in
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defendant’s behalf, or by taking any active part in
directing or aiding the conduct of the case.” ” Epperson v.
Wal-Mart Stores, Inc., 373 N.J.Super. 522, 531, 862 A.2d
1156 (App.Div.2004) (quoting Prosser and Keeton, The
Law of Torts § 119 at 872 (5th ed., 1984)) (internal
alterations omitted)). On the other hand, an allegation that
a defendant merely provided information to prosecutors is
insufficient to plead the “initiated criminal proceedings”
element. See Campbell v. Yeflow Cab Co., 137 F.2d 918,
921 (3d Cir.1943) (finding that identifying plaintiff as the
perpetrator of a crime to police and testifying at trial does
not constitute initiating a criminal proceeding). Thus,
providing information regarding possible criminal
activity—which is insufficient for a claim of malicious
prosecution—is distinguishable from actively
encouraging prosecution or misleading prosecutors, which
may state the “initiated” element. See Griffiths v. CIGNA
Corp., 988 F.2d 457, 464 (3d Cir.!993) ( “[Restatement
of Torts § 653] Comment g distinguishes between
situations in which a private individual files a complaint
or demands a prosecution and those in which he merely
provides information to the police ... in the latter case a
private individual who does not knowingly provide false
information is not responsible for the institution of the
proceedings ...."). Accordingly, “[a] person who tells law
enforcement authorities that he or she thinks that a crime
has been committed and does no more, does not thereby
put him—or herself at risk of liability for malicious
prosecution.” Roitman v. New York City Transit Auth,
215 F.3d 208, 217 (2d Cir.2000).

*17 Plaintiffs rely solely on these specific facts pled in the
Amended Complaint: “[o]ne or more of the defendants
also began leaking Grand Jury information to a local
newspaper”; “defendant Rowe issued the initial subpoena
on Falat to give testimony before the Grand Jury”; the
“indictment was based in part upon an e-mail illegally
taken from Russo’s computer and provided by
representatives of defendant Hunterdon County to the
HCPO”; and “(DJefendants demanded that Trout provide
resumes, organizational charts and job descriptions from
her selection of undersheriffs, investigators and officers.’”
(Pls.” Opp’n Br. 8-9). Corresponding with—or providing
documents to—prosecutors, does not state a claim for
malicious prosecution. See MWiltz v. County of Middlesex
Prosecutor, 249 F. App’x 944, 950, (3d Cir.2007)
(affirming dismissal where allegation that defendant had
submitted invoices to prosecutors was “too minor and too
removed from the prosecution to satisfy the ‘instituted
proceedings’ prong.”); Miller v. City of Boston, 297
F.Supp.2d 361, 367 (D.Mass.2003) (granting 12(b)(6)
motion because defendant, by identifying the plaintiff as
the perpetrator of a crime, did not actively participate as a
matter of law); see also Brenner v. Twp, of Moorestown,

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Civ. No. 09-219, 2011 WL 1882394, at *16 (D.N.J. May
17, 2011) (finding that “calling 9-1-1 to report a
plaintiff's behavior” Livingston v. Borough of McKees
Rocks, because defendant’s “involvement in Plaintiff's
prosecution was relatively inconsequential”). Nor is there
any allegation in the Amended Complaint that any
Defendant “knowingly provided false information to the
prosecutor or otherwise interfered with the prosecutor’s
informed discretion.” [Vhite v. Brommer, 747 F.Supp.2d
447, 459 (E.D.Pa.2010).

Plaintiffs’ contention—that unnamed Defendants
“disclosed, or were involved in the disclosure of
confidential Grand Jury information and/or confidential
investigations by the Hunterdon County Prosecutor’s
Office,” (Am.Compl. 71), and that all twelve Defendants
altempted to “involve prosecutors] in an
investigation”—are conclusory. See Siltz, 249 F. App’x
at 950 (“allegations that the private defendants urged
PARSA to prosecute appellant were wholly
conclusory”). Moreover, it does not set forth facts
indicating that Defendants actively encouraged or
instigated the Plaintiffs’ indictment, nor that they misled
prosecutors into indicting Plaintiffs. Finally, issuing a
grand jury subpoena was part of an investigatory process,
not the commencement of proceedings. See Gallucci v.
Phillips & Jacobs Inc... 13 Pa. D. & C4th 413, 426
(Com.P1.1991) (“The grand jury subpoena was merely an
investigative tool which permitted the FBI to gather
information to determine the necessity for further inquiry
in this matter. [It] in no way instituted criminal
proceedings and does not qualify as formal
prosecutonal action designed to obtain a criminal
conviction.”); Rosen v. Am. Bank of Rolla, 426 Pa.Super.
376, 382, 627 A.2d 190 (1993) (‘The issuance or service
of a subpoena does not constitute the initiation or
commencement of a civil proceeding.”). Defendants’
Participation in an investigation is insufficient
involvement with the proceedings to allege “some active
part in instigating or encouraging the prosecution.” See
Pitt v. DLC., 491 F.3d 494, 505 (D.C.Cir.2007) (finding
defendant’s act of taking witness statements and
investigating an alibi do not rise to the level of instituting
proceedings as a matter of law). As a separate and
independent ground for dismissal, the Amended
Complaint fails to aver facts sufficient to plausibly show
that Defendants herein “initiated the criminal
proceeding,”

*18 Because Plaintiffs had prior notice of the deficiencies
in their complaint from the first round of motions to
dismiss; had opportunities to clarify these deficiencies
through supplemental submissions (see Docket No. 57);
and were previously permitted an amendment to their
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complaint; the Court dismisses Plaintiffs’ federal claims
against the moving Defendants with prejudice.

(d) State Law Claims’

“Supplemental jurisdiction allows federal courts to hear
and decide state-law claims along with federal-law claims
when they are so related to claims in the action within
such original jurisdiction that they form part of the same
case or controversy.” [Visconsin Dept. of Corrections v,

In this case, the Court is dismissing every claim over
which it had original subject matter jurisdiction at the
motion to dismiss stage, and declines to exercise
supplemental jurisdiction over Plaintiffs’ state law claims
pursuant to 28 U.S.C. § 1367(c}(3). The Court remands
all state law claims to New Jersey Superior Court, Hudson
County, Law Division, See Borough of IV. Mifflin v.
Lancaster, 45 F.3d 780, 788 (3d Cir.1995) (“While §
1367(c) does not specify what disposition the district
court is to make of state claims it decides not to hear, ...
we believe that in a case that has been removed from a

Schacht, 524 U.S. 381, 387, 118 S.Ct. 2047, 141 L.Ed.2d state court, a remand to that court is a viable alternative to
364 (1998) (citation and internal quotation marks a dismissal without prejudice.”) (internal citations
omitted). Where a district court has original jurisdiction omitted).

pursuant to 28 U.S.C. § 1331 over federal claims and
supplemental jurisdiction over state claims pursuant to 28
U.S.C, § 1367(a), the district court has discretion to
decline to exercise supplemental jurisdiction if it has
dismissed all claims over which it has original
jurisdiction. 28 U.S.C. § i367(c}(3); Growth Horizons,
inc, v. Delaware County, Pa. 983 F.2d 1277, 1284-85
(3d Cir.1993). In exercising its discretion, “the district
court should take into account generally accepted
principles of ‘judicial economy, convenience, and fairness
to the litigants.’ * Growth Horizons, 983 F.2d at 1284
(quoting United Mine Workers v. Gibbs, 383 U.S. 715,
726, 86 S.Ct. 1130, 16 L.Ed.2d 218 (1966)). Where the
federal claims are dismissed at an early stage in the
litigation, courts generally decline to exercise
supplemental jurisdiction over state claims. Gibbs, 383
U.S. at 726; Growth Horizons, 983 F.2d at 1284-85,

IV. CONCLUSION

For the foregoing reasons, Plaintiffs’ federal claims are
dismissed with prejudice and Plaintiffs’ state law claims
are remanded to New Jersey Superior Court. An
appropriate Order follows.

All Citations

Not Reported in F.Supp.3d, 2014 WL 6611493

Footnotes

1 The Amended Complaint names “Edward DeFillipis.” Elsewhere, this Defendant is referred to as “Edmund DeFilippis” and
“Edward DeFillippis.” The Court will refer to this Defendant as “Edmund DeFilippis,” as used in his motion.

2 These Defendants include: the County of Hunterdon; investigators Kenneth Rowe and Edmund Defilippis; Hunterdon County
Freeholders George Melick, William Mennen, Ronald Sworen, Matthew Holt, Erik Peterson, and Robert Walton (the “Freeholder
Defendants”); and County Administrator Cynthia Yard. Defendant Donna Simon, who organized a 2009 recall campaign against
Sheriff Trout, did not respand to the Complaint; clerk’s entry of default has been entered against her.

3 Separately and independently, Plaintiff Trout’s gender discrimination claim asserted under the Equal Protection Clause is
untimely. Under the Equal Protection Clause, a gender discrimination plaintiff must plead that defendants “treated [Plaintiff]
differently from other individuals similarly situated and did so based upon her gender.” Keenan v. City of Philc., 983 F.2d 459, 465
(3d Cir.1992) (emphasis added). At least one act within the limitations period must evidence a practice of gender discrimination.
See Mandel v. M & Q Packaging Corp., 706 F.3d 157, 165-66 (3d Cir.2013); see also section (b)(1) of this Opinion. None of
Plaintiffs’ timely alleged acts are pled as—or could be construed as—evidencing disparate treatment based on gender,
{Am.CompIl.1) 118-120, 125-127, 129), rather they are pled as generic retaliation based on Plaintiff Trout’s prior lawsuit. “[A]
pure or generic retaliation claim simply does not implicate the Equal Protection Clause.” Thomas v. independence Twp., 463 F.3d
285, 298 n. 6 (3d Cir.2006} (internal alterations omitted).

4 This Court ordered that Plaintiffs state the specific “federal constitutional rights violation ... [and] the asserted factual grounds,”
{Docket No. 54). Nowhere in Plaintiffs’ response did they assert a gender motivated conspiracy in violation of § 1985, nor did
Plaintiffs assert this claim in their opposition briefing, (Pls.’ Opp’n Br. 35-37). Any claim based on a conspiracy motivated by

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gender is deemed abandoned based on Plaintiffs’ failure to assert, legally support, or argue it.

5 Nor does the exhibit Plaintiffs relied upon allege fraud, perjury, or corrupt means, or the absence of probable cause.

& If counsel chooses to proceed with this action in state court upon remand, one hopes that legal analysis will replace these “naked
assertions devoid of further factua! enhancement.”

7 Plaintiffs allege that all twelve Defendants initiated the proceedings “both individually and collectively” against all Plaintiffs.
{Am.Compl.q 180).

& The Court defers to the New Jersey courts regarding the interpretation of Plaintiffs’ state malicious prosecution claim.
Accordingly, the Court does not address whether Plaintiffs’ state law claim is barred for the reasons articulated above under
federal law. For similar reasons, the Court remands Defendants’ intertwined motion to compel production of grand jury
materials, which may be relevant in defending the malicious prosecution claim if the state court determines that the claim
survives.

3 Although entry of default has been filed against Defendant Simon, and Defendant DeSapio did not renew his motion to dismiss,
because the Plaintiffs’ federal claims are facially insufficient, the Court finds good cause to set aside entry of default against
Simon and dismisses the federal claims as against Simon and DeSapio. See Feliz v. Kintock Group, 297 F. App’x 131, 137 (3d
Cir.2008); U.S. ex rel. Dattola v. Nat'l Treasury Emp. Union, 86 F.R.D. 496, 500 n. 11 (W.D.Pa.1980).

 

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EXHIBIT C
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KeyCite Yellow Flag - Negative Treatment
Distinguished by Mrazek v. Stafford Township, D.N.J., May §, 2017

2016 WL 5417193
Only the Westlaw citation is currently available.
NOT FOR PUBLICATION
United States District Court,
D. New Jersey,
Camden Vicinage.

Michae! Killion, et al., Plaintiffs,
v.
Chief John Coffey, et al., Defendants.

Civil No. 13-1808 (RMB/KMW)

Signed 09/27/2016

Attorneys and Law Firms

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Township of Pennsauken.

(Docket Nos. 92, 93]

OPINION

WESTLAW

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BUMB, United States District Judge:

*1 This matter comes before the Court upon two motions
to dismiss the Second Amended Complaint [Docket No.
81]: the Motion to Dismiss filed by Defendants John
Coffey (“Coffey”) and Michael Probasco (‘Probasco’)
[Docket No. 92] and the Motion to Dismiss filed by
Defendants John Figueroa, Ed Growchowski, John Kneib,
Betsy McBride, Rick Taylor (collectively, the “Individual
Defendants”), and the Township of Pennsauken (together
with the Individual Defendants, the “Township
Defendants”) [Docket No. 93]. As Coffey, Probasco, and
the Township Defendants (collectively, the “Defendants”)
explicitly rely on each other’s arguments, the motions will
be addressed jointly. For the reasons set forth below, the
motions to dismiss will be granted with prejudice.

I. FACTUAL AND PROCEDURAL

BACKGROUND'
The underlying facts of this suit are recited in the Court's
previous motion to dismiss opinion issued on November
19, 2015 [Docket No. 77] (the “November 2015
Opinion”). The Court incorporates the facts as set forth in
the November 2015 Opinion by reference to the extent
those facts have been restated in the Second Amended
Complaint. The Court will nevertheless provide an
overview of the relevant factual and procedural
background and will discuss the new allegations included
in the Second Amended Complaint. However, as the
Court writes only for the parties, it assumes the reader’s
familiarity with the facts and recites only those relevant to
the decision herein.

Plaintiffs Michael Killion, Michael Biazzo, Socrates
Kouvatas, Erik Morton, and William Hertline (the
“Plaintiffs”) are five police officers employed by the
Pennsauken Police Department.’ The Plaintiffs are active
members of the Fraternal Order of Police (“FOP 3”), the
union that represents Pennsauken police officers, Second
Amended Complaint § 24 [Docket No. 81] (‘SAC”). They
are all vocal and outspoken supporters of the
implementation of twelve hour shifts at the Pennsauken
Police Department. SAC 4 25. Plaintiff Morton, for
example, joined the FOP 3 executive board in 2007 and
“immediately began to work actively to obtain twelve
hour shifts,” SAC 162.

In 2010 and early 2011, the FOP 3 and the police
administration engaged in contract negotiations regarding
the implementation of tweive hour shifts. Plaintiffs
Killion, Biazzo, and Hertline were members of the FOP 3
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Contractual Negotiation Committee, which was involved
in these negotiations, SAC $] 31, 75, 112. According to
Plaintiffs, Defendant Coffey was “angry with the
negotiation surrounding the twelve hour shifts, and
directly tried to interfere with the appointment of the
members of the negotiation committee.” SAC J 196. The
Second Amended Complaint, however, includes no
allegations of specific instances of such interference.
Plaintiffs allege only that when Plaintiff Hertline was
Tunning a union award banquet, “the Administration
refused to participate in the issuance of joint awards with
the Union as they had in the past.” SAC 7 197. Likewise,
Plaintiffs allege that “[sJince Hertline’s support for the
twelve hour shifts, he has been denied administrative
leave time to attend FOP meetings.” SAC 7 115.

*2 Approximately twelve meetings regarding the twelve
hour shifis took place. SAC { 35. Defendant “Coffey
repeatedly made his opposition to the imposition of
twelve hour shifts known [at these meetings] and, at
times, these meetings became quite heated.” SAC 4 34. In
the Second Amended Complaint, Plaintiffs briefly
describe certain of these meetings. At a meeting on April
12, 2010, Plaintiffs Killion and Biazzo met with Captain
Connors, Lieutenant Nichols, and Defendant Coffey
regarding the adoption of twelve hour shifts. SAC { 28a.
The following week, Defendant Coffey sent Defendant
Growchowski, the Township Administrator, a
memorandum that included questions and concerns
regarding the twelve hour shifts “indicating his opposition
to their implementation.” SAC { 28b. On April 22, 2010,
Biazzo, Killion, Coffey, Growchowski, and Captain
Connor attended another meeting. SAC { 28c. Plaintiffs
do not set forth any allegations regarding the subject
matter of that meeting. On April 28, 2010, Biazzo,
Killion, and Coffey met once again to discuss the twelve
hour shifis. SAC ] 28d.

In February 2011, the Pennsauken police depariment
implemented twelve hour shifts ‘for the rank and file, in
spite of Coffey’s opposition.” SAC 4] 47,

At some point in 2011, certain of the Plaintiffs attended a
union conference regarding their rights during internal
affairs investigations. Defendant Coffey thereafter told
“the Union members that they should not assert their
rights” as taught at the conference. SAC fq 194-95.

On October 11, 2011, Biazzo and Killion once again met
with Defendant Coffey and certain unidentified others,
but the subject matter of the meeting is not pled in the
Second Amended Complaint. SAC  28e. A few months
later, on January 19, 2012, Defendant Coffey wrote a
memorandum “complaining” about the twelve hour shifts,

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to which Biazzo responded on behalf of the FOP 3. SAC
{| 28f, 28g. Shortly thereafter, Killion and Biazzo
attended another meeting during which Defendants
Coffey and Probasco “complained about the shifis and
claimed there were no ‘pros’ about the change.” SAC J
28h. The following week, certain unidentified union
representatives met with Coffey, Probasco, Growchowski,
Captain Connor, and the Public Safety Director.
According to Plaintiffs, at this meeting, “Coffey refused
to agree to any suggestions er recommendations to
address his objections to the shifts.” SAC ] 281. Since the
implementation of the twelve hour shifts, Plaintiff
Kouvatas has “on numerous occasions pointed out that the
problems Coffey has with twelve hours [sic] shifts could
be remedied if the supervisors were also on twelve hour
shifts.” SAC 4 152. But “Coffey has repeatedly scorned
Kouvatas’s input.” SAC { 153.

On May 23, 2012, Coffey and Growchowski, as well as
the Public Safety Director, met with Killion and Biazzo
“to discuss Coffey’s apparently punitive policy changes
since the shifts were implemented.” SAC 4 28]. A few
months later, they met with the Chief Financial Officer to
further discuss Coffey’s purported policy changes, SAC
28k.

In Plaintiffs’ view, “[t}he Defendants have consistently
and systematically retaliated against the Plaintiffs for the
exercise of their First Amendment rights.” SAC 4] 26. For
example, Defendant Probasco has “made numerous
derogatory comments” about Plaintiffs Killion and
Biazzo. SAC {ff 37-40, 56, 78-80. Defendant Coffey no
longer speaks to Plaintiffs and does not even address them
when they pass each other in the hall. See, e.g., SAC Ff
64-65, 99, 130, 132, 155, 173-74.

Shortly after he became a Pennsauken police officer in
2001, Plaintiff Kouvatas “began to research the efficiency
of twelve hour shifts” and “authored a position paper” in
support of their implementation. SAC 4 143-45. A short
time after he submitted the paper, Plaintiff Kouvatas
“began to be harassed at work.” SAC © £48, Plaintiffs
allege that “[o]ne supervisor routinely yelled and used
obscenities to Kouvatas whenever the subject of twelve
hour shifis came up.” SAC 7 149.

In 2008, Plaintiff Morton’s permission to take a day off
was revoked, causing him to file a grievance. Defendant
Coffey denied the grievance and made the denial
available for the entire Police Department to see. SAC J
166. Shortly thereafter, Coffey demanded that Morton
write memoranda to explain log entries and other “minor
issues.” SAC { 167. At some unspecified point thereafier,
Morton requested a transfer to another Township because
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“[t]hings became so unpleasant,” but Coffey denied the
transfer. SAC J 169.

*3 Months after the implementation of the twelve hour
shifis in 2011, Plaintiffs Killion, Biazzo, Hertline, and
Kouvatas were involved in an altercation at Pinsetters
Bowling Alley and Bar (the “Pinsetters Incident”). SAC 4]
52. In the aftermath of the Pinsetters Incident, “Coffey
ordered that no interviews be conducted and hand typed
hundreds of questions directed to the officers.” SAC 4 53.
Killion, Biazzo, Hertline, and Kouvatas were charged and
disciplined as a result of the Pinsetters Incident. SAC {J
81, 115, 118, 15433

Plaintiffs claim that “[t]he way the discipline is served is
retaliatory as well.” SAC { 68. For example, Plaintiffs
contend that the investigation into the Pinsetters Incident
“targeted only Union members who supported twelve
hour shifts; and others whe took the exact same actions,
or inactions, but did not vocally support the twelve hour
shifts, were not disciplined.” SAC 54. Furthermore,
Plaintiffs allege that “[i]f suspended, officers who were
not proponents of the twelve hour shifts are afforded the
opportunity to work during their suspension with a
percentage of their regular pay withheld. This is not the
case for those disciplined who were active proponents of
the twelve hour shifts.” SAC § 69. Biazzo, for example,
was not permitted to work during his suspension after the
Pinsetters Incident with a percentage of his regular pay
withheld, while “officers who were not vocal proponents
of the twelve hour shifts” were permitted to do so. SAC
82.

At some point after the twelve hour shifis were
implemented in February 2011, Defendant Coffey
changed Plaintiff Killion’s daily lineup and assigned him
to a less attractive district. SAC 50. Then, in September
2011, Killion was removed from the Traffic Division.
SAC 451.

In January 2012, Defendant Coffey wrote a memorandum
to Defendant Growchowski and the Township Committee
regarding Plaintiff Killion’s use of sick time. Killion had
not been notified that he was under investigation for his
use of sick time and he ultimately received a written
reprimand on March 15, 2012. SAC 9] 55, 57.

On March 17, 2012, Plaintiff Biazzo received a
disciplinary notice regarding his involvement in an
off-duty incident at Bryson’s Pub. SAC J 84. As a result,
he was suspended with pay. SAC { 88. According to
Plaintiffs, however, other officers who were also involved
only received letters of reprimand, SAC 4 85.

On May 24, 2012, Plaintiff Killion received another
written reprimand relating to an on-duty motor vehicle
accident and was transferred to the nightshift by
Defendant Coffey. SAC {| 58-62. In September 2012,
Plaintiff Morton was disciplined by Coffey for failing to
report for light duty. SAC 4 170-71. On August 20, 2013,
Killion was disciplined again for abuse of sick time and
insubordination. SAC { 63. Then in September 2013,
Defendant Probasco ordered that Plaintiff Hertline “be
given a letter of counseling for a report which had been
approved by his supervisor and which was in accordance
with recent mandatory training.” SAC 4 129. Two months
later, Plaintiff Biazzo was also disciplined for failure to
timely pay his country club dues in 2010 and 2013. SAC
164, Then, on May 12, 2014, Plaintiff Kouvatas was
served with a disciplinary notice “from an event which
occurred more than a year prior.” SAC 7 157. On July 27,
2015, while Biazzo was working a road detail, Probasco
made an announcement over the police radio that
“sugpest[ed] [Biazzo] was involved in a domestic
violence incident on the street.” SAC ] 106.

*4 Plaintiffs allege that the Township Defendants were
aware of their concerns regarding retaliation against them
due to their support for the implementation of twelve hour
shifts. SAC J 175. For example, on two occasions,
Barbara Hertline, Plaintiff Hertline’s wife, wrote to
Defendant Taylor and the members of the Township
Committee regarding Coffey’s “apparent retaliation
against officers since the implementation of twelve hour
shifts,” but received no response. SAC J] 176, 179. She
later addressed the Township Committee in a public
meeting. SAC { 180. Plaintiffs’ counsel also “inform[ed]
the Committee of what [Plaintiffs] believed was Coffey’s
policy of discriminating against supporters of twelve hour
shifts.” SAC 4177. A few months later, Coffey informed
Ms. Hertline that an internal affairs investigation would
be initiated, but no action was ever taken. SAC Jf] 181-82.

On March 22, 2013, the original seven plaintiffs filed this
lawsuit against Chief Coffey, Lieutenant Probasco, the
Township of Pennsauken, each of the Township
Committee’s members, and the Township Administrator,
Ed Growchowski, alleging that the Defendants unlawfully
retaliated against them for exercising their First
Amendment rights and that the Growchowski and the
Township Committee members failed to investigate their
allegations of unlawful retaliation? On November 19,
2015, the Court dismissed Plaintiffs’ First Amended
Complaint [Docket No. 27], upon Defendants’ motions,
without prejudice and granted Plaintiffs a final
opportunity to amend their pleadings within twenty-one
days [Docket Nos. 77, 78].
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On January 11, 2016, the Plaintiffs filed the Second
Amended Complaint. The Second Amended Complaint
no longer names Deputy Mayor Jack Killion as a
defendant and sets forth four claims: (1) retaliation in
violation of Plaintiffs’ right to freedom of speech under
the First Amendment to the United States Constitution, in
violation of Section 1983 (Count 1); (2) retaliation in
violation of Plaintiffs’ right to freedom of association
under the First Amendment, in violation of Section 1983
(Count II); (3) violation of the New Jersey Civil Rights
Act (Count IIT); and (4) a punitive damages claim (Count
IV). Defendants have moved to dismiss the Second
Amended Complaint.

Il. MOTION TO DISMISS STANDARD

To withstand a motion to dismiss under Federal Rule of
Civil Procedure 12(b)(6), “a complaint must contain
sufficient factual matter, accepted as true, to ‘state a claim
to relief that is plausible on its face.’ " Asherofi v. Igbal,
256 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v.
Twombly, 550 U.S, 544, 570 (2007}), “A claim has facial
plausibility when the plaintiff pleads factual content that
allows the court to draw the reasonable inference that the
defendant is liable for the misconduct alleged.” Id. at 663.
“[AJn unadorned, the-defendant-unlawfully-harmed-me
accusation” does not suffice to survive a motion to
dismiss. Id. at 678. “[A] plaintiff's obligation to provide
the ‘grounds’ of his ‘entitle[ment] to relief? requires more
than labels and conclusions, and a formulaic recitation of
the elements of a cause of action will not do.” Twvombiy,
550 U.S. at 555 (quoting Papasan v, Allain, 478 U.S. 265,
286 (1986)).

*§ In reviewing a plaintiffs allegations, a district court
should conduct a three-part analysis:

First, the court must take note of
the elements a plaintiff must plead
to state a claim. Second, the court
should identify allegations that,
because they are no more than
conclusions, are not entitled to the
assumption of truth. Third, when
there are well-pleaded factual
allegations, a court should assume
their veracity and then determine
whether they plausibly give rise to
an entitlement for relief.

Malleus v. George, 641 F.3d 560, 563 (3d Cir. 2011)
{internal citations, quotations, and alterations omitted)

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(quoting /gbal, 556 U.S. at 675, 679).

Rule 12(b)(6) requires the district court to “accept as true
all well-pled factual allegations as well as all reasonable
inferences that can be drawn from them, and construe
those allegations in the light most favorable to the
plaintiff.” Bistrian v, Levi, 696 F.3d 352, 358 n. 1 (3d Cir.
2012), Only the allegations in the complaint and “matters
of public record, orders, exhibits attached to the complaint
and items appearing in the record of the case” are taken
into consideration. Oshiver v. Levin, Fishbein, Sedran &
Berman, 38 F.3d 1380, 1384 n. 2 (3d Cir. 1994) (citing
Chester County Intermediate Unit v. Pennsylvania Blue
Shield, 896 F.2d 808, 812 (3d Cir. 1990)).

WI. LEGAL ANALYSIS

A. Section 1983 Claims

Plaintiffs assert two claims under Section 1983 of the
Civil Rights Act, alleging retaliation in violation of
Plaintiffs’ First Amendment rights to freedom of speech
(Count I) and freedom of association (Count II). Plaintiffs
also bring a claim under the New Jersey Civil Rights Act,
alleging similar violations (Count III}. “This district has
repeatedly interpreted [the New Jersey Civil Rights Act]
analogously to § 1983.” Pertit vy. New Jersey, 2011 WL
1325614, at *3 (D.N.J. Mar. 30, 2011) (collecting cases);
accord Borden v, Sch, Dist. Of Twp. Of E. Brunswick, 523
F.3d 153, 164 n. 5 (3d Cir. 2008). Accordingly, the Court
will consider Plaintiffs’ New Jersey Civil Rights claim
together with the claims under Section 1983.

 

To state a retaliation claim under Section 1983 for
violation of the right to freedom of speech, the Plaintiffs
must allege facis showing: (1) constitutionally protected
conduct, (2) retaliatory action sufficient to deter a person
of ordinary firmness from exercising his constitutional
rights, and (3) a causal link between the constitutionally
protected conduct and the retaliatory action. Thomas v.
Independence Twp., 463 F.3d 285, 296 (3d Cir. 2006).
Similarly, to allege a Section 1983 retaliation claim for
violation of the freedom of association, Plaintiffs ‘must
show that they were engaged in constitutionally protected
conduct, which conduct was a ‘substantial’ or ‘motivating
factor’ in the government employer’s [adverse
employment] decision.” Rode v. Dellarciprete, 845 F.2d
1195, 1204 (3d Cir. 1988) (citing Mt. Healthy City Sch.
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Dist. Bd. of Educ. v. Doyle, 429 U.S. 274, 287 (1977)). As
the claims share the same elements, the Court will address
the freedom of speech and freedom of association claims
together, as appropriate.

i. Constitutionally Protected Conduct

*6 Public employees, including police officers, “do not
surrender all their First Amendment rights by reason of
their employment. Rather, the First Amendment protects a
public employee's right, in certain circumstances, to
speak as a citizen addressing matters of public concer.”
Garcetti v. Ceballos, 547 U.S. 410, 418 (2006). The Court
will first address the degree to which the requisite
showings for constitutionally protected conduct may vary
between Plaintiffs’ two First Amendment claims.
Generally, to establish that Plaintiffs have engaged in
constitutionally protected conduct, Plaintiffs must allege
(1) that they acted or spoke as private citizens, as opposed
to pursuant to their official duties, regarding (2) a matter
of public concern, and (3) that the police administration
did not have an adequate justification for treating them
differently from any other member of the general public
as a result of their conduct. Hill v. Borough of Kutztown,
455 F.3d 225, 241-42 (3d Cir. 2006) (citing Garcetti, 547
U.S. at 417).

Plaintiffs contend that the Court need not engage in the
Garcetti analysis described above for either of its First
Amendment claims because “[uJnion activity is per se
protected conduct.” Pls. Opp. Br. at 12-13. In Plaintiffs’
view, since the implementation of twelve hour shifts was
an issue presented in the negotiations between the union
and the police administration, it is per se a matter of
public concern. Id. at 13 (citing Crane v. Yurick, 287 F.
Supp. 2d 553, 560 (D.N.J. 2003)).

The Court begins with the freedom of association claim.
There is a split between the federal Circuits as to whether
the public concern requirement applies to First
Amendment freedom of association retaliation claims.
The Third Circuit has not yet definitively decided the
question. See LaPosta v. Borough of Roseland, 309
Fed. Appx. 598, 603 (3d Cir. 2009) (recognizing that it “is
an open question in this Circuit” “as to whether the public
concem requirement applies equally to free association
claims”); Sanguigni v. Pittsburgh Bd. of Pub. Educ,, 968
F.2d 393, 400 (3d Cir. 1992) (recognizing Circuit split on
this issue, but declining to decide the question).*

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*7 The Third Circuit has, however, repeatedly applied the
public concern requirement to freedom of association
claims that are closely linked to or mere extensions of
freedom of speech claims. For example, the Third Circuit
in Bell _v. City of Philadelphia expressed that, it has “no
problem applying the public concern requirement" where
the plaintiffs “associational claim is barely an extension
of his free speech claim.” 275 Fed.Appx. 157, 160 (3d
Cir. 2008) (citing Sanguigni, 968 F.2d at 400; Dible v.
City of Chandler, 502 F.3d 1040, 1050 (9th Cir, 2007)
(finding that public employee cannot “resurrect fallen
speech claims as privacy and associational claims”)).

Likewise, in Sanguigni, the Third Circuit held that, while
it was not “necessary to confront the issue whether
Connick [and, therefore, the public concem requirement]
generally applies to claims involving the freedom of
association,” it would apply the requirement in the case
before it because the plaintiff's “associational claim was
‘based on speech’ and did not implicate associational
rights ‘to any significantly greater degree’ than the speech
at issue in the seminal Supreme Court free speech case
that gave rise to the public concern requirement.” Id.
(citing Connick v. Myers, 461 U.S. 138 (1983)); see also
Gorum v. Sessoms, 561 F.3d 179, 185 (3d Cir, 2009)
(noting that plaintiff's “associational claim is linked
closely enough with his free-speech claim to justify
application of the citizen-speech and public-concern
requirements.”); Beresford v. Wall Twp. Bd. of Educ.,
2010 WL 445684, at *7 (D.N.J. Feb. 3, 2010) (applying
public concern requirement to freedom of association
claim, reasoning that “Plaintiff's freedom of association
claim mirrors his freedom of speech claim in that it relates
to the same union speech and attendant circumstances.”).

 

 

Here, the Defendants argue that “[i]n an attempt to get a
second bite at the apple,” Plaintiffs “repackage [their]
freedom of speech claims as freedom of association
claims.” Coffey Br. at 23. The Court agrees. For example,
Plaintiffs’ freedom of speech claim comprises the first
191 paragraphs of the Second Amended Complaint. The
freedom of association adds a mere seven paragraphs, two
of which are bare-boned conclusions. See SAC Jf 198-99.
As will be discussed in further detail below, the remaining
allegations do not support a claim for freedom of
association. The core of Plaintiffs’ freedom of association
claim is the same as the freedom speech claim, namely
that Plaintiffs were retaliated against for supporting the
implementation of twelve hour shifts. In fact, Plaintiffs
readily concede that they “were not involved in
organizing a union” and instead argue that their advocacy
for twelve hour shifts is union activity that merits
unconditional protection as association. Pls. Opp. Br. at
16.
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In the end, the Second Amended Complaint and the
Plaintiffs’ opposition brief make clear that the two claims
are closely linked and mirror each other. Accordingly, the
Court finds that Plaintiffs’ freedom of association claim is
“barely an extension” of their freedom of speech claim
and, therefore, the Court has “no problem applying the
public concern requirement in this context.” See Be//, 275
Fed.Appx. at 160. The Court will evaluate the claims
together, as appropriate, and will apply the public concern
requirement.

The Court also rejects Plaintiffs’ contention that they are
excused from pleading these elements to establish even
their freedom of speech claim because, in their view, all
union activity is per se protected conduct. For this
proposition, as the Court noted above, Plaintiffs rely upon
Crane, 287 F. Supp. 2d at 560. Crane, however, is
distinguishable. Crane involved speech regarding a
union’s negotiation of a new collective bargaining
agreement and the defendant's interception and reading of
a sealed letter regarding the agreement. Judge Irenas
found that this speech and conduct was protected because
it “directly implicates one of the most recognized First
Amendment protections—union-related speech.” 87 F.
Supp. 2d at 560. As such, this speech and conduct, which
interfered with union contract negotiations and union
organization efforts, was “clearly a matter of public
concern.” Id. The defendant in Crane actually interfered
with the union’s ability to organize and communicate.
There are no well-pled allegations of similar conduct in
the Second Amended Complaint. The Plaintiffs’ speech in
support of twelve hours shifts may have been an issue that
the FOP 3 supported, but it was not in and of itself
“union-related speech.”

 

*8 It bears noting that constitutional protection is not
automatically granted to all speech and conduct by union
members. Thomas _v. Delaware State Univ., 626
Fed. Appx. 384, 388 (3d Cir, 2015) (“While it is true that
union activities may sometimes touch on a matter of
public concem, ... it is not the case that all union-related
grievances do[.] [Plaintiffs] grievances related to
‘working conditions and other issues in union members’
employment’ and [Plaintiff] offers nothing that would
transform those personnel matters into issues of interest to
the broader community.”).

Instead, courts generally engage in the aforementioned
analysis to determine whether speech by union members
is protected activity. For example, in Beresford, 2010 WL
445684, at *6, the court found that a union president’s
speech regarding raises, sick days, and overtime during
union contract negotiations was not protected speech. The

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Beresford court reasoned that:

First, Plaintiff was not acting as a private citizen when
engaging in speech as a public employee and President
of the WITA union because such speech was performed
while Plaintiff was in his official capacity as negotiator
of his union. Second, Plaintiff was not speaking on a
matter of public concem as his speech did not relate to
‘any matter of political, social or other concern to the
community.’ In fact, Beresford’s speech involved his
own personal demands and complaints in addition to
the grievances of a few members of his WITA union.
Plaintiff admits that his contractual negotiations were
related to his and the WITA members’ employment,
raises, sick days and overtime... Although
union-related speech is generally a matter of public
concer, the union-related speech in this case does not
rise to such a level as it relates only to the employee's
generalized personal grievances and gain. Additionally,
the speech was not engaged in with the purpose of
informing the public that the government discharged its
responsibilities or of bringing to light the government's
breach of public trust. Without a finding that Plaintiff's
speech was a matter of public concern and engaged in
as a private citizen, the first prong for a violation of
Plaintiff's First Amendment’s right of freedom of
speech is not satisfied.

Beresford, 2010 WL 445684, at *6; see also Hill v. City
Of Philadelphia, 33\ Fed. Appx. 138, 142 (3d Cir. 2009)
{affirming district court's determination that plaintiff did
not engage in protected speech because he “did not show
that he was acting as a citizen in his union representation

or that the speech he engaged in during that
representation was a matter of public concern,”); Lee v.
the Cty. of Passaic, 2011 WL 3159130, at *4 (D.N.J. July
26, 2011) (finding that plaintiff did not engage in
protected activity because, “[a]lthough these comments
were made in connection to negotiations with the Union,
concerns over personal salaries and benefits cannot be
said to ‘relat{e] to another matter of political, social, or
other concern to the community.’ ") (quoting Connick,
461 U.S. at 146).

Accordingly, the Court rejects Plaintiffs’ position that all
union-related speech is per se protected activity and will
proceed with the Garcetti analysis described above to
assess whether Plaintiffs engaged in constitutionally
protected activity.

 

To determine whether a matter is of public concem,
courts consider whether “it is important to the process of
self-governance that communications on this topic, in this
form and in this context, take place.” Zelinski v. Penn.
State Police, 108 Fed.Appx. 700, 707 (3d Cir. 2004).
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“Speech involves matters of public concern ‘when it can
be fairly considered as relating to any matter of political,
social, or other concern to the community,’ or when it ‘is
a subject of legitimate news interest; that is, a subject of
general interest and of value and concern to the public.’ ”
Lane v. Franks, 134 8. Ct, 2369, 2380 (2014) (quoting
Snyder v. Phelps, 562 U.S. 443, 444 (2011)). “The inquiry
turns on the ‘content, form, and context’ of the speech.”
Id. (quoting Connick, 461 U.S. at 147-48).

*9 A public employee’s speech regarding a matter of
public concern is only protected, however, if the
employee spoke as a private citizen, rather than pursuant
to their official duties. Gorum, 561 F.3d at 185. In
evaluating whether a police officer spoke as a private
citizen, courts consider “whether the speech fell within
the individual’s job duties, whether it was related to
special knowledge or experience acquired on the job,
whether it was made inside or outside the work place, and
whether it concerned the job’s subject matter.” Houston v.
Twp. of Randolph, 2013 WL 192579, at *11 (D.N.J.
Mar. 21, 2013); accord Gorum, 561 F.3d at 185-86
(holding that professor's advocacy on behalf of student in
disciplinary proceedings was pursuant to his official
duties because it was only due to his “special knowledge
of, and experience with, the [school’s] disciplinary code”
and his position as a faculty member that he could assist
the student in the first place).

 

(a) Speech or Conduct

In its November 2015 Opinion, this Court found that “the
Plaintiffs have neglected to identify what [they] actually
did or said to display their support of the twelve hours
shifts” and, therefore, that the First Amended Complaint
failed to properly allege constitutionally protected
conduct. November 2015 Opinion at 24-25,

The Court once again reiterates that “[p]laintiffs in First
Amendment retaliation cases can sustain their burden of
proof only if their conduct was constitutionally protected,
and, therefore, only if there actually was conduct.”
Ambrose v. Twp. of Robinson, Pa., 303 F.3d 488, 495 (3d
Cir. 2002) (emphasis in original); accord Berkery v.
Wissahickon Sch. Dist. Bd. of Directors, 628 Fed.Appx.
109, 112 (3d Cir. 2015) {affirmmg dismissal of First
Amendment retaliation claim where plaintiff “does not
specify what speech of hers caused her suspension”);
Fogarty v. Boles, 121 F.3d 886, 891 (3d Cir, 2002) (the
absence of speech ... is fatal to the plaintiff's [First

 

 

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Amendment retaliation] claim”),

In the Second Amended Complaint, Plaintiffs attempt to
remedy this deficiency by alleging that Plaintiffs Biazzo
and Killion participated in meetings in 2010, 2011, and
2012 with Defendant Coffey and others regarding the
implementation of twelve hour shifts. SAC {J 28, 35.
Plaintiffs, however, do not set forth any allegations
regarding their conduct or speech at these meetings. The
Second Amended Complaint also alleges that Plaintiff
Biazzo responded to a memorandum from Defendant
Coffey, but does not set forth the substance or contents of
his response. SAC J 28g.

The Court remains unable to assess the nature of these
two Plaintiffs’ alleged support for twelve hour shifts from
these sparse allegations regarding their participation in
contract negotiations. The Plaintiffs have chosen to
elaborate on Defendant Coffey’s views and actions,
stating, for example, that he “indicat [ed] his opposition to
their implementation,” that he “complain[ed] about the
shifts,” and “claimed that there were no ‘pros’ about the
change.” SAC 4f 28b, 28f, 28h, rather than describe what
Plaintiffs said or did. The Court agrees with the
Defendants that Coffey’s “conduct has no impact on
Plaintiffs’ obligation to identify what they did or said.”
Defendants Coffey and Probasco Brief (“Coffey Br.”) at 7
(Docket No. 92-3] (emphasis in original).

The allegations set forth only that Killion and Biazzo
attended the meetings as members of the FOP 3
negotiating committee and that twelve hour shifts were
discussed, leaving the Court to speculate as to the form
and content of Plaintiffs’ speech or conduct. Additionally,
mere “[m]embership in a union ‘negotiating team’ does
not constitute conduct protected by the First Amendment”
and “statements made by a public employee carrying out
official duties, including negotiating terms of
employment, are not entitled to First Amendment
protection.” Garvey v. Barnegat Bd. of Educ., 2008 WL
2902617, at *6 (D.N.J. July 24, 2008) (citing Garcetti,
547 U.S. at 421).

*10 As for Plaintiff Kouvatas, the Second Amended
Complaint now alleges that “[hJe has on numerous
occasions pointed out that the problems Coffey has with
twelve hour shifts could be remedied if the supervisors
were also on twelve hour shifts.” SAC 152. This is
hkewise inadequate to save the Second Amended
Complaint. This allegation suffers from the same
infirmities previously identified by the Court, namely that
it fails to identify with even a minimal degree of
specificity when the speech occurred. The Court remains
unable to assess the relevance of this activity to Plaintiffs’
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First Amendment claims. See November 2015 Opinion at
31. Additionally, it is merely a repackaging of an
allegation in the First Amended Complaint, which pleads
that “[v]irtually ... every one of (Coffey’s] problems [with
the twelve hour shifts] could be resolved if the
supervisors reported on the same twelve hour schedule,”
Amended Complaint { 135.

The Second Amended Complaint continues to allege that
in or around 2001 and 2007, Plaintiff Kouvatas authored a
position paper regarding the benefits of twelve hour
shifts, which he circulated among his peers. The Court
reiterates that “[g]iven the many years that passed
between the publication of Plaintiff Kouvatas’s position
paper and the first actionable acts of alleged retaliation,
(these allegations] cannot support a First Amendment
retaliation claim.”” November 2015 Opinion at 26,

Notably, the Second Amended Complaint sets forth no
well-pled allegations of speech or conduct on the part of
Plaintiffs Hertline and Morton. The amended pleadings
contain no allegations of protected activity by Plaintiff
Heriline, other than the bald statement that he “remains an
active and vocal proponent of the twelve hour shift," SAC
{| 113, which the Court has already found to be
insufficient. See November 2015 Opinion at 25, As for
Plaintiff Morton, Plaintiffs allege only that he “served on
the Executive Board of FOP Lodge 3 beginning in 2007”
and that “{h]e immediately began to work actively to
obtain twelve hour shifts.” SAC § 162. This, too, is
insufficient to establish the required element of protected
activity. Moreover, even if it could satisfy this element, as
discussed further below, any protected activity that
occurred in 2007 cannot support a timely First
Amendment claim in light of the causation element,

Plaintiffs have also added a handful of allegations
purporting to set forth union organizing efforts to support
their freedom of association claim. These, too, have not
been adequately pled. Rather, Plaintiffs set forth only
conclusory allegations that are merely “unadorned,
the-defendant-unlawfully-harmed-me accusation[s].”
Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 555).
Such allegations cannot withstand a motion to dismiss. Id.
(“Nor does a complaint suffice if it tenders ‘naked
assertion[s]’ devoid of ‘further factual enhancement.’ ”)
(quoting Twombly, 550 U.S. at $57).

For example, Plaintiffs baldly allege that Plaintiff Hertline
“has been denied administrative leave time to attend FOP
meetings,” SAC § 116, without any “further factual
enhancement,” as required by Iqbal and Twombly, such
as pleading when or by whom or why. Likewise, the
Second Amended Complaint alleges that certain of the

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Plaintiffs attended a FOP conference on officers’ rights
during internal affairs investigations and that when
unidentified union members, at some unspecified time,
“insist[ed] on following proper due process and asserting
their rights,” Defendant Coffey became enraged. SAC 9%
193-95. Plaintiffs additionally claim that Coffey “directly
tried to intervene with the appointment of the members of
the negotiating committee,” yet fail to disclose when or
how this occurred. SAC { 196. Finally, Plaintiffs claim
that Hertline ran a union banquet on some undisclosed
date, but that the police “[a]dministration refused to
participate in the issuance of joint awards." SAC ¥ 197.
The Court agrees with the Defendants that “[n]Jot only is
there no indication when this occurred, but running an
event does not rise to the level of constitutional
protection.” Coffey Br. at 24. For the reasons articulated
by the Court above and in the November 2015 Opinion,
the lack of specificity as to the form, timing, content, and
context of any potentially protected speech or conduct is
fatal to Plaintiffs’ claims.

*11 For the foregoing reasons, the Court once again finds
that Plaintiffs’ First Amendment claims must fail, as they
have failed to adequately plead conduct that allegedly
resulted in retaliation.

(b) Private Citizen

In any case, even if any of the amended pleadings could
be considered well-pled allegations of conduct, Plaintiffs
have failed to adequately plead that they were speaking or
acting as private citizens, as opposed to pursuant to their
official duties. This, too, is fatal to their claims, Plaintiffs
claim that “[ijt is not part of the police officer’s job to
participate in the Union, negotiate a contract, or save
municipality money or avoid layoffs of police officers.”
Pls. Opp. Br. at 17. Accordingly, Plaintiffs argue, their
speech was protected because “[nJone of these things
were part of the Plaintiffs’ job duties.” Id. at 18, The
Court is not persuaded by Plaintiffs’ argument.

“The proper inquiry is a practical one. Formal job
descriptions often bear little resemblance to the duties an
employee actually is expected to perform.” Garcetti, 547
U.S, at 424-25, Accordingly, “a claimant’s speech might
be considered part of his official duties if it relates to
‘special knowledge’ or ‘experience’ acquired through his
Job.” Gorum, 561 F.3d at 185. Plaintiffs’ membership in
the FOP 3 alone does not indicate that they were speaking
as private citizens.
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Rather, to the extent that Plaintiffs spoke or acted
regarding a matter of public concern, Plaintiffs did so to
advance their positions as police officers. Plaintiffs were
able and eager to advocate for the implementation of
twelve hour shifts precisely because of their employment
as police officers and the special knowledge and
experience acquired through that employment.
Accordingly, the Court finds that Plaintiffs have failed to
allege that they were speaking as private citizens. See id.
at 185-86; see_also Beresford, 2010 WL 45684, at *6
{Plaintiff was not acting as a private citizen when
engaging in speech as a public employee and President of
the WITA union because such speech was performed
while Plaintiff was in his official capacity as negotiator
for his union.”); Hill v. City of Philadelphia, 2008 WL
2622907, at *6 (E.D. Pa. June 30, 2008), aff'd, 331
Fed.Appx. 138 (3d Cir. 2009) (“Any activity or related
speech which allegedly led to retaliation against [plaintiff]
was conducted pursuant to his official duties as a union
delegate acting on behalf of employees of a municipal
agency, and not as a citizen.”).

(c} Matter of Public Concern

In its November 2015 Opinion, “this Court question[ed],
without making any determinations at th[at] juncture,
whether support for the implementation of twelve hour
shifts is truly a matter of public concern.” November 2015
Opinion at 26 (citing Thomas, 626 Fed. Appx. at 388. The
Court now takes the opportunity to squarely address this
question.

Whether an exercise of speech is on a matter of public
concern is a question of law, Curinga v. City of Clairton,
357 F.3d 305, 310 (3d Cir. 2004). “[T]he key to the
‘public concern’ inquiry is ‘whether the expression of the
kind at issue is of value to the process of
self-governance.’ ” Montone v, City of Jersey City, 709
F.3d 181, 193 (3d Cir. 2013) (quoting Azzaro v. Cry. of
Allegheny, 110 F.3d 968, 977 (3d Cir, 1997))}. Generally,
speech on a matter of public concern “addresses a social
or political concern of the community” or “relates to
broad social or policy issues, including expressing the
desirability of assassinating the President or complaining
about racial discrimination.” Borden, 523 F.3d at 170.
Likewise, speech may address an issue of public concern
if it “implicat[es] the discharge of public responsibilities
by an important government office, agency, or
institution,” such as government corruption, lowering of

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academic standards, or “bring[ing] to light actual or
potential wrongdoing or breach of public trust on the part
of government officials.” Id. (quoting Holder v. City of
Allentown, 987 F.2d 188, 195 (3d Cir. 1993); Sanguigni,
968 F.2d at 397-98). “Finally, the content of speech is on
a matter of public concem where it ‘relate[s] primarily to
the way in which a government office [i]s serving the
public,’ ” such as a government “wasting taxpayer's
money.” Id. (quoting Sangufgni, 968 F.2d at 398; citing
Czurlanis v. Albanese, 721 F.2d 98, 104 (3d Cir. 1983)).
“Whether an employee's speech addresses a matter of
public concern must be determined by the content, form,
and context of a given statement, as revealed by the whole
record.” Connick, 461 U.S. at 147.

*12 When a public employee speaks “upon matters only
of personal interest,” rather than “matters of public
concern,” a First Amendment claim does not lie. See id.
Additionally, “the First Amendment does not require a
public office to be mm as a roundtable for employee
complaints over internal office affairs.” Id. at 149.
Accordingly, “[wJhile the First Amendment invests public
employees with certain rights, it does not empower them
to constitutionalize the employee grievance.” Abernethy,
Jr, vy, Mercer, 532 Fed.Appx. 160, 163 (3d Cir. 2013);
accord Morris vy. Philadelphia Hous, Auth, 487
Fed.Appx. 37, 40 (3d Cir. 2012) (“The Supreme Court
has decided, however, that we should not constitutionalize
management disputes between the government and its
employees.”). In light of this, the Third Circuit has
explained that “internal workplace matters and personal
grievances ... clearly fall outside the sphere of First
Amendment protection.” Garcia v. Newtown Twp., 483
Fed.Appx. 697, 703 (3d Cir. 2012}. Likewise, where a
plaintiff's speech or conduct does “not seek to
communicate to the public or to advance a political or
social point of view beyond the employment context,” the
Third Circuit has held that such activity does not address
a matter of public concern. Emigh v. Steffee, 442
Fed.Appx. 660, 666 (3d Cir. 2011) (quoting Borough of
Duryea, Pa. v. Guarnieri, 564 U.S. 379, 398 (2011)).

 

The Court has evaluated the content, form, and context of
Plaintiffs’ alleged speech to the best of its ability in light
of the bare-boned pleadings. The Second Amended
Complaint indicates that the Plaintiffs expressed their
support for twelve hour shifts only in the context of the
workplace, among coworkers and in contract negotiation
meetings. There was no effort to inform the public about
the issue or the benefits that Plaintiffs argue stem from the
implementation of twelve hour shifts, In fact, there is no
allegation in the Second Amended Complaint that the
Plaintiffs even expressed their opinions about the
collateral benefits of twelve hour shifts to the Defendants.
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The Court has no information whatsoever about the
specific form or content of Plaintiffs’ speech or conduct
regarding the twelve hour shifts. All that the Second
Amended Complaint alleges is that Plaintiffs were in
favor of the implementation of twelve hour shifts and that
such support was apparently made exclusively within the
police department and ofien, if not always, in contract
negotiation meetings regarding the shifts.

The Court finds that, as alleged, Plaintiffs’ support of
twelve hour shifts related only to their working conditions
and a management dispute about an internal workplace
policy, namely the length and scheduling of the officers’
shifts, and did “not seek to communicate to the public or
to advance a political social point of view beyond the
employment context.” See Garcia, 483 Fed.Appx. at 703;
Emigh, 442 Fed. Appx. at 666. Accordingly, assuming that
Plaintiffs had adequately alleged speech or conduct as
private citizens, which the Court has already held they
have not, the Court also finds that Plaintiffs alleged
support of twelve hour shifts did not address a matter of
public concern.

The fact that Plaintiffs are union members does not
change this Court’s analysis. In Thomas, the Third
Circuit found that the plaintiff's “union grievances are not
protected because they do not involve matters of public
concem.” 626 Fed.Appx. at 388. The court acknowledged
that while “union activities may sometimes touch on a
matter of public concern, ... it is not the case that all
union-related grievances do.” Id. The Thomas court found
that the plaintiff's speech “related to working conditions
and other issues in union members’ employment, ... and
[plaintiff] offers nothing that would transform those
personnel matters into issues of interest to the broader
community,” and, accordingly, that it was not protected.
Id. at 389; see also Harris v. Quinn, 134 8, Ct. 2618, 2655
(2014) (Kagan, J., dissenting) (“Our decisions ... teach
that internal workplace speech about public employees’
wages, benefits, and such—that is, the prosaic stuff of
collective bargaining—does not become speech of ‘public
concern’ just because those employment terms may have
broader consequence.”) (citing Duryea, 564 U.S. 379,
391; Bd. of Cty. Comni'rs, Wabaunsee Cty., Kan. v.
Umbehr, 518 U.S. 668, 675 (1996)).

 

*13 Here, too, the Plaintiffs’ alleged speech or conduct, to
the extent that any such speech or conduct has been
adequately pled, also addressed their working conditions
and the union members’ terms of employment. Plaintiffs
make no allegations that the purported benefits to the
community regarding twelve versus eight hour shifts were
ever communicated to the Defendants or the public. For
this reason, the Court finds that Plaintiffs have not

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properly alleged speech addressing a matter of public
concern, as required to plead a First Amendment
violation.

Plaintiffs remain unable to adequately plead
constitutionally protected conduct, as required for both
Plaintiffs’ freedom of speech and freedom of association
claims. Accordingly, the Plaintiffs’ First Amendment
retaliation claims under Section 1983 (Counts I and IT} are
dismissed with prejudice. For the same reasons, Plaintiffs’
New Jersey Civil Rights Act claim (Count III) is also
dismissed with prejudice.

ii. Retaliatory Conduct

To adequately plead the retaliatory conduct prong,
Plaintiffs must allege “retaliatory action sufficient to deter
a person of ordinary firmness from exercising his
constitutional rights.” Thomas, 463 F.3d at 296. The
effect of the alleged retaliation on a plaintiff's freedom of
speech “need not be great in order to be actionable but it
must be more than de minimis.” Hogan v. Tip. of
Haddon, 278 Fed.Appx. 98, 103 (3d Cir. 2008) (internal
citations and quotations omitted). “[E]ven an act of
retaliation as trivial as failing to hold a birthday party for
a public employee ... when intended to punish her for
exercising her free speech rights” may be sufficient to
constitute retaliatory action for purposes of a First
Amendment retaliation claim. See Suppan v. Dadonna,
203 F.3d 228, 234 (3d Cir. 2000) (quoting Rutan ¥.
Republican Party, 497 U.S. 62, 76 n. 8 (1990)). “A First
Amendment retaliation claim will lie for any individual
act which meets this ‘deterrence threshold,’ and that
threshold is very low[.]” O'Connor v. City of Newark, 440
F.3d 125, 128 (3d Cir. 2006),

Applying this standard, the Court found, in its November
2015 Opinion, that “[w]hile the Amended Complaint is
fatally lacking in other respects, it adequately pleads
retaliatory conduct as required to state a First Amendment
claim.” November 2015 Opinion at 30. However, the
Court found that any acts of alleged retaliation occurring
prior to March 22, 2011 were barred by the two-year
statute of limitations governing Section 1983 claims and
dismissed any claims premised upon these acts with
prejudice. Id, at 21-22.

The Second Amended Complaint restates the bulk, if not
all, of the allegations of timely retaliatory conduct that the
Court found sufficient in its November 2015 Opinion. For
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example, Plaintiffs allege once again that, on May 24,
2012, Killion was transferred to “the nightshift to work in
the Dispatch Room while on-duty” and that “[tjhis is the
first time in the history of the [Pennsauken Police]
Department that [Defendant] Coffey transferred an officer
on light-duty to the nightshift.” SAC 4 62. The Second
Amended Complaint also alleges that Hertline and several
other officers were given permission to attend a training
session in Texas, but that Defendant Coffey “changed
every attendees’ days off so they could attend the
conference without financial penalty, except for Hertline.”
SAC J 138-39. Plaintiffs also allege that Biazzo has been
formally disciplined on several occasions by Defendant
Coffey and suspended without pay, SAC #§ 84-88, 104,
and that Kouvatas was served with a Preliminary Notice
of Disciplinary Action on May 12, 2014. SAC § 157,
Likewise, Morton has been charged and disciplined by
Defendant Coffey. SAC ff] 170-71.

*14 Given the allegations of formal discipline and other
acts of retaliatory conduct in the Second Amended
Complaint, the Court once against finds that Plaintiffs
have adequately pled retaliatory conduct as required to
state a First Amendment retaliation claim.’

iii, Causal Link

To state a claim for First Amendment retaliation, the
Plaintiffs must allege causation, namely that their
protected activity was a substantial or motivating factor
behind the Defendants’ retaliation. Springer v. Henry, 435
F.3d 268, 275 (3d Cir. 2006), The Plaintiffs must do more
than allege the “mere possibility of misconduct.” See
Iqbal, 556 U.S. at 679. Additionally, the Third Circuit has
directed courts to “be diligent in enforcing these causation
requirements [in Section 1983 First Amendment cases]
because otherwise a public actor cognizant of the
possibility that litigation might be filed against him,
particularly in his individual capacity, could be chilled
from taking action that he deemed appropriate and, in
fact, was appropriate.” Lauren W. ex rel. Jean IF. v.
DeFlaminis, 480 F.3d 259, 267 (3d Cir. 2007).

“Because motivation is almost never subject to proof by
direct evidence, [Plaintiffs] must rely on circumstantial
evidence to prove a retaliatory motive. [Plaintiffs] can
satisfy [their] burden with evidence of either (1) an
unusually suggestive temporal proximity between the
protected activity and the allegedly retaliatory action, or
(2) a pattem of antagonism coupled with timing that

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suggests a causal link.” Matson v. Rozwm, F.3d :
2016 WL 4435624, at *2 (3d Cir. Aug. 23, 2016).
Accordingly, a determination as to whether a causal link
has been adequately pled requires an inquiry into the
temporal proximity between the alleged protected activity
and the alleged retaliation. See Queer v. Westmoreland
Caty., 296 Fed.Appx. 290, 293 (3d Cir. 2008). “[A]
suggestive temporal proximity between the protected
activity and the alleged retaliatory action can be probative
of causation.” Thomas v. Town of Hammonton, 351 F.3d
108, 114 (3d Cir. 2003). However, the temporal proximity
of the alleged retaliation “must be unusually suggestive of
retaliatory motive before a causal link will be inferred.”
Id. Where the temporal proximity alone is not “unusually
suggestive,” “timing plus other evidence may be an
appropriate test[.]” Id. This other evidence may be
“gleaned from the record as a whole,” and may include,
for example, a pattern of antagonism. See Farreil v.
Pianters Lifesavers Co., 206 F.3d 271, 280-81 (3d Cir.
2000).

 

 

In its November 2015 Opinion, the Court held that
Plaintiffs’ Amended Complaint failed to adequately plead
the requisite causal link between their allegedly protected
conduct and Defendants’ allegedly retaliatory conduct.
November 2015 Opinion at 30-33. The Court explained
that “given the paucity of well-pled allegations of
protected activity,” the Court could not “make any
determinations regarding the timing of said ‘vocal
support’ or its temporal proximity to the alleged
retaliatory actions.” Id, at 31-32. Plaintiffs were
well-aware of the need te remedy this deficiency and yet,
by and large, did not do so. To the extent that the Second
Amended Complaint once again fails to identify the
timing and nature of specific instances of allegedly
protected speech or conduct, the Court remains unable to
assess the temporal proximity between Plaintiffs’
allegedly protected activity and Defendants’ alleged
retaliation.

*15 As the Court noted above, however, the Plaintiffs
have included some additional information regarding their
speech in support of the twelve hour shifis, such as the
meetings between FOP 3 members and the police
administration. The Plaintiffs appear to concede that the
temporal proximity between these instances of protected
activity and any timely acts of alleged retaliation alone is
insufficient to establish the requisite causal link. See Pls.
Opp. Br. at 19-22. Instead, Plaintiffs argue that they “have
alleged both temporal proximity and other evidence
which together, in the light most favorable to the plaintiffs
sets forth a plausible claim for causation.” Id. at 22.
Plaintiffs direct the Court to the long history of alleged
retaliation, which Plaintiffs claim began only when
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negotiations regarding the implementation of twelve hour
shifts commenced,

While Plaintiffs may have met the “other evidence” prong
of this test by alleging that they have a long history of
being disciplined and retaliated against by the Defendants,
the timing element is entirely lacking. See iVatson, 2016
WL 4435624, at *4 (“Where the temporal proximity is not
50 close as to be ‘unduly suggestive,’ the appropriate test
is timing plus other evidence.”) (emphasis added)
(internal quotations and alterations omitted); see_also
Scrip v. Seneca, _ Fed.Appx.__, 2016 WL 3162695,
at *4 (3d Cir. June 7, 2016) (finding that plaintiff “failed
to show a ‘pattern of antagonism,’ which, coupled with
timing would allege a plausible causal link” because “two
unspecified disciplinary actions over a period of more
than seventeen months do not create ‘pattem of
antagonism.’ ”) (emphasis added).

 

With regard to Plaintiffs Hertline and Morton, the Court
cannot identify any well-pled allegations of protected
speech from which to measure temporal proximity or
infer a causal link. Where the Plaintiffs do not identify the
allegedly protected conduct at all, as with Plaintiffs
Hertline and Morton, or the date of their allegedly
protected conduct, as in the case of Plaintiff Kouvatas
“point[ing] out that the problems Coffey has with twelve
hours [sic] shifts could be remedied if the supervisors
were also on twelve hour shifts,” SAC ] 152, the Court is
unable to assess the temporal proximity or causal
relationship between Plaintiffs’ allegedly protected
conduct and Defendants’ alleged retaliation. See
November 2015 Opinion at 31-32.

Additionally, as the Court found above and in its
November 2015 Opinion, Plaintiff Kouvatas’s authoring
of a position paper regarding twelve hour shifis and his
dissemination of that information, which occurred in or
around 2001 and 2007, cannot support any timely claims
of First Amendment retaliation due to the passage of
several years. See November 2015 Opinion at 32 (citing
Wiiliams v. Philadelphia Hous. Auth. Police Dep't, 380
F.3d 751, 760 (3d Cir. 2004); Estate of Smith vy. Marasco,
318 F.3d 497, 512-13 (3d Cir. 2003)); see also Arneauit v.
O'Toole, 513 Fed.Appx. 195, 198 (3d Cir. 2013) (holding
that “[flive retaliatory actions, undertaken by several
different defendants over the course of four years
allegedly in response to complaints against several
different defendants, are not sufficient in this case” to
plead causation in retaliation claim).

 

Likewise, even if Plaintiffs Killion and Biazzo’s
attendance at various meetings in 2010, 2011, and 2012
were well-pled allegations of protected conduct, which

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the Court has already ruled they are not, Plaintiffs have
not pled a causal link between their participation in these
meetings and any alleged retaliation. For example, the
three April 2010 meetings that Plaintiffs Killion and
Biazzo attended occurred over a year before the first
timely allegation of retaliation in May 2011, after the
Pinsetters Incident. The Court sees no temporal proximity
whatsoever between these meetings and any timely
alleged retaliation. See Queer, 296 Fed.Appx. at 293
(“taking into consideration [plaintiffs] ‘timeline’ of
events, it is difficult to discem any temporal proximity
between [plaintiff's] protected speech in March 2004 and
the [defendant's] nonrenewal decision more than a year
later[.]”) (emphasis in original).

*16 As for the allegations regarding the 2012 meetings,
which the Court has already found do not constitute
well-pled allegations of protected conduct, a causal link
cannot be inferred given the months that passed between
the meetings and any actionable allegations of retaliation.
Moreover, Plaintiffs’ own pleadings establish that much
of the alleged retaliation was actually justified discipline
as a result of various infractions, such as the Pinsetters
Incident. The inference gleaned from the Second
Amended Complaint as a whole, then, is that the
discipline was justified by Plaintiffs’ own infractions, for
example, and not that it was retaliation for allegedly
protected activity. See Thomas, 35] F.3d at 114 (finding
that passage of three weeks between alleged protected
activity and termination and allegations of “other
evidence” was insufficient to establish causal link because
“the chronology of events far more strongly suggests a
situation in which a probationary employee was
determined to be a poor risk as far as dependability was
concermed,” rather than illegal retaliation),

Additionally, the Second Amended Complaint repeats the
errors of the Amended Complaint as it fails to allege
when many acts of retaliation took place. See, e.g., SAC J
43 (alleging that Defendant Coffey changed Plaintiff
Killion’s days off at some indeterminate time); { 116
(“Since Hertline’s support for the twelve hour shifis, he
has been denied administrate leave time to attend FOP
meetings.”); | 149 (alleging that, at some unspecified
time, an unidentified supervisor “yelled and used
obscenities to Kouvatas whenever the subject of twelve
hour shifis came up.”); 4] 169 (alleging that, at some point,
Morton requested a transfer, which Coffey denied). The
Court reiterates that it cannot determine whether these
acts are time-barred or causally linked to any allegations
of speech. Because Plaintiffs have failed to remedy these
defects, the allegations cannot support a First Amendment
retaliation claim.
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The Defendants note that Plaintiffs “seem to allege that
their long-term support for this new work rule somehow
imbues them with long-term protection.... That is not the
law.” Coffey Br. at 22. The Court agrees. Accordingly,
Plaintiffs’ claims fail because Plaintiffs have not
adequately pled constitutionally protected activity or the
requisite causal link between their conduct and
Defendants’ alleged retaliation.

B. Qualified Immunity

Defendants argue that, even if Plaintiffs have adequately
alleged a constitutional violation, Defendant Coffey and
Probasco and the Individual Defendants are entitled to
qualified immunity. As the Court dismisses the Plaintiffs’
constitutional claims, it need not reach the issue of
qualified immunity. Nonetheless, in an abundance of
caution, the Court will address the question. For the
foregoing reasons, the Court finds that, even if the
Defendants had violated the Plaintiffs’ constitutional
rights, which the Court has already found they did not,
qualified immunity would shield the Defendants Coffey
and Probasco and the Individual Defendants from
liability.

Qualified immunity “protects government officials from
liability for civil damages insofar as their conduct does
not violate clearly established statutory or constitutional
rights of which a reasonable person would have known.”
Pearson v. Callahan, 555 U.S, 223, 231 (2009); accord
Plaumhoff v. Rickard, 134 §, Ct. 2012, 2023 (2014) (“An
official sued under § 1983 is entitled to qualified
immunity unless it is shown that the official violated a
statutory or constitutional right that was ‘clearly
established’ at the time of the challenged conduct.”).

*17 The question of whether these Defendants are entitled
to qualified immunity requires this Court to answer two
questions: “(1) whether the officer violated a
constitutional right,” and “(2) whether the right was
clearly established, such that it would have been clear to a
reasonable officer that his conduct was unlawful in the
situation he confronted.” Saucier v. Katz, 533 U.S. 194,
201-02 (2001). The questions may be answered in either
order. Pearson, 555 U.S. at 242,

As to the first question, the Court reiterates that it has
already found that the Defendants did not violate any
constitutional rights. Moving to the second inquiry,
Plaintiffs argue that their First Amendment “rights to free

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speech and union activity are well established.” Pls. Opp.
Br. at 27. This misses the point. In determining whether
Coffey, Probasco, and the Individual Defendants’ actions
or inactions violated a “clearly established right,” the
“inquiry ‘must be undertaken in light of the specific
context of the case, not as a broad general proposition.’ ”
Brosseau v. Haugen, 543 U.S. 194, 198 (2004) (citing
Saucier, 533 U.S. at 206). While the freedom of speech
and freedom of association under the First Amendment, in
the abstract, are certainly clearly established
constitutional rights, that is not the correct inquiry. See id.
The Court must instead assess the specific circumstances
of the case.

Here, the relevant question is whether a police officer’s
conduct or speech in support of the implementation of
twelve hour shifts is an exercise of a clearly established
constitutional right, such that it would have been clear to
the Defendants that their alleged retaliation for that
conduct, in the case of Coffey and Probasco, or their
failure to investigate such retaliation, in the case of the
Individual Defendants, was unlawful. In the context of
this case, the Court cannot find that Plaintiffs’ speech and
conduct, as alleged in the Second Amended Complaint,
constituted an exercise of a clearly established
constitutional right. Accordingly, the Court finds that
qualified immunity is appropriate.

As the Court has already detailed, the form, content, and
context of Plaintiffs’ support for twelve hour shifts, as
well as the relevant legal precedents, indicate that such
support did not address a public concern and was made
pursuant to the Plaintiffs’ official duties, not as private
citizens. See supra sections IILA.i.(b)-(c). It would not
have been clear to a reasonable officer or committee
member, confronted with Plaintiffs’ support for twelve
hour shifts, that the Plaintiffs were exercising any clearly
established First Amendment rights and, therefore, that
any retaliation or failure to investigate that retaliation
would be unlawful.” Accordingly, even if Plaintiffs had
adequately pled a constitutional violation in the Second
Amended Complaint, which the Court has already found,
for several reasons, they have not, qualified immunity
would nonetheless shield Defendants Coffey and
Probasco and the Individual Defendants from liability."

C. Punitive Damages

*18 Plaintiffs once again set forth a separate count
alleging punitive damages. In its November 2015
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Opinion, this Court dismissed the punitive damages claim
with prejudice against Defendant Township of
Pennsauken because “no punitive damages may be
awarded against a municipality in Section 1983 actions.”
November 2015 Opinion at 33 (citing City of Newport v.
Fact Concerts, inc., 453 U.S. 247, 271 (1981)). The claim
was otherwise dismissed without prejudice against the
remaining Defendants,

The Court will now dismiss the punitive damages claim
(Count IV) with prejudice against all Defendants. Punitive
damages are a remedy, not a substantive cause of action.
Taylor v. Lincare, Inc., 2016 WL 3849852, at *8 (D.N.J.
July 15, 2016); Jn re Paulsboro Derailment Cases, 2015
WL 4914397, at *10 (D.NJ. Aug. 18, 2015).
Accordingly, since the Plaintiffs’ constitutional claims
will be dismissed with prejudice by this Opinion and the
accompanying Order, the punitive damages claim must
also be dismissed with prejudice. A request for punitive
damages cannot stand in the absence of underlying
substantive claims. Taylor, 2016 WL 3849852, at *8
(quoting Smith v. Whitaker, 160 N.J. 221, 235 (1999)
(“As a rule, a claim for punitive damages may lie only
where there ts a valid underlying cause of action.”)).

D. Dismissal With Prejudice

Defendants urge this Court to dismiss Plaintiffs’ Second
Amended Complaint in its entirety with prejudice. Federal
Rule of Civil Procedure 15(a){2) provides that ‘‘court[s]
should freely give leave [to amend] when justice so
requires.” The Supreme Court has held, and the Third
Circuit has reiterated, that while “the grant or denial of an
opportunity to amend is within the discretion of the
District Court, ... outright refusal to grant the leave
without any justifying reason appearing for the denial is
not an exercise of discretion; it is merely an abuse of that
discretion and inconsistent with the spirit of the Federal
Rules.” Foman v. Davis, 371 U.S. 178, 182 (1962);
accord In re Burlington Coat Factory Sec. Litig., 114 F.3d
1410, 1434 (3d Cir. 1997).

“[E]ven when a plaintiff does not seek leave to amend, if
a complaint is vulnerable to 12(b)(6) dismissal, a District
Court must permit a curative amendment, unless an
amendment would be inequitable or futile.... Dismissal
without leave to amend is justified only on the ground of
bad faith, undue delay, prejudice, or futility.” Alston v.
Parker, 363 F.3d 229, 235-36 (3d Cir. 2004),

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Dismissal with prejudice, however, may be an appropriate
exercise of discretion where the court has previously
provided the plaintiffs with “a detailed roadmap for
curing the deficiencies in their claims” and the plaintiffs
still fail to remedy those deficiencies in the amendment.
See California Pub. Employees’ Ret. Sys. v. Chubb Corp.,
394 F.3d 126, 166 (3d Cir. 2004) (affirming district
court’s dismissal of second amended complaint with
prejudice where district court had previously dismissed
first amended complaint with leave to amend and
“provided Plaintiffs with a detailed blueprint of how to
remedy the defects in their claims” but plaintiffs “utterly
failed to comply with the District Court’s directives.”).

This Court’s November 2015 Opinion dismissing the
Plaintiffs’ First Amended Complaint addressed the
Plaintiffs’ allegations and identified the numerous
deficiencies therein, yet permitted the Plaintiffs an
opportunity to remedy those deficiencies. For example,
the Court explained to the Plaintiffs the need to identify
the specific allegedly protected speech or conduct in
which the Plaintiffs engaged, as well as the acts of alleged
retaliation by Defendants. See, e.g., November 2015
Opinion at 22, 25. The Court also explicitly and
methodically addressed each of the “required elements to
provide guidance to the parties.” See id. at 28. In this
Court’s view, its November 2015 Opinion served as “a
detailed roadmap for curing the deficiencies in
[Plaintiffs’] claims.” See Chubb Corp., 394 F.3d at 166,

*19 The Second Amended Complaint is the Plaintiffs’
third bite at the proverbial apple. The Court cautioned
Plaintiffs that no further amendments would be permitted.
November 2015 Opinion at 1 (“The Plaintiffs, however,
will be granted leave to amend their complaint one final
time to cure the deficiencies identified herein.”)
(emphasis added). Yet, the Second Amended Complaint
suffers from the same infirmities as the First Amended
Complaint, as outlined above. Plaintiffs remain unable or
unwilling to allege specific instances of protected activity
or the requisite causal link between such activity and
Defendants’ alleged retaliation, despite having received
three opportunities to do so. The Court notes, in
particular, the “stark absence of any suggestion by the
plaintiffs that they have developed any facts since the
action was commenced, which would, if true, cure the
defects in the pleadings” under the requirements set forth
in Iqbal and Twombly. See Chubb Corp., 394 F.3d at 164.
Additionally, the Court has now resolved the question it
left open in the November 2015 Opinion, namely whether
the implementation of twelve hour shifts is a matter of
public concern — it is not.

Accordingly, the Court finds that any further amendment
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would be futile in light of the ample opportunities already
granted to the Plaintiffs. The Court also notes the lengthy
history of this action, which has been stalled in the
pleadings stage for over three years. Defendants have
been required to defend against three complaints. In this
Court’s view, it would be inequitable to permit the

For the foregoing reasons, the Court grants the
Defendants’ Motions to Dismiss the Second Amended
Complaint with prejudice [Docket Nos. 92, 93]. The
Second Amended Complaint is dismissed with prejudice
in its entirety. An appropriate Order shall issue on this
date.

Plaintiffs to file yet another complaint and subject the
Defendants to further litigation. For these reasons, the
Second Amended Complaint will be dismissed with
prejudice and no further leave to amend will be granted.

Dated: September 27, 2016.
All Citations

Not Reported in F.Supp.3d, 2016 WL 5417193

IV. CONCLUSION

Footnotes

1 The facts recited herein are derived from Plaintiffs’ Second Amended Complaint. The Court must accept these facts as true for
the purpose of these motions to dismiss. See McTernan v. City of York, 577 F.3d 521, 526 (3d Cir. 2009) (“In deciding a motion to
dismiss, all well-pleaded allegations of the complaint must be taken as true and interpreted in the light most favorable to the
plaintiffs, and all inferences must be drawn in favor of them.) (internal quotations and citations omitted).

2 This action was originally filed by seven Pennsauken police officers. Two of the original plaintiffs, Douglas Foster and Mark
Bristow, are no longer named as plaintiffs in the Second Amended Complaint. All allegations pertinent only to Douglas Foster and
Mark Bristow have been removed from the Second Amended Complaint.

4 Their suspensions were affirmed on appeal by the Superior Court of New Jersey, Appellate Division on September 22, 2016. See
Opinion, Docket No. 4-3537-13T1 [Docket No. 105, Ex. AJ; in the Matter of Michael Biazzo, Douglas Foster, William Hertline, Ill,
Vito Moles, Michael Killion & Michael Hutnan, Twp. of Pennsauken Police Dep’t, No, A-3537-13T1, 2016 WL 5173411, at *5 (NJ.
Super, Ct. App. Div. Sept. 22, 2016). The Court considers and takes judicial notice of the Appellate Division’s decision, as a matter
of public record and as a document whose accuracy cannot reasonably be questioned. See Buck v. Hampton Twp. Sch. Dist., 452
F.3d 256, 260 (3d Cir. 2006) (a court may consider, in evaluating a motion to dismiss, “matters incorporated by reference or
integral to the claim, items subject to judicial notice, matters of public record, orders, [and) items appearing in the record of the
case.”),

4 Defendants argue again that “Plaintiffs’ claims against the Township of Pennsauken Police Department must be dismissed,
because the police department is not a separate legal entity subject to suit or having the ability to sue.” Township Defendants
Brief ("Twp. Br.”) at 18 [Docket No. 93-4]. Plaintiffs respond that they do not seek to bring any claims against it. Plaintiffs’
Opposition Brief (“Pls. Opp. Br.”) at 28 [Docket No. 98]. The Court reaches the same conclusion regarding this argument as it did
in its November 2015 Opinion. The Pennsauken Police Department is not listed as a defendant or in the case caption. The
Plaintiffs clearly do not intend to sue the Pennsauken Police Department separately. The Court nonetheless reminds the parties
that “a police department is not a ‘person’ subject to suit under 42 U.S.C. § 1983 pursuant to Monell v. Dept. of Social Services of
City of New York, 436 U.S. 658, 688-90 (1978).” Hannah v. Bridgewater Police Dep't, 2014 WL 4272759, at *2 (D.NJ. Aug. 28,
2014).

5 The Court notes, however, that the majority of Circuits apply the public concern requirement to freedom of association claims.
5e6, e.g., Merrifield v. Bd. of Cty. Comm'rs for Cty. of Santa Fe, 654 F.3d 1073, 1085 (10th Cir. 2011) (applying private citizen and
public concern requirements to freedom of association claim); Hudson v. Craven, 403 F.3d 691, 698 (9th Cir. 2005) (applying
public concern requirement to hybrid freedom of association and speech claims); Cobb v. Pozzi, 363 F.3d 89, 102 (2d Cir. 2004)
(“We agree with the defendants and, joining the Fourth, Sixth and Seventh circuits, hold that a public employee bringing a First
Amendment freedom of association claim must persuade a court that the associational conduct at issue touches on a matter of
public concern.”); Klug v. Chicago Sch, Reform Bd. of Trustees, 197 F.3d 853, 857 (7th Cir. 1999} ("In this circuit, a public
employee is protected from adverse employment consequences based on the exercise of the right to freedom of association only
when the associational conduct relates to a matter of public concern.”); Edwards y, City of Goldsboro, 178 F.3d 231, 249 (4th Cir.

 

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1999) (“Logically, the limitations on a public employee's right to associate are ‘closely analogous’ to the limitations on his right to
speak.”}; Bools v. Gray, 775 F.2d 686, 691-93 (6th Cir. 1985) (finding that public concern and private citizen requirements must be
applied to freedom of association claim and holding that “an employee's speech, activity or association, merely because it is
union-related, does nat touch on a matter of public concern as a matter of law”); but see Coughlin v. Lee, 946 F.2d 1152, 1158
{5th Cir, 1991) (finding that its “conclusion that plaintiffs’ speech did not raise matters of public concern does not foreclose their”
freedom of association claim); Hatcher v. Bd. of Pub. Educ. & Orphanage for Bibb Cty., 809 F.2d 1$46, 1558 (11th Cir. 1987) (“In
short, application of a requirement that associational activity relate to a matter of public concern in order to be constitutionally
protected would overturn Supreme Court and Eleventh Circuit jurisprudence and exact a substantial toll upon first amendment
liberties.”}.

Plaintiffs argue that union organization activities and efforts are unconditionally matters of public concern. The cases cited by
Plaintiffs, however, directly involved union organization efforts, not just speech made by union members. See Perna v. Twp. of
Montclair, 2006 WL 2806276, at *8 (D.N.J. Sept. 28, 2006) (finding that plaintiff alleged a matter of public concern because she
alleged “involve[ment] in union organizational and representational efforts”); Schlichter v. Limerick Twp., 2006 WL 2381970, at
*8 {E.D, Pa. Aug. 14, 2006) (“a public employee's attempt to unionize would always be considered a matter of public concern”)
(emphasis added); Hinshillwood v. Cty. of Montgomery, 2002 WL 253940, at *4 (E.D. Pa. Feb. 20, 2002) ("[s]peech arising in the
context of union organization efforts”) [emphasis added). Yet Plaintiffs concede that they were not involved in any union
organization efforts. Pls. Opp. Br. at 16.

As the Court ultimately finds that the Second Amended Complaint fails to adequately plead a claim under Section 1983, the Court
does not reach the Township Defendants’ argument that Plaintiffs have failed to allege a custom or policy by the Township of
Pennsauken, as required for municipal liability under Monell v. Dep’t of Soc. Servs. of City of New York, 436 U.S. 658 (1978). See
Twp. Br. at 10-11,

While the Court’s findings do not rely solely on this, the Court nonetheless notes that after Killion, Hertline, and Biazzo appealed
the discipline received as a result of the Pinsetters Incident, the Superior Court of New Jersey, Appellate Division affirmed the
suspensions. See in the Matter of Michael Biazzo, Douglas Foster, William Hertline, lil, Vito Moles, Michael Killion & Michael
Hutnan, Twp. of Pennsauken Police Dep't, No. A-3537-13T1, 2016 WL 5173411, at *5 (NJ. Super. Ct. App. Div. Sept. 22, 2016}.

In addition, the Court observes, without making any findings as to this question, that if the Defendants “reasonably believed that
the [Plaintiffs’] [speech] had involved personal matters, not matters of public concern, and [Defendants] had (retaliated against]
the [Plaintiffs] because of that mistaken belief, the [retaliation] did not violate the First Amendment.” Waters v. Churchili, 511
U.S. 661, 679-80 (1994), In tight of the case law discussed above, such belief would likely be reasonable.

The Individual Defendants also contend that they cannot be sued in their official capacities and that Plaintiffs have failed to plead
with specificity any conduct outside the scope of their official duties such that individual liability may be appropriate. Twp. Br. at
11-15. Even if Plaintiffs had properly alleged a constitutional violation and qualified immunity did not attach, the claims against
the Individual Defendants in their official capacities must be dismissed as redundant of the claims against the Township of
Pennsauken, See Cuvo v. De Biasi, 169 Fed.Appx. 688, 693 (3d Cir. 2006) (“We will affirm the District Court’s dismissal of the
claims against the officers in their official capacities because a lawsuit against public officers in their official capacities is
functionally a suit against the public entity that employs them. Because Cuvo Is suing Palmer Township, the suit against the
officers in their official capacities is redundant.”} (internal citations omitted); Lue v. Borough of Collingdafe, 2015 WL 70931, at *7
{E.D. Pa. Jan. 6, 2015) (collecting cases). Additionally, the Court agrees that the claims against the lndividual Defendants in their
individual capacities must be dismissed because the Second Amended Complaint includes no allegations of “individual conduct
that results in liability” that would render them amenable to suit in their individual capacities. See Gerber ex rel, Gerber v.
Springfield Bd. of Educ., 328 N.J. Super. 24, 46 (App. Div. 2000) ("The Board may be liable to suit as an entity, but in the absence
of individual conduct that results in liability, the Board members are shielded from suit.”}.

 

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EXHIBIT D
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Johnson v. Bally’s Atlantic City, 147 Fed. Appx. 284 (2005)

2005 WL 2141269

147 Fed. Appx. 284
This case was not selected for publication in the
Federal Reporter.

Not for Publication in West’s Federal Reporter See
Fed. Rule of Appellate Procedure 32.1 generally
governing citation of judicial decisions issued on or
after Jan. 1, 2007. See also Third Circuit LAR, App. I,
IOP 5.7. (Find CTA3 App. I, IOP 5.7)

United States Court of Appeals,

Third Circuit.

Daniel JOHNSON, Appellant
v.
BALLY’S ATLANTIC CITY,

No. 05-1180.

|
Submitted Under Third Circuit LAR.34.1(a) Sept.
2, 2005.

Decided Sept. 7, 2005.

Synopsis

Background: African-American former employee
brought employment discrimination action against
employer, alleging violation of Title VII. The United
States District Court for the District of New Jersey, Freda
L. Wolfson, J., granted summary judgment to employer.
Former employee appealed.

Holdings: The Court of Appeals held that:

''l genuine issue of material fact existed as to whether
African-American employee was subjected to hostile
work environment, precluding summary judgment, and

!*] genuine issue of material fact existed as to whether
African-American employee was discharged in retaliation

for engaging in protected activity, precluding summary
judgment.

Vacated and remanded.

West Headnotes (2)

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" Federal Civil Procedure
-=Employees and Employment Discrimination,
Actions Involving

Genuine issue of material fact existed as to
whether African-American employee was
subjected to hostile work environment,
precluding summary judgment in Title VII
action. Civil Rights Act of 1964, § 701 et seq.,
42 U.S.C.A. § 2000e et seq.

Cases that cite this headnote

II Federal Civil Procedure
Employees and Employment Discrimination,
Actions Involving

Genuine issue of material fact existed as to
whether African-American employee was
discharged in retaliation for engaging in
protected activity, precluding summary
Judgment in Title VII action, Civil Rights Act of
1964, § 701 et seq., 42 U.S.C.A. § 2000¢ et seq.

Cases that cite this headnote

*285 On Appeal from the United States District Court for
the District of New Jersey. (Civ. No. 03-cv-3126). District
Judge: Honorable Freda L. Wolfson.

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Before VAN ANTWERPEN, GREENBERG and
NYGAARD, Circuit Judges.

Opinion

OPINION

PER CURIAM.
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Johnson v, Bally's Atlantic City, 147 Fed. Appx. 284 (2005)

2005 WL 2141269

**] Daniel Johnson filed this employment discrimination
suit pro se under Title VII of the Civil Rights Act of
1964, against his former employer, Bally's Atlantic City
(“Bally’s”).' Johnson, who is African-American, was
employed as a part-time dealer in one of Bally’s’ casinos,
Johnson aileges that he was regularly subjected to racist
comments by casino customers using the racial slur
“monkey” in reference to him and shouting phrases such
as “Come on, monkey,” “You, monkey,” and “Big
monkey,” while they gambled at his table. Johnson asserts
that, although he complained, Bally’s failed to take
remedial action and his supervisors intentionally assigned
him to tables with verbally abusive customers. Johnson
also alleges that he was physically harassed by Bally’s
staff, who touched him without his permission and
directed customers and cleaning staff to block his path
and bump into him. Johnson asserts that these conditions
caused him distress and that he was discharged in
retaliation for complaining. Johnson seeks reinstatement,
back pay, and damages,

In its motion for summary judgment, Bally's argued that
Johnson failed to establish a prima facie claim under the
framework established by AfcDonne/l Douglas Corp. v.
Green, 411 U.S. 792, 93 S.Ct. 1817, 36 L.Ed.2d 668
(1973). Bally’s also asserted that Johnson was discharged
for misconduct, not in retaliation. Johnson filed a letter
motion responding to Bally’s’ summary judgment motion,
to which he attached a number of supporting documents.
The District Court granted Bally's’ motion. Johnson
appeals the District Court’s order, again proceeding pro
Se.

The District Court had jurisdiction under 28 U.S.C. §
1331. We have jurisdiction pursuant to 28 U.S.C. § 1291.
We review the District Court's grant of summary
judgment de novo and apply the same test that the District
Court should have used, See Goodman v. Mead Johnson
& Co., 534 F.2d 566, 573 (3d Cir.1976). The party
moving for summary judgment under Federal Rule of
Civil Procedure 56(c) bears the burden of identifying the
*286 portions of the record which it believes
“demonstrate the absence of a genuine issue of material
fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106
S.Ct. 2548, 91 L.Ed.2d 265 (1986). A factual dispute is
“material” if it might affect the outcome of the suit under
the applicable substantive law. dnderson v. Liberty
Lobby, Inc, 477 U.S. 242, 248, 106 S.Ct. 2505, 91
L.Ed.2d 202 (1986). If there is any evidence in the record
from any source from which a reasonable inference may
be drawn in favor of the nonmoving party, the moving
party is not entitled to summary judgment. Aman v. Cort
Furniture Rental Corp., 85 F.3d 1074, 1081 (3d Cir. 1996)
(internal citations omitted).

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'! We must read Johnson's pro se pleadings liberally and
apply the correct law regardless of whether he has
mentioned it by name. See Holley v. Dep't of Veteran
Affairs, 165 F.3d 244, 247-48 (3d Cir.1999). Bally’s
argues that Johnson fails to make out a prima facie case of
discrimination under McDonnell Douglas. Bally’s
misperceives the nature of Johnson’s first claim, which is
a hostile work environment claim. See Meritor Savings
Bank v. Vinson, 477 U.S. 57, 64, 106 S.Ct. 2399, 91
L.Ed.2d 49 (1986). In order to establish a hostile work
environment claim based on racial discrimination, a
plaintiff must show that (1) he suffered intentional
discrimination because of race, (2) the discrimination was
pervasive and regular, (3) the discrimination detrimentally
affected him, (4) the discrimination would detrimentally
affect a reasonable person of the same race in that
position, and (5) the existence of respondeat superior
liability. Aman at 1081 (internal citations omitted). An
employer may be liable under Title VII for the harassing
conduct of third parties if the employer was aware of the
conduct and failed to take reasonable remedial action in
response. See Lockard v. Pizza Hut, Inc., 162 F.3d 1062,
1073-74 (10" Cir.1998); of Weston v, Pennsylvania, 251
F.3d 420, 427-28 (Gd Cir.2001).

**2 In his summary judgment response, Johnson provided
copies of complaints he sent to Bally's’ Labor Relations
Department, sick call slips, and a memorandum from his
floor manager describing two incidents of unwanted
touching. Bally’s neither filed a reply to Johnson's
response to address this evidence nor addressed Johnson’s
hostile environment claim in any of its pleadings. Bally's
thus failed to show an absence of material fact as to the
hostile environment claim and was therefore not entitled
to summary judgment on this claim. See Celotex at 323,
106 S.Ct. 2548.

1 Johnson’s second claim is that he was discharged in
retaliation for complaining about the hostile work
environment. In order to state a claim of retaliatory
discharge, Johnson must show that (1) he engaged in a
protected activity; (2) he was discharged subsequent to or
contemporaneously with such activity; and (3) a causal
link exists between the protected activity and the
discharge. See Aman at 1085 (citing Jalil v. Avdel Corp.,
873 F.2d 701, 708 (3d Cir.1989)), The parties do not
dispute that Johnson engaged in protected activity or that
he was subsequently discharged. Bally's argues that
Johnson cannot establish a causal link because he was
discharged for making threatening remarks to Frank
Campbell, a fellow employee. Bally’s submitted written
statements from Campbell, as well as Sonia Reyes and H.
Yacaub (Bally’s employees and witnesses to the incident
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between Johnson and Campbell) in support.

Johnson does not dispute that he spoke with Campbell. He
argues, however, that his remarks were not threatening
and that the misconduct charge is pretextual. In his
summary judgment response, Johnson submitted copies of
the same witness *287 statements supplied by Bally’s.
Johnson argues that Campbell’s statement is consistent
with his own version of events-that Johnson merely told
Campbell that he should not call him names while he is
working and should do so only “outside” of work.
Johnson contends that Campbell's notation that he had
felt threatened was added afier Johnson was terminated
and that Reyes’ and Yacaub’s statements inaccurately
twist his use of the word “outside” and are inconsistent
with Campbell’s statement. Johnson also points out that
none of the witnesses’ statements are sworm and that
Reyes’ statement is dated two days affer Johnson was
terminated. Again, as Bally’s did not file a reply to
Johnson's response, it did not address Johnson’s evidence
or arguments. In addition to considering temporal

Footnotes

proximity, the District Court should have considered
Johnson’s circumstantial evidence of pretext in evaluating
his retaliation claim. See Jalil at 707.

For the foregoing reasons we will vacate the District
Court’s order granting summary judgment to Bally’s and
will remand for further proceedings. If the District Court
determines on remand that the issues are sufficiently
complex or involve credibility determinations, the court
may wish to consider appointing counsel under 28 U.S.C.
§ 1915{e). See Tabron v. Grace, 6 F.3d 147, 156-57 (3d
Cir.1993).

All Citations

147 Fed. Appx. 284, 2005 WL 2141269

1 As the parties are farniliar with the facts, we recite them here only as necessary to our discussion.

End of Oocument

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EXHIBIT E
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Redfield v. City of Jersey City, Not Reported in F.Supp. (1989)

1989 WL 4956
Only the Westlaw citation is currently available.
United States District Court, D. New Jersey.

Michael P. REDFIELD, Plaintiff,
Vv.
CITY OF JERSEY CITY, a political subdivision,
Jersey City Police Dept., and Richard Harrison
and Walter Adams, Directors of the Jersey City
Police Department, Defendants.

CIV, No. 86-3869.

|
Jan. 23, 1989.

OPINION

SAROKIN, District Judge.

*1 Before the court is defendants’ motion for
reconsideration of the court’s order of July 29, 1988,
After reconsideration, the court vacates its conclusion that
plaintiff is entitled to summary judgment on Count One of
his Complaint. The court also has reconsidered the issue
of qualified immunity, and now concludes that defendants
Harrison and Adams have properly asserted the defense.
The court also grants defendants’ motion for summary
judgment on plaintiff's equal protection claim.

BACKGROUND

This is an action under 42 U.S.C. Sec. 1983 by Michael
Redfield, a police officer for the City of Jersey City.
Defendants are the City of Jersey City, the Jersey City
Police Department, and Richard Harrison and Walter
Adams, the directors of the Jersey City Police
Department. The lawsuit arises out of the defendants’
change of plaintiff's job status in October 1984.

In April 1979, plaintiff joined the Jersey City Police
Department and has been employed with the department
ever since. In 1980, plaintiff was “promoted” or
“re-assigned” to the position of detective in April of 1980.
This change entailed a salary increase. Plaintiff performed
off-duty uniformed security work to supplement his
income. On October 7, 1984, plaintiff was working for a

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nightclub in Jersey City. That night, a fellow Jersey City
police officer was involved in a fight outside the
nightclub. The officer who had been involved in the fight
accused plaintiff of failing to come to his aid and of being
derelict in his duties. On October I1, 1984, defendant
Police Director Harrison issued a directive “demoting” or
“re-assigning™ plaintiff from detective to patrolman and
reducing his salary. The directive also transferred plaintiff
to a new geographical division, which precluded any
further off-duty work at the nightclub where the incident
had occurred. Plaintiff was not afforded any type of
hearing or opportunity in which to explain the events of
October 7, 1984, nor did defendants offer any explanation
for the job change.

On October 1, 1986, plaintiff filed this action. He made
three claims: |) defendants deprived him of property
without due process (Count One); 2) defendants denied
him equal protection under the laws (Count Two); and 3)
defendants deprived him of liberty without due process
(Count Three).' Plaintiff and defendants cross-moved for
summary judgment. In an opinion filed July 29, 1988, the
court granted summary judgment in favor of plaintiff on
his claim that he had been denied procedural due process
with respect to his property interest in the position of
detective. The court granted summary judgment in favor
of defendants on plaintiff's claim that he had been
deprived of a liberty interest without due process. The
court denied both motions with respect to plaintiff's equal
protection claim, since neither party had seriously pursued
the issue. The court also rejected the individual
defendants’ argument that they are entitled to qualified
immunity from this suit.

*2 On August 17, 1988, individual defendants Harrison
and Adams appealed to the United States Court of
Appeals for the Third Circuit from the order of July 29,
1988 denying them the defense of qualified immunity. On
November 7, 1988, defendants moved in this court for
reargument, reconsideration, and for summary judgment
in their favor on Count One. Defendants also renewed
their motion for summary judgment. On January 11,
1989, the case was remanded to this court in accordance
with the procedures outlined in Venen v, Sweet, 758 F.2d
117, 123 (3rd Cir.1985).

In the July 29, 1988 opinion, this court reviewed the due
process implications of a government employer’s decision
to terminate or otherwise change an employee's
employment without a hearing. Under Board of Regents v.
Roth, 408 U.S. 564, 576-77 a person seeking procedural
due process must assert a legitimate claim of entitlement
to specific benefits that have already been acquired.
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Property interests are created and defined by “existing
rules and understandings that stem from an independent
source such as state law.” /d. at 577. Codified state law is
not the only source of entitlement, as determined by the
Supreme Court in Perry v. Sindermann, 408 U.S. 593,
601. In Perry, the Court described property interests as
arising out of “rules or mutually explicit understandings
that support [a] claim of entitlement to the benefit and that
{one] may invoke at a hearing.” fe.

The opinion summarized defendants’ argument as
follows: Redfield’s property interest was limited to his
permanent appointment as a police officer, and did not
encompass his elevation to the position of detective. The
change in Redfield’s position from patrolman to detective
and the resultant increase in salary were nothing more
than a temporary “reassignment,” terminable at will. The
court noted that defendants’ argument is supported by
New Jersey’s civil service laws, which recognize a
fundamental distinction between tenured, permanent
employees, who have obtained their jobs pursuant to civil
service procedures, and non-tenured, temporary
employees. Redfield’s elevation to detective was
preceded by neither the requisite test nor selection from a
certified list of eligible candidates. Most significantly, for
the purposes of this motion for reconsideration, the
opinion stated as follows:

The defendants conclude their argument with Jersey City
v, Babuia, 56 N.J.Super. 533 (App.Div.1959), in which
the Appellate Division upheld a determination by the
Civil Service Commission that “in order for the
appointment to the rank of detective to be permanent, it
must be made from a list of eligibles established pursuant
to a promotional examination.” 56 N.J.Super. at 539.

The defendants’ reliance on A@abula, however, is
misplaced, for they do not read the case in its entirety.
The facts in Babula were essentially the same as those
before the court. A large group of Jersey City patrolmen
were promoted to detective, then “reassigned” to patrol
duty upon the access to power of a new local government.
The court upheld the action, but, in a section of the
opinion crucial to the issue before this court, noted that

*3 there was nothing in the nature of appellants’
appointment to indicate they thereby succeeded to
permanent assignments as detectives... The personnal
action forms, filed with the Department of Civil Service,
reveal that the appellants had been merely “detailed” to
serve as detectives. In one such form the word
“Prometion” was crossed out and the word “Detail”
inserted in its place, as indicating the particular personnel
action desired by the appointing authority. And the

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transitory nature of the assignment is further indicated by
the notation on the form that additional compensation was
provided by ordinance “when so detailed as a Detective.”
Thus neither the police department nor the Civil Service
Department ever approved these details as permanent
positions, and nothing has been submitted on this appeal
to impel us to a contrary conclusion.

56 N.J.Super. at 538.

Exactly the opposite is true in this case. Plaintiff was
notified of his elevation to detective in 1980 by receipt of
a “Personnel Action” form emblazoned across the top
with the heading “Department of Civil Service Local
Government Services.” See Exhibit “A” to plaintiffs
affidavit. At the top of the form, in the center, was typed
“Promotion to Detective.” Boxes on the form were
checked for “Promotion,” “Title Change,” and “Salary
Change.” Most importantly, in the spot on the form where
the appointing authority was required to indicate whether
the appointment was “permanent,” “provisional,” or
“temporary,” the “permanent” box was checked. A
certification by the appointing authority was signed,
Stating that “[cJertification is hereby made that this
appointment has been made in accordance with all legal
requirements and that the position has been legally
established in accordance with ordinance or resolution.”

Unlike in Babufa, then, the plaintiff's personnel action
form clearly indicated that the promotion to detective was
Just that: a permanent promotion, Moreover, plaintiff's
subjective understanding of his elevation to detective in
1980 conforms with the personnel form's clear meaning.
The court thus finds uncontradicted evidence that both
employer and employee understood the 1980 promotion
to be a permanent appointment to the position of
detective.

The Supreme Court has made clear that “[a] person’s
interest in a benefit is a ‘property’ interest for due process
purposes if there are such rules or mutually explicit
understandings that support his claim of entitlement to the
benefit and that he may invoke at a hearing.” Perry v.
Sindermann, 408 U.S. at 601. The mutually explicit
understanding of employer and employee in this case was
that plaintiff was a permanent detective. As such, he
enjoyed a property interest in that position by virtue of
N.S.A. 40A:14-147, The defendants deprived him of
that interest without due process of law. Plaintiff is
therefore entitled to summary judgment on the first count
of his complaint.

*4 The opinion also included a footnote that stated as
follows:
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The court rejects the individual defendants’ argument that
they are entitled to qualified immunity from this suit.
While it is true that government officials are entitled to
qualified immunity from liability for damages if their
conduct does not violate clearly established constitutional
tights of which a reasonable person should have known,
Bennis v. Gable, 823 F.2d 723 (3rd Cir.1987), the court
concludes that the individual defendants should
reasonably have recognized that their handling of plaintiff
was unconstitutional, Babula is not new law; it is a case
from 1959. The defendants therefore cannot claim that
they could not have known that the civil service forms
effected a permanent promotion of plaintiff, rather than a
mere reassignment.

In reaching its decision on both Count One and on the
issue of qualified immunity, the court relied heavily on
the Babula decision, particularly the significance of the
personnel forms indicating that the promotion was
permanent in Redficld’s case. Defendants now urge
reconsideration of the court’s decision, based upon the
recent discovery of two additional personnel forms and a
related note from a representative of the New Jersey
Department of Personnel.

Under General Rule 121, motions for reconsideration must
be filed within 10 days of judgment. Defendants invoke
F.R.C.P. 6(b}(2), which allows the court for cause shown
to enlarge time within which motions must be filed.
F.R.C.P. 60(b) authorizes motions for relief from a
judgment or order on grounds of excusable neglect. Such
motions must be made “within a reasonable” time, and
not more than one year after the order is entered.

Defendants’ counsel represents that he discovered the
three additional exhibits while preparing this case for
appeal. Apparently, both parties relied upon personnel
forms which were incomplete, containing only the top
half of each form. This motion for reconsideration was
filed approximately three months after the order was filed,
well within the year limit in F.R.C.P. 60(b). Plaintiff
argues that defendants’ error does not constitute
“excusable neglect,” and that the motion is untimely.

The court accepts the representations of defendants’
counsel that his attempt to correct the record is made in
good faith. The court is satisfied that Rule 60{b)
authorizes reconsideration and that such reconsideration is
appropriate here. The court relied on the content of the
personnel forms in reaching its earlier decision.
Apparently, the copies of forms relating to Redfield's job
changes that were relied upon by the court omitted an
entire section. The copies of the forms now offered

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include additional opportunities to identify the job action
as “permanent.” Significantly, these additional spaces
were not marked by state or city officials.

Defendants also offer the affidavits of two Jersey City
officiais, both of whom state that the box in the upper half
of the form that was checked “permanent” refers to
Redfield’s appointment as a police officer only and not as
a detective. (McGuire Affidavit, para. 4; Cottmon
Affidavit, para, 4), The city officials state that the term
“detective” refers simply to a work assignment,
indistinguishable from the general term “police officer.”
(McGuire Affidavit, para. 3; Cottmon Affidavit, para. 4).
Defendants offer an undated note from Marie Giordano,
an employee of the New Jersey Department of Personnel,
returning the form which had recorded Redfield’s
“demotion” and requesting that the form be corrected to
read “assignment.” (See Exhibit to Cottmon Affidavit).
Defendants submit the affidavit of Morris Farinella, the
Regional Administrator of the Department of Personnel,
who states that there is no job title for the position of
detective under the civil service system. The State of New
Jersey does not conduct examinations for the position of
detective in municipal police departments and does not
certify any person for permanent appointment as a
detective. (Farinella Affidavit, paras. 2-3).

DISCUSSION

*5 Based on the additional submissions to the record,
defendanis conclude that it is a factual and legal
impossibility for plaintiff to ever have been appointed to a
“permanent” detective position. The New Jersey
Department of Personnel, which has filed an amicus brief,
concurs in defendants’ argument. The Department of
Personnel, together with the Merit System Board
(formerly the Civil Service Commission), oversees and
enforces the civil service system. The system was created
to ensure that governmental appointments are made
according to merit and fitness. N.J. Const. Art. VII, Sec.
1, para. 2 (1947); N.I.S.A. LLA:1-1 ef seg. According to
the Department of Personnel, a public employee can
oblain permanent status in a job title only by passing a
test for the title, being appointed from the resulting
certification, and passing the five year working period of
probation. Redfield did none of these prior to his job
change to detective.

The Department cites several cases in which a person
whose apparently permanent appointment was
subsequently voided for failure to comply with civil
service procedures. The Department emphasizes the
decision in Thomas v. McGrath, 145 N.J.Super. 288
{App.Div.1976), rev'd, 75 N.J. 372 (1978). In Thomas, a
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county prosecutor attempted to appoint plaintiff to the
position of “sergeant of county detectives.” Although the
prosecutor indicated on a personnel form that the
appointment was permanent, he failed to notify the
Department of Civil Service as required by statute.
Shortly thereafter a new prosecutor took office. He
appointed another candidate instead. The New Jersey
Supreme Court adopted the opinion of Judge Morgan,
who had dissented at the appellate level. Judge Morgan
concluded that plaintiff had not obtained a permanent
appointment because of the prosecutor’s failure to obtain
the Department’s formal approval. The Department
argues that Redfield has an even weaker claim to the
position, since he has not taken a civil service test or
obtained certification for the position of detective. The
Department also makes a policy argument. To hold that a
public employee may obtain permanent status in any way
other than through civil service procedures, the
Department warns, would undermine the merit-based civil
service system.

Plaintiff maintains that his interest in the position of
detective constitutes “property” such that due process
applies. Plaintiff relies upon N.J.S.A. 40A:14-147, which
prohibits demotions from rank unless just cause is shown,
as well as New Jersey case law, provisions of the
collective bargaining agreement governing the Jersey City
police force, and the police department’s internal rules
and regulations, Plaintiff insists that “the rights of a
detective, irrespective of Civil Service recognition, are
absolutely protected.” (Appellee’s Brief, at 14).? Plaintiff
contends that there was a mutual understanding among
the parties, based upon established practice and policy
within the Jersey City Police Department, that the job
change was permanent.

Procedural Due Process,

*6 In reconsidering the opinion and order of July 29,
1988, the court again finds that the Supreme Court’s
decisions in Roth and Perry provide the general
parameters in deciding whether the interest asserted by
Redfield constitutes “property” under the due process
clause. In Roth, the plaintiff was hired to teach at a state
university for a term of one year. After he was informed
without explanation that his contract would not be
renewed, Roth sued to require the university to state its
reasons for nonrenewal and to afford him a hearing. The
Supreme Court held that Roth had not been deprived of
“property.” The Court determined that his interest was
based solely on the terms of his appointment as a
university professor. Those terms secured his interest in
employment until a specific date of termination, with no
provision for renewal. The Court deemed it significant

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that there was “no state statute or University rule or policy
that secured his interest in re-employment or that created
any legitimate claim to it.” 408 U.S. at 578.

In Perry, decided on the same day as Roth, a college
professor raised a similar claim, with better results. In his
tenth year of employment al a state college, under a
succession of one-year contracts, Sindermann was
notified that his contract would not be renewed. Unlike
Roth, Sindermann alleged that his college had a de facto
tenure program, and that he had pained tenure under that
program. The Supreme Court found that an explicit
contractual provision was not required to create a property
interest. The Court observed that “agreements, though not
formalized in writing, may be ‘implied.’ ” The Court
allowed that “there may be an unwritten ‘common law’ in
a particular university that certain employees have the
equivalent of tenure.” /d. at 602. In the Court’s view, a
property interest may arise “if there are such rules or
mutually explicit understandings that support his claim of
entitlement to the benefit and that he may invoke at a
hearing.” /d. at 601,

Al the outset, this court deems it necessary to reconsider
its “uncontradicted” finding that “both employer and
employee understood the 1980 promotion to be a
pennanent appointment to the position of detective.”
(Opinion, at 12). The recent submission of complete
personnel forms, together with the explanations offered
by Jersey City personnel officials, makes clear that this
finding is disputed. Accordingly, the court will vacate its
earlier finding that the personnel forms, confirmed by
plaintiff's subjective understanding, result in an
uncontradicted finding of a permanent appointment.
Instead, the court concludes that a genuine issue of fact
has been presented as to this issue.

The court must now address defendants’ argument that
they are entitled to summary judgment in their favor on
this claim. Defendants reiterate their arguments that
plaintiff could not have been permanently appointed to
the detective position because the New Jersey Department
of Personnel does not recognize any such position. Even
if such a position existed, defendants maintain, Redfield
could not claim any entitlement to it because he did not
obtain the position through the steps required by the civil
service system. Defendants warn that a finding that
Redfield obtained a permanent appointment without
having gone through the required procedures would
undermine the civil service system, harming those who
have completed the certification process and who have
not been chosen for permanent positions.

*7 There is no question that the New Jersey Department
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of Personnel does not now recognize the position of
detective as a permanent one. However, this fact does not
end the court’s inquiry, for plaintiff may have other
grounds upon which to base his claim that his interest in
the position of detective constitutes “property.” Plaintiff
altempts to ground the interest in state decisional law
which, in plaintiff's view, “unequivocally establish[es]
‘detective’ as a ‘rank,’ ‘title,’ or ‘position,’ which
mandate[s] due process to one reduced in rank.”
(Appellee’s Brief, at 11). The cases cited by plaintiff,
however, do not support this claim.

The court in D ‘Ippolito v. McGuire, 33 N.J.Super. 477,
490 (App.Div.1954) does not even mention the word
“detective,” holding only that a police officer may be
suspended during an investigation of his suspected
misconduct without formal charges being brought. The
Babula decision affirmed a determination by the Civil
Service Commission itself that “the position of ‘detective’
is a rank in Jersey City; that the rank of detective is a
higher rank than that of patrolman and, by reason of the
differential in pay, is a promotion.” 56 N.J.Super. at 536.'
However, the court concluded that “there was nothing in
the nature of appellant’s appointments to indicate they
thereby succeeded to permanent assignments as
detectives.” fd. at 538. Plaintiff also relies upon City
Council of Garfield vy. Perrapato, 117 N.J.Super. 184, 194
(App.Div.1971), in which the court predicted that “the
separate position of detective, having been established by
ordinance, will be recognized by the Civil Service
Commission,” relying upon Babula, However, the court
went on to note that although the appointments were
valid, they were only temporary, with permanent
appointments contingent upon successful completion of
the civil service examination and the certification process.
Thus, the state’s case law is clear: to obtain a permanent
appointment to a position recognized by the civil service
system, a person must complete the civil service
examination and certification procedures. Since Redfield
did not complete such procedures prior to his job change
to detective, he cannot base his asserted interest on the
above line of cases,

The Perry decision may provide plaintiff with an
adequate basis. In that case, the professor could not rely
upon any state law creating or recognizing a specific right
of tenure. He relied instead upon an official faculty guide
referring to an informal commitment on the part of the
university to a tenure principle. The guide stated as
foliows:

Teacher Tenure: Odessa College has no tenure system.

The Administration of the College wishes the faculty
member to feel that he has permanent tenure as long as

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his teaching services are satisfactory and as long as he
displays a cooperative attitude toward his co-workers and
his superiors, and as long as he is happy in his work.

*8 Sindermann also relied upon guidelines governing the
university, which appeared to offer a person, like himself,
with more than seven years of employment “some form of
Job tenure.” 408 U.S. at 600. He offered to prove that a
teacher with his employment history was entitled to a
procedural due process right to a statement of reasons and
a hearing before being released from employment. The
Supreme Court held that he “must be given an
opportunity to prove the legitimacy of his claim of such
entitlement in light of ‘the policies and practices of the
institution.’ ” 408 U.S. at 603 (citation omitted).

Redfield argues that the policies and practices of the
Jersey City Police Department were such that there was
an implied understanding that he would be afforded at
least a statement of reasons prior to any reduction from
his position as detective. He points to the department's
internal rules and regulations, which state:

Any permanently employed officer or employee who
receives a fixed annual salary from the municipality shall
not be suspended, removed, fined or reduced from office
or employment therein except for just cause and then only
after written charges and complaint shall have been
preferred.

(Appellee’s Brief, at 26a) (emphasis added). Plaintiff also
points to the following provision of the Department’s
collective bargaining agreement:

No Police Officer shall be discharged, disciplined,
reprimanded, reduced in rank, compensation, position, or
deprived of any employment advantage or given an
adverse evaluation of his service without just cause. Any
such actions asserted by the Cily, or any agent or
representative thereof, shall be subject to the grievance
procedure herein set forth, including binding grievance
arbitration. Grievants shall elect arbitration or pursuit of
civil service remedies but not both.

(Appellee’s Brief, at 27a) (emphasis added).

The parties dispute whether and to what extent these
provisions represented established custom or policy.
Defendants’ counsel represented at oral argument that the
Department has never given a hearing to a police officer
whe has been reassigned from detective to patrolman.
Defendants argue that it is the Department’s custom and
practice to assign and reassign police officers to the
position of detective and patrolman on a regular basis,
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without any understanding that such assignments are
permanent.

Drawing inferences in favor of the non-moving party, see
Tigg Corp. v. Dow Corning Corp., 822 F.2d 358, 361 (3rd
Cir.1987), the court is unable to determine whether these
provisions reflected actual practice and policy in the
Jersey City Police Department. These provisions may
fairly be read as creating an entitlement to continued
employment, ensuring that a police officer may not be
reduced in rank or compensation absent cause. This
entitlement is, however, ultimately a matter of state law.
Bishop v. Wood, 426 U.S. 341, 345 (1976).

It is clear that, under New Jersey law, a course of dealing
may result in an implied contract. Rau/ Intern. Corp. v.
Sealed Power Corp., 586 F.Supp. 349, 359 (D.N.J.1984)
(Sarokin, J.); Kozlowski v, Kozlowski, 164 N.J.Super, 162,
174 (Ch.Div.1978), aff'd, 80 N.J. 378 (1979). Plaintiff's
assignment to the detective position entailed a salary
increase, along with other emoluments. There is nothing
to indicate that the assignment was provisional. Indeed,
Redfield asserts that he had been assigned as a provisional
detective on several prior occasions, without any increase
in benefits. The increase in salary provides support for
plaintiff's argument that the assignment was a promotion.
See City Council of Garfield v. Perrapato, 117 N.J.Super.
at 193 (salary increase accompanying assignment to
detective position indicates job change was in the nature
of a promotion). Defendants concede that many persons
within the Jersey City Police Department referred to
assignments to the detective position as promotions.

*9 The course of dealing would include the length of his
service as a detective. Redfield had been serving as a
detective, and receiving an increased salary, for more than
four years before he was reduced in position, Although
this four years of service is not dispositive on the nature
of the understanding between employer and employee, it
serves to distinguish cases such as Thomas v. McGrath,
supra, in which the plaintiff never actually received the
benefits of the higher position.

The record does not yet resolve the dispute between the
parties as to their course of dealing and their mutual
understanding of the nature of plaintiff's interest in the
position of detective. Plaintiff has offered objective
evidence—a salary increase, provisions of the collective
bargaining agreement, and internal departmental
tules—sufficient to overcome defendants’ motion for
summary judgment on Count One. The nature of the
understanding between plaintiff and defendants,
specifically whether that understanding rose to the level
of an implied contract, is one to be determined at trial.

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Defendants have established that Redfield’s interest in the
Position of detective did not extend to an_ interest
recognized or protected by the New Jersey Department of
Personnel and civil service Jaws. Under the Supreme
Court’s holding in Perry, if it ts the law of New Jersey
that a police officer in Redfield’s position has no
contractual or other claim to job tenure, his claim would
be defeated as a matter of law. 408 U.S. at 602, n. 7.
Under Ferry, plaintiff must show that the police
department’s alleged practices and policies are valid and
do not conflict with state law. See, @g., Genesco
Entertainment v, Koch, 593 F.Supp. 743 (S.D.N.Y.1986)
(Weinfeld, J.) (mutual understanding and custom cannot
create a property interest for due process purposes if
they are contrary to express provision of statute or
regulation).

It is clear and indeed undisputed that plaintiff is not a
“permanent” employee as a detective under state law.
State law does not now recognize such a position and
accordingly, plaintiff has not qualified for it by virtue of
existing state law. Defendants have not offered any
express provision of state law that prohibits the practice
as alleged by plaintiff. Rather, defendants and the
State-intervenor argue that to require that plaintiff be
accorded procedural due process in connection with his
return to the designation of patrolman contravenes state
policy since it confers permanent status upon a position
not recognized or approved as such by the civil service, It
is argued that plaintiff and others who have been
designated “detective” will thus be accorded permanent
status and all of the rights incident thereto. The court
disagrees. No such broad conclusion is warranted or
necessitated.

The court concludes that plaintiff should be allowed to
establish at trial that, based upon custom and practice, as
well as existing regulations and agreements, those
appointed as detectives in the Jersey City Police
Department considered the designation to be a promotion
carrying with it certain benefits, prestige and
expectations. Among those expectations may have been
the understanding that loss of the designation of detective
for purported disciplinary purposes would entitle the
individual involved to a hearing. It does not necessarily
follow that all rights and benefits to which the plaintiff
would be entitled under a recognized civil service
classification necessarily must be accorded to plaintiff. He
is not a permanent employee for civil service purposes.
His property right may be sufficient, however, to require a
hearing before he can be deprived of it.

*10 The characterization of the personnel action as a
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“promotion” or “reassignment” is not dispositive. The
designation may have conferred a property right, by
reason of the conduct of the employer. Withdrawal or
reduction of that right may entitle the plaintiff to a hearing
where the alleged basis is some misconduct on the part of
the employee. The dire consequences of such a
conclusion as predicted by the defendants do not
necessarily follow and are not encompassed or intended
by this opinion.

In sum, state law does not recognize the permanent
designation of persons as detectives, because the position
of detective does not exist under state law. However, state
law does not prohibit granting a hearing to such persons if
local practice has created such an entitlement based on the
benefits entailed by such designation.

Qualified Imnninity,

As this lengthy opinion indicates, the question presented
is difficult and not easily resolved by following clear
precedent. Indeed, the court is mindful that other courts
have held that personnel decisions short of termination do
not constitute a deprivation of a property interest under
the due process clause. See IVargat v. Long, 590 F.Supp.
1213, 1215 (D.Conn.1984); see also Brown v. Brienen,
722 F.2d 360, 364-365 (7th Cir.1983), As such, the issue
lends itself to conflicting conclusions reached in good
faith. Therefore, individual defendants Harrison and
Adams are entitled to the defense of qualified immunity
under Harlow v. Fitzgerald, 457 U.S. 800 (1982),
Mitchell v. Forsyth, 472 U.S. 511 (1985), and Anderson v.
Creighton, 483 U.S. 635, 107 8.Ct, 3034 (1987).

Equal Protection,

Defendants renew their motion for summary judgment,
this time supported by legal argument. Defendants argue
that plaintiff has not alleged or established that any city
policy invidiously discriminated against him. Defendants

contend that the issues presented in this case are not
related in any way to a suspect classification; plaintiff
therefore has improperly invoked the equal protection
clause.

The court agrees. Plaintiff does not suggest that
defendants created a suspect classification. Plaintiff
therefore bears the burden of showing that the defendants’
actions “so lack rationality that they constitute a
constitutionally impermissible denial of equal protection.”
Rogin v. Bensalem Township, 616 F.2d 680, 688 (3rd
Cir.1980), cert. denied, 450 U.S. 1029 (1981). Plaintiff
does not even attempt to meet this burden. Accordingly,
defendants are entitled to summary judgment in their
favor on this claim. Cefoter Corp. v. Catrett, 477 ULS.
317 (1986).

CONCLUSION

Upon reconsideration, the court vacates its earlier order
granting summary judgment in favor of plaintiff on Count
One, The court finds that neither party is entitled to
summary judgment and that the case should proceed to
trial to establish whether the custom and practice of the
Jersey City Police Department was such that plaintiff
obtained a property interest in the position of detective
sufficient to entitle him to a due process hearing in the
event he was retumed to the status of patrolman. The
court has reconsidered its prior determination with respect
to qualified immunity. Individual defendants Harrison and
Adams are entitled to such immunity in this case. The
court also grants summary judgment in favor of
defendants on the issue of equal protection.

All Citations

Not Reported in F.Supp., 1989 WL 4956

Footnotes

1 The court’s determination of Count Three was not raised by defendants’ motion for reconsideration and will not be disturbed.

2 Both plaintiff and defendants have incorporated into their arguments briefs and exhibits submitted to the Court of Appeals.

3 The position now taken by the Department of Personnel with respect to recognition of a separate detective position is

inconsistent with its determination in Babula that a job change from patrolman to detective may constitute a promotion. Neither

party has reconciled these conflicting positions.

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